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                                UNITED STATES DISTRICT COURT
                                    Southern District of Texas
                                        Houston Division

Valentina Sheshtawy,                                       §
L.S. (A Minor Child) by Her Next Friend,                   §
Her Mother, Valentina Sheshtawy,1                          §
Don Peterson,                                              §
Mackey Peterson,                                           §
Lonny Peterson,                                            §
Edward G. Rizk,                                            §
Maxwell Rizk,                                              §
                                                           §
                         Plaintiffs,                       §
and,                                                       §       C.A. No._______
Edward Elias Rizk,                                         §       Jury Demanded
Rex Robinson Rizk,                                         §
Randell R. Rizk,                                           §
Sylvia Rizk,                                               §
John Doe,                                                  §
Jane Doe,                                                  §
Doe, Inc.,                                                 §
Indispensable Party Plaintiffs pursuant                    §
to Federal Rule of Civil Procedure 19,                     §
                                                           §
v.                                                         §
                                                           §
Conservative Club of                                       §
Houston, Inc., aka “C Club PAC”                            §
J. Cary Gray,                                              §
The Honorable Loyd Wright,2                                §
The Honorable Ruth Ann Stiles,                             §
Robert MacIntyre, Jr.,                                     §
W. Cameron McCulloch,                                      §
Christopher Burt,                                          §
Jill Willard Young,                                        §

1 Pursuant to applicable Rules regarding minors, this minor’s name has been replaced with initials. Plaintiffs
hereby move for leave to allow the use of initials in the place and in lieu of the minor child’s name.
2 As the elected Judge in said Court in his official capacity and also individually in his personal capacity.


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MacIntyre, McCulloch, Stanfield &         §
Young, L.L.P.,                            §
Joseph Royce,                             §
Scott Funk,                               §
Gray Reed & McGraw, P.C.,                 §
Sarah Patel Pacheco,                      §
Kathleen Tanner Beduze,                   §
Crain, Caton & James, P.C.,               §
Michael Fuqua,                            §
Fuqua & Associates, P.C.,                 §
Kimberly Hightower,                       §
Silverado Senior Living, Inc.             §
LPL Financial Group, L.L.C.,              §
Carol Ann Manley,                         §
David Troy Peterson,                      §
Russ Jones,                               §
Underwood, Jones, Sherrer, P.L.L.C.,      §
Josh K. Davis,                            §
Lewis, Brisbois, Bisgaard & Smith,        §
L.L.P.,                                   §
C. Clete Hopper,                          §
Clete Hopper & Co, Inc.,                  §
Christopher Merkl, M.D., P.A.,            §
Kelly G. Cowan, M.D.,                     §
Farouk Sheshtawy,                         §
Hanya Sustache,                           §
Nader Sheshtawy,                          §
McDonald Scott Worley,                    §
McDonald Worley, P.C.,                    §
Thomas Schmidt,                           §
                                          §
            Defendants.                   §
and                                       §
John Doe,                                 §
Jane Doe,                                 §
Doe, Inc.                                 §
Indispensable Party Defendants pursuant   §
to Federal Rule of Civil Procedure 19.    §



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                                         VERIFIED COMPLAINT

To the Honorable United States District Judges for the Texas Southern District:

        COME NOW Plaintiffs before these Honorable Courts, respectfully complaining of

Defendants, averring in support thereof as follows:

                                      JURISDICTION AND VENUE

        1.       This action is brought pursuant to the provisions of the Racketeer Influenced

and Corrupt Organizations Act,3 18 United States Code4 § 1961 et sequitur, thereby this

pleading is enhanced and particularized pursuant to Federal Rule of Civil Procedure 9.5 This

Court has Jurisdiction pursuant to 28 U.S.C. § 1331 and 18 U.S.C. § 1964.6 This Complaint

is verified.



3 Hereinafter sometimes referenced as “RICO”. Federal Rule of Civil Procedure (“F.R.Civ.P.”.) 9 requires in
these cases particularized pleading. Please accord, Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555
(2007) and Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
4 Hereinafter “U.S.C.”.
5 Federal Rule of Civil Procedure (“F.R.Civ.P.”.) 9.
6 “18 USCS § 1964 ” (a) The district courts of the United States shall have jurisdiction to prevent and restrain

violations of section 1962 of this chapter [18 USCS § 1962] by issuing appropriate orders, including, but not
limited to: ordering any person to divest himself of any interest, direct or indirect, in any enterprise; imposing
reasonable restrictions on the future activities or investments of any person, including, but not limited to,
prohibiting any person from engaging in the same type of endeavor as the enterprise engaged in, the activities
of which affect interstate or foreign commerce; or ordering dissolution or reorganization of any enterprise,
making due provision for the rights of innocent persons.
(b) The Attorney General may institute proceedings under this section. Pending final determination thereof,
the court may at any time enter such restraining orders or prohibitions, or take such other actions, including
the acceptance of satisfactory performance bonds, as it shall deem proper.
(c) Any person injured in his business or property by reason of a violation of section 1962 of this chapter [18
USCS § 1962] may sue therefor in any appropriate United States district court and shall recover threefold
the damages he sustains and the cost of the suit, including a reasonable attorney's fee, except that no person
may rely upon any conduct that would have been actionable as fraud in the purchase or sale of securities to
establish a violation of section 1962 [18 USCS § 1962]. The exception contained in the preceding sentence


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        2.      This Court has supplemental jurisdiction over any state law and common law

tort claims pled for and further delineated herein below under 28 U. S. C. §1367(a), because

they arise out of the same case or controversy or transaction or occurrence.

        3.      Venue is proper pursuant to 18 U.S.C. § 1965(b) and 28 U.S.C. § 1391(b)(2)

in that it is believed that most all Plaintiffs and Defendants are resident domiciliaries of Harris

County, Texas within this District and Division, as well as, in that that all of the transactions

and occurrences, which gave rise to this suit took place in Harris County, Texas, as well as,

thus in the Southern District of Texas and the Houston Division.

                                          THE PARTIES

        4.      Plaintiff Valentina Sheshtawy is an adult citizen resident domiciliary of Harris

County Texas and the United States of America. Service of process of pleadings, instruments,

discovery and other documents upon Plaintiff Valentina Sheshtawy7 is effective pursuant to

Federal Rules of Civil Procedure 4 by their delivery to Plaintiffs' lead counsel of record, Donald

T. Cheatham, at his office of record, 7500 San Felipe Road, Suite 600, Houston, Texas

77063, Telephone: (713) 335-8945, Telecopier facsimile: (713) 335-8946 and e-mail:




does not apply to an action against any person that is criminally convicted in connection with the fraud, in
which case the statute of limitations shall start to run on the date on which the conviction becomes final.
d) A final judgment or decree rendered in favor of the United States in any criminal proceeding brought by
the United States under this chapter [18 USCS §§ 1961 et seq.] shall estop the defendant from denying the
essential allegations of the criminal offense in any subsequent civil proceeding brought by the United States.
7 Plaintiff Valentina Sheshtawy is the widow of the late Adel Sheshtawy and will sometimes hereinafter be

referenced as the “Widow Sheshtawy”.


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cheathamlaw@aol.com and/or through the Court's ecf/cm system.8 Plaintiff Valentina

Sheshtawy was born in Bulgaria. English is not her native language.

        5.      Plaintiff Valentina Sheshtawy migrated to the United States in January 2001.

Plaintiff has had no formal training in American law or Texas jurisprudence. Plaintiff Valentina

Sheshtawy relied on intentionally erroneous advice of her own lawyers, Defendant McDonald

Worley and McDonald Worley, P.C., as well as, fraudulent and negligent misrepresentations

by opposing counsel, a guardian ad litem and an attorney ad litem appointed in her minor

child Plaintiff L.S.’s guardian and guardianship estate cases before Defendant Judge Loyd

Wright and Defendant Associate Judge Ruth Ann Stiles, the facts of which will be more fully

herein after delineated.

        6.      Plaintiff L.S. is the minor, natural biological daughter of Plaintiff Valentina

Sheshtawy, who acts herein for her daughter as next friend. Plaintiff L.S. resides domiciled

with her natural biological mother and legal guardian, Plaintiff Valentina Sheshtawy. Service

of process of pleadings, instruments, discovery and other documents upon Plaintiff L.S.9 is

effective pursuant to Federal Rules of Civil Procedure 4 by their delivery to Plaintiffs' lead

counsel of record, Donald T. Cheatham, at his office of record, 7500 San Felipe Road, Suite

600, Houston, Texas 77063, Telephone: (713) 335-8945, Telecopier facsimile: (713) 335-


8 Plaintiffs respectfully request that any interested party, Indispensable Party or Defendant also serve all
pleadings, instruments, discovery and other documents upon each party's respective counsel of record.
9 Plaintiff L.S. is the natural minor daughter of the late Adel Sheshtawy and Plaintiff Valentina Sheshtawy

and will be sometimes referenced herein as the “Orphan Sheshtawy”. L.S.’s name is so redacted.


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8946 and e-mail: cheathamlaw@aol.com and/or through the Court's ecf/cm system.

        7.       Plaintiff Don Peterson10 is an adult citizen resident domiciliary of Harris County

Texas and the United States of America. Service of process of pleadings, instruments,

discovery and other documents upon Plaintiff Don Peterson is effective pursuant to Federal

Rules of Civil Procedure 4 by their delivery to Plaintiffs' lead counsel of record, Donald T.

Cheatham, at his office of record, 7500 San Felipe Road, Suite 600, Houston, Texas 77063,

Telephone: (713) 335-8945, Telecopier facsimile: (713) 335-8946 and e-mail:

cheathamlaw@aol.com and/or through the Court's ecf/cm system.

        8.       Plaintiff Mackey Peterson11 is an adult citizen resident domiciliary of Hays

County Texas and the United States of America. Service of process of pleadings, instruments,

discovery and other documents upon Plaintiff Mackey Peterson is effective pursuant to

Federal Rules of Civil Procedure 4 by their delivery to Plaintiffs' lead counsel of record, Donald

T. Cheatham, at his office of record, 7500 San Felipe Road, Suite 600, Houston, Texas

77063, Telephone: (713) 335-8945, Telecopier facsimile: (713) 335-8946 and e-mail:

cheathamlaw@aol.com and/or through the Court's ecf/cm system.

        9.       Plaintiff Lonny Peterson12 is an adult citizen resident domiciliary of Harris

County Texas and the United States of America. Service of process of pleadings, instruments,

10 Or Collectively as the “Peterson Plaintiffs”, Plaintiff Don Peterson, Plaintiff Mackey Peterson, and Plaintiff
Lonny Peterson.
11 Or Collectively as the “Peterson Plaintiffs”, Plaintiff Don Peterson, Plaintiff Mackey Peterson, and Plaintiff

Lonny Peterson.
12 Or Collectively as the “Peterson Plaintiffs”, Plaintiff Don Peterson, Plaintiff Mackey Peterson, and Plaintiff

Lonny Peterson.

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discovery and other documents upon Plaintiff Lonny Peterson is effective pursuant to Federal

Rules of Civil Procedure 4 by their delivery to Plaintiffs' lead counsel of record, Donald T.

Cheatham, at his office of record, 7500 San Felipe Road, Suite 600, Houston, Texas 77063,

Telephone: (713) 335-8945, Telecopier facsimile: (713) 335-8946 and e-mail:

cheathamlaw@aol.com and/or through the Court's ecf/cm system.

           10.      Plaintiff Edward G. Rizk13 is an adult citizen resident domiciliary of Harris

County Texas and the United States of America. Service of process of pleadings, instruments,

discovery and other documents upon Plaintiff Edward G. Rizk is effective pursuant to Federal

Rules of Civil Procedure 4 by their delivery to Plaintiffs' lead counsel of record, Donald T.

Cheatham, at his office of record, 7500 San Felipe Road, Suite 600, Houston, Texas 77063,

Telephone: (713) 335-8945, Telecopier facsimile: (713) 335-8946 and e-mail:

cheathamlaw@aol.com and/or through the Court's ecf/cm system. Plaintiff Edward G. Rizk is

the natural son of the late Fred E. Rizk.

           11.      Plaintiff Maxwell Rizk14 is an adult citizen resident domiciliary of Harris County

Texas and the United States of America. Service of process of pleadings, instruments,

discovery and other documents upon Plaintiff Maxwell Rizk is currently effective pursuant to

Federal Rules of Civil Procedure 4 by their delivery as well as, specifically Plaintiff Maxwell

Rizk to Plaintiffs' lead counsel of record, Donald T. Cheatham, at his office of record, 7500


13   Or collectively the “Rizk Plaintiffs”.
14   Or collectively the “Rizk Plaintiffs”.


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San Felipe Road, Suite 600, Houston, Texas 77063, Telephone: (713)335-8945, Telecopier

facsimile: (713) 335-8946 and e-mail: cheathamlaw@aol.com and/or through the Court's

ecf/cm system. Plaintiff Maxwell Rizk is the natural biological son of Plaintiff Edward G. Rizk.

           12.     Rule 19 Indispensable Party Plaintiff Randall Reed Rizk is an adult citizen

resident domiciliary of Travis County Texas and the United States of America. Service of

process of pleadings, instruments, discovery and other documents upon Indispensable Party

Plaintiff Mr. Randall Reed Rizk is effective pursuant to Federal Rules of Civil Procedure 4 by

their delivery to Plaintiffs' lead counsel of record, Donald T. Cheatham, at his office of record,

7500 San Felipe Road, Suite 600, Houston, Texas 77063, Telephone: (713) 335-8945,

Telecopier facsimile: (713) 335-8946 and e-mail: cheathamlaw@aol.com and/or through the

Court's ecf/cm system. Service of process of pleadings, instruments, discovery and other

documents upon him also should be made at his residence, Mr. Randall Reed Rizk, 3201

Westlake Drive, Austin, Texas 78746. Indispensable Party Plaintiff Randall Reed Rizk is the

adopted son of Indispensable Party Plaintiff Sylvia Rizk and the late Fred E. Rizk.

           13.     Rule 19 Indispensable Party Plaintiff Edward Elias Rizk15 is an adult citizen

resident domiciliary of Harris County Texas and the United States of America. Service of

process of pleadings, instruments, discovery and other documents upon Mr. Les Rizk is

effective pursuant to Federal Rules of Civil Procedure 4 by their delivery to Plaintiffs' lead

counsel of record, Donald T. Cheatham, at his office of record, 7500 San Felipe Road, Suite


15   “Indispensable Party Plaintiff Les Rizk”.

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600, Houston, Texas 77063, Telephone: (713) 335-8945, Telecopier facsimile: (713) 335-

8946 and e-mail: cheathamlaw@aol.com and/or through the Court's ecf/cm system. Service

of process of pleadings, instruments, discovery and other documents upon Mr. Les Rizk also

should be made at his residence, Mr. Edward Elias Rizk, 5161 San Felipe Road, Suite 320,

Houston, Texas 77056. Plaintiff Edward Elias Rizk is the natural biological son of Plaintiff

Edward G. Rizk.

        14.    Rule 19 Indispensable Party Plaintiff Rex Robinson Rizk is an adult citizen

resident domiciliary of Travis County Texas and the United States of America. Service of

process of pleadings, instruments, discovery and other documents upon Indispensable Party

Plaintiff Mr. Randall Reed Rizk is effective pursuant to Federal Rules of Civil Procedure 4 by

their delivery to Plaintiffs' lead counsel of record, Donald T. Cheatham, at his office of record,

7500 San Felipe Road, Suite 600, Houston, Texas 77063, Telephone: (713) 335-8945,

Telecopier facsimile: (713) 335-8946 and e-mail: cheathamlaw@aol.com and/or through the

Court's ecf/cm system. Service of process of pleadings, instruments, discovery and other

documents upon him also should be made at his residence, Mr. Rex Robinson Rizk, 7316

Vista Mountain Dr., Austin, Texas 78731. Indispensable Party Plaintiff Randall Reed Rizk is

the natural biological son of Indispensable Party Plaintiff Sylvia Rizk and the late Fred E.

Rizk.

        15.    Rule 19 Indispensable Party Plaintiff Sylvia Rizk is an adult citizen resident

domiciliary of Travis County Texas and the United States of America. Service of process of

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pleadings, instruments, discovery and other documents upon Indispensable Party Plaintiff

Ms. Sylvia Rizk is effective pursuant to Federal Rules of Civil Procedure 4 by their delivery

to Plaintiffs' lead counsel of record, Donald T. Cheatham, at his office of record, 7500 San

Felipe Road, Suite 600, Houston, Texas 77063, Telephone: (713) 335-8945, Telecopier

facsimile: (713) 335-8946 and e-mail: cheathamlaw@aol.com and/or through the Court's

ecf/cm system. Service of process of pleadings, instruments, discovery and other documents

upon her also should be made at her residence, Ms. Sylvia Rizk, 3201 Westlake Drive,

Austin, Texas 78746. Indispensable Party Plaintiff Sylvia Rizk is the widow of the late Fred

E. Rizk.

          16.    The identity of any other Rule 19 Indispensable Party Plaintiff(s) and/or

Defendant(s) John and/or Jane Doe, as well as, Doe, Inc. are unknown at this time, if any

such individual actually exists. If Plaintiffs hereafter the filing of this original Complaint shall

become aware of any, Plaintiffs immediately shall identify she or he or it to all parties hereto,

as well as, serve each accordingly with all pleadings, papers and documents in this Court's

file for this case.

          17.    Defendant the Conservative Club of Houston, also known as “C Club PAC”16

is an unincorporated nonprofit political association organization. There is no registered agent

for this organization designated by this organization with the office of the Texas Secretary of

State. The only designation is for its Treasurer, herein Defendant J. Cary Gray. Service of


16   “C Club PAC”.

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process of pleadings, instruments, discovery and other documents upon Defendant C Club

PAC is effective pursuant to Federal Rules of Civil Procedure 4 by their delivery to his law

offices Gray, Reed & McGraw, P.C. at 1300 Post Oak Boulevard, Suite 2000, Houston, Texas

77056.

         18.     Defendants utilized Defendant C Club PAC to advance their civil and criminal

conspiracies, as well as, their racketeering schemes.

         19.     Defendant Honorable Probate Judge 1 for Harris County Loyd Wright is an

active, sitting Judge for and in Harris County Texas Probate Court 1.17 Defendant Judge Loyd

Wright is an adult citizen resident domiciliary of Harris County Texas and the United States

of America. Service of process of pleadings, instruments, discovery and other documents

upon Defendant the Honorable Loyd Wright is effective pursuant to Federal Rules of Civil

Procedure 4 by their delivery to his chambers at 201 Caroline Street, 6th Floor, Houston,

Texas 77001.18


17“Defendant Judge Loyd Wright”.
18Plaintiffs in addition to an action herein under the federal RICO statute also herein below assert a separate
state law action against Defendant Judge Loyd Wright for gross negligence and against his bond of office.
Texas Government Code § 25.00231 states in pertinent part: “… (b) Before beginning the duties of office, a
judge of a statutory probate court must execute a bond that is: (1) payable to the county treasurer or other
person performing the duties of county treasurer; (2) in the amount of $500,000; (3) conditioned on the faithful
performance of the duties of the office; and (4) approved by the commissioners court.” Texas Civil Practice
and Remedies Code § 41,001 (11) “‘Gross negligence’ means an act or omission: (A) which when
viewed objectively from the standpoint of the actor at the time of its occurrence involves an extreme
degree of risk, considering the probability and magnitude of the potential harm to others; and (B) of
which the actor has actual, subjective awareness of the risk involved, but nevertheless proceeds with
conscious indifference to the rights, safety, or welfare of others.” (Our Emphasis Added.)



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          20.     At various times hereto relevant Defendant Judge Loyd Wright has actively

assisted other associated Defendants in committing the crimes herein after delineated and

in carrying out the civil and criminal conspiracies, as well as, racketeering schemes.

Defendant Judge Loyd Wright committed official oppression on multiple occasions, as will be

more fully herein after delineated. Defendant Judge Loyd Wright was grossly negligent

(“Consciously indifferent”) in his handling in equity of several guardianship and estate cases,

as will be more fully herein after delineated. Defendant Judge Loyd Wright in furthering the

civil and criminal conspiracies, as well as, the multiple schemes of racketeering engaged in

as an accomplice of accessory in fiduciary fraud, as well as, directly in mail fraud and wire

fraud, as will be more fully herein after delineated.

          21.     Defendant J. Cary Gray19 is a licensed Texas attorney. Defendant J. Cary Gray

is an adult citizen resident domiciliary of Harris County Texas and the United States of

America. Service of process of pleadings, instruments, discovery and other documents upon

Defendant Mr. Gray is effective pursuant to Federal Rules of Civil Procedure 4 by their

delivery to his law offices at Defendant Gray, Reed & McGraw, P.C. at 1300 Post Oak

Boulevard, Suite 2000, Houston, Texas 77056.

          22.     At all times relevant hereto, in addition to acting as Defendant C Club PAC’s

official treasurer, Defendant Gray, Reed & McGraw, P.C. (as well as, the predecessor

Looper, Reed & McGraw, P.C.)’s Chief Executive Officer and registered agent, Defendant


19   “Defendant Mr. Gray”.

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Mr. Gray has acted as the Executor of the Estate of the late Fred E. Rizk and the Trustee of

both inter vivos and testamentary trusts settled by the late Fred E. Rizk, where Plaintiffs

Edward G. Rizk and Plaintiff Maxwell Rizk, as well as, Indispensable Party Plaintiffs Edward

Elias Rizk, Randall Reed Rizk and Rex Robinson Rizk are the principle beneficiaries. As a

matter of law, Defendant Mr. Gray is and was a fiduciary owing such duties to the late Fred

E. Rizk, Indispensable Party Plaintiff Sylvia Rizk, Plaintiff Edward G. Rizk and Plaintiff

Maxwell Rizk, as well as, Indispensable Party Plaintiffs Edward Elias Rizk, Randall Reed

Rizk and Rex Robinson Rizk.

          23.     At various times hereto relevant Defendant Mr. Gray has committed several

crimes hereinafter delineated and has actively assisted other associated Defendants in

carrying out the civil and criminal conspiracies, as well as, the racketeering schemes, more

fully herein after delineated.

          24.     Defendant Joseph Royce20 is a licensed Texas attorney. Defendant Mr. Royce

is an adult citizen resident domiciliary of Harris County Texas and the United States of

America. Service of process of pleadings, instruments, discovery and other documents upon

Defendant Mr. Royce is effective pursuant to Federal Rules of Civil Procedure 4 by their

delivery to his law offices, at Defendant Gray, Reed & McGraw, P.C. at 1300 Post Oak

Boulevard, Suite 2000, Houston, Texas 77056, of which law firm Defendant Mr. Royce is

believed to be an active shareholder.


20   “Defendant Mr. Royce”.

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          25.     At various times Defendant Mr. Royce has represented as an attorney the late

Fred E. Rizk, the Estate of the late Fred E. Rizk, Plaintiff Edward G. Rizk, the other

beneficiaries of the Estate and trusts of the late Fred E. Rizk, Defendant J. Cary Gray

individually, as well as, as Executor of the Estate of the late Fred E. Rizk and as Trustee of

the trusts of the late Fred E. Rizk. As a matter of law, Defendant Mr. Royce is and was a

fiduciary owing such duties to the late Fred E. Rizk, Indispensable Party Plaintiff Sylvia Rizk,

Plaintiff Edward G. Rizk and Plaintiff Maxwell Rizk, as well as, Indispensable Party Plaintiffs

Edward Elias Rizk, Randall Reed Rizk and Rex Robinson Rizk.

          26.     At various times hereto relevant Defendant Mr. Royce has committed several

crimes hereinafter delineated and has actively assisted other associated Defendants in

carrying out the civil and criminal conspiracies, as well as, the racketeering schemes, more

fully herein after delineated.

          27.     Defendant Scott Funk21 is a licensed Texas attorney. Defendant Mr. Funk is an

adult citizen resident domiciliary of Harris County Texas, the State of Texas, and the United

States of America. Service of process of pleadings, instruments, discovery and other

documents upon Defendant Mr. Funk is currently effective pursuant to Federal Rules of Civil

Procedure 4 by their delivery to his law offices, at Defendant Gray, Reed & McGraw, P.C. at

1300 Post Oak Boulevard, Suite 2000, Houston, Texas 77056, of which law firm Defendant

Mr. Funk is believed to be an active shareholder.


21   “Defendant Mr. Funk”.

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       28.     At various times Defendant Mr. Funk has represented as an attorney the late

Fred E. Rizk, the Estate of the late Fred E. Rizk, Plaintiff Edward G. Rizk, the other

beneficiaries of the Estate and trusts of the late Fred E. Rizk, Defendant J. Cary Gray

individually, as well as, as Executor of the Estate of the late Fred E. Rizk and as Trustee of

the trusts of the late Fred E. Rizk. As a matter of law, Defendant Mr. Funk is and was a

fiduciary owing such duties to the late Fred E. Rizk, Indispensable Party Plaintiff Sylvia Rizk,

Plaintiff Edward G. Rizk and Plaintiff Maxwell Rizk, as well as, Indispensable Party Plaintiffs

Edward Elias Rizk, Randall Reed Rizk and Rex Robinson Rizk.

       29.     At various times hereto relevant Defendant Mr. Funk has committed several

crimes hereinafter delineated and has actively assisted other associated Defendants in

carrying out the civil and criminal conspiracies, as well as, the racketeering schemes, more

fully herein after delineated.

       30.     Defendant Gray, Reed & McGraw, P.C. is a Professional Corporation founded

under the laws of the State of Texas for the practice of law, and has its principal place of

business at 1300 Post Oak Boulevard, Suite 2000, Houston, Texas 77056. Service of process

of pleadings, instruments, discovery and other documents upon Defendant Gray, Reed &

McGraw, P.C. is effective pursuant to Federal Rules of Civil Procedure 4 by their delivery to




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their law offices c/o J. Cary Gray, Managing Partner of Gray, Reed & McGraw, P.C., 1300

Post Oak Boulevard, Suite 2000, Houston, Texas 77056.22

          31.    At various times Defendant Gray, Reed & McGraw, P.C. has represented as a

law firm the late Fred E. Rizk, the Estate of the late Fred E. Rizk, Plaintiff Edward G. Rizk, the

other beneficiaries of the Estate and trusts of the late Fred E. Rizk, Defendant J. Cary Gray

individually, as well as, as Executor of the Estate of the late Fred E. Rizk and as Trustee of

the trusts of the late Fred E. Rizk. As a matter of law, Defendant Gray, Reed & McGraw, P.C.

is and was a fiduciary owing such duties to the late Fred E. Rizk, Indispensable Party Plaintiff

Sylvia Rizk, Plaintiffs Edward G. Rizk and Plaintiff Maxwell Rizk, as well as, Indispensable

Party Plaintiffs Edward Elias Rizk, Randall Reed Rizk and Rex Robinson Rizk.

          32.    At various times hereto relevant Defendant Gray, Reed & McGraw, P.C. has

committed several crimes hereinafter delineated and has actively assisted other associated

Defendants in carrying out the civil and criminal conspiracies, as well as, the racketeering

schemes, more fully herein after delineated.

          33.    Where a partner or associate of Defendant Gray, Reed & McGraw, P.C. acted

in a fiduciary capacity then and there was Defendant Gray, Reed & McGraw, P.C. also so

acting in a fiduciary capacity.




22   The predecessor of Gray, Reed & McGraw, P.C. was Looper, Reed & McGraw, P.C.


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           34.    Defendant Robert S. MacIntyre, Junior23 is a licensed Texas attorney.

Defendant Mr. MacIntyre is an adult citizen and resident domiciliary of Harris County Texas

and the United States of America. Service of process of pleadings, instruments, discovery

and other documents upon Defendant Mr. MacIntyre is effective pursuant to Federal Rules of

Civil Procedure 4 by their delivery to his law offices, MacIntyre, McCulloch, Stanfield & Young,

L.L.P., 2900 Weslayan Street, Suite 150, Houston, Texas 77027, of which Limited Liability

Partnership Defendant Mr. MacIntyre is a partner.

          35.     At various times Defendant Mr. MacIntyre has represented as an attorney the

Estate of the late Fred E. Rizk, and Defendant J. Cary Gray individually, as well as, as

Executor of the Estate of the late Fred E. Rizk and as Trustee of the trusts of the late Fred E.

Rizk.

          36.     At various times hereto relevant Defendant Mr. MacIntyre has committed

several crimes hereinafter delineated and has actively assisted other associated Defendants

in carrying out the civil and criminal conspiracies, as well as, the racketeering schemes, more

fully herein after delineated.

          37.     Defendant W. Cameron McCulloch24 is a licensed Texas attorney. Defendant

Mr. McCulloch is an adult citizen resident domiciliary of Harris County Texas and the United

States of America. Service of process of pleadings, instruments, discovery and other



23   “Defendant Mr. MacIntyre”.
24   “Defendant Mr. McCulloch”.

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documents upon Defendant Mr. McCulloch is currently effective pursuant to Federal Rules of

Civil Procedure 4 by their delivery to his law offices, MacIntyre, McCulloch, Stanfield & Young,

L.L.P., 2900 Weslayan Street, Suite 150, Houston, Texas 77027, of which Limited Liability

Partnership Defendant Mr. McCulloch is a partner.

       38.     At various times Defendant Mr. McCulloch has represented as an attorney ad

litem and a guardian ad litem the minor child Plaintiff L.S. As such, Defendant Mr. McCulloch

was Plaintiff L.S.’s fiduciary as a matter of Texas law.

       39.     As will be more fully delineated and pled herein below, at all times relevant

hereto Defendant Mr. McCulloch acted in bad faith as regards his ward, Plaintiff L.S. in both

his capacity as that minor child the Orphan Sheshtawy’s attorney ad litem, as well as, as

guardian ad litem, and hence is liable to Plaintiff L.S. for the damages he caused her to suffer

to her property and share of her late father, Adel Sheshtawy’s Estates.

       40.     At various times hereto relevant Defendant Mr. McCulloch has committed

several crimes hereinafter delineated and has actively assisted other associated Defendants

in carrying out the civil and criminal conspiracies, as well as, the racketeering schemes, more

fully herein after delineated.

       41.     Defendant Judge Loyd Wright appointed Defendant Mr. McCulloch to act on

one occasion as Plaintiff L.S.’s attorney ad litem and on another occasion as Plaintiff L.S.’s

guardian ad litem.




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          42.     Defendant Christopher Burt25 is a licensed Texas attorney. Defendant Mr. Burt

is an adult citizen and resident domiciliary of Harris County Texas and the United States of

America. Service of process of pleadings, instruments, discovery and other documents upon

Defendant Mr. Burt is effective pursuant to Federal Rules of Civil Procedure 4 by their delivery

to his law offices, MacIntyre, McCulloch, Stanfield & Young, L.L.P., 2900 Weslayan Street,

Suite 150, Houston, Texas 77027, of which Limited Liability Partnership Defendant Mr. Burt

is not a partner, but is an associate.

          43.     At various times hereto relevant Defendant Mr. Burt has committed several

crimes hereinafter delineated and has actively assisted other associated Defendants in

carrying out the racketeering scheme.

          44.     Defendant Jill Willard Young26 is a licensed Texas attorney. Defendant Ms.

Young is an adult citizen and resident domiciliary of Harris County Texas and the United

States of America. Service of process of pleadings, instruments, discovery and other

documents upon Defendant Ms. Young is effective pursuant to Federal Rules of Civil

Procedure 4 by their delivery to her law offices, MacIntyre, McCulloch, Stanfield & Young,

L.L.P., 2900 Weslayan Street, Suite 150, Houston, Texas 77027, of which Limited Liability

Partnership Defendant Ms. Young is a partner.




25   “Defendant Mr. Burt”.
26   “Defendant Ms. Young”.

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           45.     Defendant Judge Loyd Wright appointed Defendant Ms. Young to act as

guardian ad litem for the now deceased Ruby S. Peterson, mother to the Plaintiffs Peterson,

Defendant Carol Ann Manley and Defendant David Peterson, and as such acted in bad faith

untoward Decedent Ruby S. Peterson.27 Defendant Judge Loyd Wright appointed a guardian

ad litem over the person and property of the Decedent Ruby S. Peterson, but however never

entered any other Order in any of the associated cases finding that Decedent Ruby S.

Peterson was either incapacitated or incompetent, which would be legally necessary for the

entry of such an Order, while Decedent Ruby S. Peterson was still living.

           46.     At various times hereto relevant Defendant Ms. Young has committed several

crimes hereinafter delineated and has actively assisted other associated Defendants in

carrying out the civil and criminal conspiracies, as well as, the racketeering schemes, more

fully herein after delineated.

           47.     Defendant MacIntyre, McCulloch, Stanfield & Young, Limited Liability

Partnership is a limited liability partnership founded under the laws of the State of Texas for

the practice of law, and has as its principal place of business 2900 Weslayan Street, Suite

150, Houston, Texas 77027. Service of process of pleadings, instruments, discovery and

other documents upon Defendant MacIntyre, McCulloch, Stanfield & Young, L.L.P. is effective

pursuant to Federal Rules of Civil Procedure 4 by their delivery to their law offices c/o Robert



27   Exhibit “1” Order, which was mailed to the Peterson Plaintiffs.


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S. MacIntyre, Junior, Esquire, Managing Partner, at 2900 Weslayan Street, Suite 150,

Houston, Texas 77027.

          48.     Members, partners and associates of Defendant MacIntyre, McCulloch,

Stanfield & Young, L.L.P. at various times as described herein have committed several crimes

hereinafter delineated and have acted in concert with other Defendants herein to advance the

civil and criminal conspiracies, as well as, the racketeering schemes, more fully herein after

delineated.

          49.     Where a partner or associate of Defendant MacIntyre, McCulloch, Stanfield &

Young, L.L.P. acted in a fiduciary capacity then and there was Defendant MacIntyre,

McCulloch, Stanfield & Young, L.L.P. also so acting in a fiduciary capacity.

          50.     Defendant Sarah Pacheco28 is an attorney licensed to practice law in the State

of Texas. Defendant Ms. Pacheco is an adult citizen resident domiciliary of Harris County

Texas and the United States of America. Service of process of pleadings, instruments,

discovery and other documents upon Defendant Ms. Pacheco is effective pursuant to Federal

Rules of Civil Procedure 4 by their delivery to her law offices, Crain, Caton & James, P.C.,

Five Houston Center, 17th Floor, 1401 McKinney, Suite 1700, Houston, Texas 77010, of

which law firm Defendant Ms. Pacheco is a shareholder.

          51.     At diverse times Defendant Ms. Pacheco, Defendant Kathleen Beduze and

Defendant Crain, Caton & James, P.C. have represented and do represent the Estate of the


28   “Defendant Ms. Pacheco”.

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late Adel Sheshtawy, as well as, the administrators Defendant Nader Sheshtawy and

Defendant Hanya Sustache.

          52.     At diverse times Defendant Ms. Pacheco, Defendant Kathleen Beduze and

Defendant Crain, Caton & James, P.C. have represented and do represent the Estate of the

late Ruby S. Peterson, the Peterson Family Trust II, the Executrix of the Estate of Ruby S.

Peterson, Defendant Carol Ann Manley and the Executor of the Estate of Ruby S. Peterson,

Defendant David Troy Peterson.

          53.     At various times Defendant Sarah Pacheco has committed several crimes

hereinafter delineated and acted individually and in concert with other Defendants herein to

advance the civil and criminal conspiracies, as well as, the racketeering schemes, more fully

herein after delineated.

          54.     Defendant Kathleen Tanner Beduze29 is a licensed Texas attorney. Defendant

Ms. Beduze is an adult citizen resident domiciliary of Harris County Texas and the United

States of America. Service of process of pleadings, instruments, discovery and other

documents upon Defendant Ms. Beduze is effective pursuant to Federal Rules of Civil

Procedure 4 by their delivery to her law offices, Crain, Caton & James, P.C., Five Houston

Center, 17th Floor, 1401 McKinney, Suite 1700, Houston, Texas 77010, of which law firm

Defendant Ms. Beduze is an associate.




29   “Defendant Ms. Beduze”.

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       55.     At various times Defendant Kathleen Beduze has committed several crimes

hereinafter delineated and acted individually and in concert with other Defendants herein to

advance the civil and criminal conspiracies, as well as, the racketeering schemes, more fully

herein after delineated.

       56.     Defendant Crain, Caton & James, P.C., is a Professional Corporation founded

under the laws of the State of Texas for the purpose of the practice of law, and has its principal

place of business at Five Houston Center, 17th Floor, 1401 McKinney, Suite 1700, Houston,

Texas 77010. Service of process of pleadings, instruments, discovery and other documents

upon Defendant is effective pursuant to Federal Rules of Civil Procedure 4 by their delivery

to their law offices c/o their registered agent, Larry D. George, Crain, Caton & James, P.C.,

Five Houston Center, 17th Floor, 1401 McKinney, Suite 1700, Houston, Texas 77010.

       57.     Defendant Crain, Caton & James, P.C. has committed several crimes

hereinafter delineated and has acted with other Defendants herein to advance the civil and

criminal conspiracies, as well as, the racketeering schemes, more fully herein after

delineated.

       58.     Where a partner or associate of Defendant Crain, Caton & James, P.C acted

in a fiduciary capacity then and there was Defendant Crain, Caton & James, P.C. also so

acting in a fiduciary capacity.




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          59.     Defendant Michael Fuqua30 is a licensed Texas attorney. Defendant Mr. Fuqua

is an adult citizen resident domiciliary of Harris County Texas and the United States of

America. Service of process of pleadings, instruments, discovery and other documents upon

Defendant Mr. Fuqua is effective pursuant to Federal Rules of Civil Procedure 4 by their

delivery to his law offices, Fuqua & Associates, P.C., 5005 Riverway Drive, Suite 250,

Houston, Texas 77056, of which law firm Defendant Mr. Fuqua is a shareholder.

          60.     Defendant Fuqua & Associates, P.C., is a Professional Corporation founded

under the laws of the State of Texas for the purpose of the practice of law, and has its principal

place of business at 5005 Riverway Drive Suite 250, Houston, Texas 77056. Service of

process of pleadings, instruments, discovery and other documents upon Defendant Fuqua &

Associates, P.C. is effective pursuant to Federal Rules of Civil Procedure 4 by their delivery

to their law offices c/o Michael Fuqua, Esquire, Managing Partner at 5005 Riverway Drive,

Suite 250, Houston, Texas 77056.

          61.     Defendant Judge Loyd Wright appointed Defendant Mr. Fuqua temporary

administrator of the Estate of Adel Sheshtawy.

          62.     Defendant Mr. Fuqua has committed several crimes and has acted individually

and with other Defendants herein to advance the civil and criminal conspiracies, as well as,

the racketeering schemes, more fully herein after delineated.

          63.     Defendant Fuqua & Associates, P.C. has committed several crimes and has


30   “Defendant Mr. Fuqua”.

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acted with other Defendants herein to advance the civil and criminal conspiracies, as well as,

the racketeering schemes, more fully herein after delineated.

          64.     Where a partner or associate of Defendant Fuqua & Associates, P.C. acted in

a fiduciary capacity then and there was Defendant Fuqua & Associates, P.C. also so acting

in a fiduciary capacity.

          65.     Defendant the Honorable Harris County Probate 1 Associate Judge Ruth Ann

Stiles31 is an adult citizen resident domiciliary of Harris County Texas and the United States

of America. Defendant the Honorable Harris County Probate 1 Associate Judge Ruth Ann

Stiles is the appointed Associate Judge for Harris County Probate Court 1. Service of process

of pleadings, instruments, discovery and other documents upon Defendant Associate Judge

Ms. Stiles is effective pursuant to Federal Rules of Civil Procedure 4 by their delivery to her

chambers at 201 Caroline Street, 6th Floor, Houston, Texas 77001.

          66.     Defendant Associate Judge Ms. Stiles has committed several crimes

hereinafter delineated and has acted individually, as well as, with other Defendants herein to

advance the civil and criminal conspiracies, as well as, the racketeering schemes, more fully

herein after delineated. At various times hereto relevant Defendant Associate Judge Ms.

Stiles has actively assisted other associated Defendants in committing the crimes herein after

delineated and in carrying out the racketeering schemes. Defendant Associate Judge Ms.

Stiles committed official oppression on multiple occasions, as will be more fully herein after


31   “Defendant Judge Associate Ms. Stiles”.

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delineated. Defendant Associate Judge Ms. Stiles was grossly negligent (“Consciously

indifferent”) in her handling in equity of several guardianship and estate cases, as will be more

fully hereinafter delineated. Defendant Associate Judge Ms. Stiles in furthering the civil and

criminal conspiracies, as well as, the multiple schemes of racketeering engaged as an

accomplice or accessory in fiduciary fraud, as well as, directly in mail fraud and in wire fraud,

as will be more fully herein after delineated.

          67.     Defendant Kimberly Hightower32 is an adult citizen resident domiciliary of Harris

County Texas and the United States of America. Defendant Kimberly Hightower is and was

at all times relevant hereto an active court coordinator for Defendant the Honorable Loyd

Wright in Harris County Texas Probate Court 1. Service of process of pleadings, instruments,

discovery and other documents upon Defendant Kimberly Hightower is effective pursuant to

Federal Rules of Civil Procedure 4 by their delivery to her office at 201 Caroline Street, 6th

Floor, Houston, Texas 77001.

          68.     Defendant Ms. Hightower has committed several crimes hereinafter delineated

and has acted individually and with other Defendants herein to advance the racketeering

schemes. Defendant Ms. Hightower actively assisted and abetted the fraudulent takeover of

the entity of Probate Court 1, as well as, the entities of the estates and trusts before that

Court, the subject enterprises dealt with herein, to the fraudulent financial gain of the

Defendant lawyers, guardians ad litem and attorneys ad litem herein to the financial detriment


32   “Defendant Ms. Hightower”.

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of the herein Plaintiffs in the advancing of the civil and criminal conspiracies, as well as, the

racketeering schemes, as will be more fully herein delineated.      Defendant Ms. Hightower in

furthering the civil and criminal conspiracies, as well as, the multiple schemes of racketeering

engaged as an accomplice or accessory in fiduciary fraud, as well as, directly in mail fraud

and in wire fraud, as will be more fully herein after delineated.

         69.   Defendant Farouk Sheshtawy is an adult citizen resident domiciliary of Harris

County Texas and the United States of America. Service of process of pleadings, instruments,

discovery and other documents upon Defendant Farouk Sheshtawy is effective pursuant to

Federal Rules of Civil Procedure 4 by their delivery to 96227 Gold Cup Way, Houston, Texas

77065.

         70.   Defendant Farouk Sheshtawy has committed several crimes hereinafter

delineated and has acted individually and with other Defendants herein to advance the civil

and criminal conspiracies, as well as, the racketeering schemes, more fully herein after

delineated.

         71.   Defendant Nader Sheshtawy is an adult citizen resident domiciliary of Harris

County Texas and the United States of America. Service of process of pleadings, instruments,

discovery and other documents upon Defendant Nader Sheshtawy is effective pursuant to

Federal Rules of Civil Procedure 4 by their delivery to 1121 Lashbrook Dr., Houston, Texas

77077.

         72.   Defendant Nader Sheshtawy is the natural son of Decedent Adel Sheshtawy.


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       73.    Defendant Nader Sheshtawy has committed several crimes hereinafter

delineated and has acted individually and with other Defendants herein to advance the civil

and criminal conspiracies, as well as, the racketeering schemes, more fully herein after

delineated.

       74.    Defendant Hanya Sustache is an adult citizen resident domiciliary of Harris

County Texas and the United States of America. Service of process of pleadings, instruments,

discovery and other documents upon Defendant Hanya Sheshtawy at 4203 Moss Cove Ct.,

Sugar Land, Texas 77479.

       75.    Defendant Hanya Sustache is the natural daughter of Decedent Adel

Sheshtawy.

       76.    Defendant Hanya Sustache has committed several crimes hereinafter

delineated and has acted individually and with other Defendants herein to advance the civil

and criminal conspiracies, as well as, the racketeering schemes, more fully herein after

delineated.

       77.    Defendant Carol Ann Manley is an adult citizen resident domiciliary of Fort

Bend County Texas and the United States of America, and a Trustee of the Peterson Family

Trust II. Service of process of pleadings, instruments, discovery and other documents upon

Defendant Ms. Manley is currently effective pursuant to Federal Rules of Civil Procedure 4

by their delivery to her address at 7915 Veramonte Ct., Sugarland, Texas 77479-7003.




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          78.     Defendant Carol Ann Manley has committed several crimes hereinafter

delineated and has acted individually and with other Defendants herein to advance the civil

and criminal conspiracies, as well as, the racketeering schemes, more fully herein after

delineated.

          79.     Defendant David Troy Peterson is an adult citizen and resident domiciliary of

Harris County Texas and the United States of America, and a Trustee of the Peterson Family

Trust II. Service of process of pleadings, instruments, discovery and other documents upon

Defendant Mr. Peterson is currently effective pursuant to Federal Rules of Civil Procedure 4

by their delivery to his address at 402 Fintona Way, Houston, Texas 77015.

          80.     Defendant David Peterson has committed several crimes hereinafter

delineated and has acted individually and with other Defendants herein to advance the civil

and criminal conspiracies, as well as, the racketeering schemes, more fully herein after

delineated.

          81.     Defendant Russ Jones33 is a licensed Texas attorney. Defendant Mr. Jones is

an adult citizen and believed to be a resident domiciliary of Harris County Texas and the

United States of America. Service of process of pleadings, instruments, discovery and other

documents upon Defendant Mr. Jones is effective pursuant to Federal Rules of Civil

Procedure 4 by their delivery to his law offices Underwood, Jones, & Scherrer, P.L.L.C, 5177

Richmond Ave. # 505, Houston, Texas 77056.


33   “Defendant Mr. Jones”.

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       82.    Defendant Judge Loyd Wright appointed Defendant Mr. Jones to act as

attorney ad litem for the Decedent Ruby S. Peterson.

       83.    Defendant Mr. Jones has committed several crimes hereinafter delineated and

has acted individually and with other Defendants herein to advance the racketeering

schemes.

       84.    Defendant Underwood, Jones, & Scherrer, P.L.L.C, is a Professional Limited

Liability Company founded under the laws of the State of Texas for the purpose of the practice

of law, and has its principal place of business at 5177 Richmond Ave. # 505, Houston, Texas

77056. Service of process of pleadings, instruments, discovery and other documents upon

Defendant Underwood, Jones, & Scherrer, P.L.L.C. is effective pursuant to Federal Rules of

Civil Procedure 4 by their delivery to their law offices c/o Joseph Maloof, Esquire, registered

agent for Underwood, Jones, & Scherrer, P.L.L.C, at 5177 Richmond Ave # 505, Houston,

Texas 77056, of which law firm Mr. Jones is a shareholder.

       85.    Defendant Underwood, Jones, & Scherrer, P.L.L.C. has committed several

crimes hereinafter delineated and has acted in concert with other Defendants herein to

advance the civil and criminal conspiracies, as well as, the racketeering schemes, more fully

herein after delineated.

       86.    Where a partner or associate of Defendant Underwood, Jones, & Scherrer,

P.L.L.C. acted in a fiduciary capacity then and there was Defendant Underwood, Jones, &

Scherrer, P.L.L.C. also so acting in a fiduciary capacity.


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          87.     Defendant Silverado Senior Living, Inc. is a Foreign For Profit Corporation

doing business in Texas as Silverado Senior Living, Inc., and has its principal place of

business at 27123 Calle Arroyo, San Juan Capistrano, California, 92675. 34 Service of process

of pleadings, instruments, discovery and other documents upon Defendant Silverado Senior

Living, Inc. is currently effective pursuant to Federal Rules of Civil Procedure 4 by their

delivery to their registered agent for service of process, Corporation Service Company, d/b/a

CSC-Lawyers Incorporating Service Company at 211 E. 7th Street, Suite 620, Austin, Texas

78701-3218.

          88.      Defendant Silverado has committed several crimes hereinafter delineated and

has acted in concert with other Defendants herein to advance the civil and criminal

conspiracies, as well as, the racketeering schemes, more fully herein after delineated.

          89.     Defendant Silverado was Decedent Ruby S. Peterson’s fiduciary.

          90.     Defendant LPL Financial L.L.C.35 is a foreign limited liability company doing

business in Texas as LPL Financial L.L.C., and has its principal place of business at 75 State

Street, 24th Floor, Boston, Massachusetts 02109. Service of process of pleadings,

instruments, discovery and other documents upon Defendant LPL Financial L.L.C. is currently

effective pursuant to Federal Rules of Civil Procedure 4 by their delivery to its registered agent




34   “Defendant Silverado”.
35   “LPL”.

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for service of process, CT Corporation System, 1999 Bryan St., Suite 900, Dallas, Texas

75201-3136.

          91.     Defendant LPL has committed several crimes hereinafter delineated and has

acted in concert with other Defendants herein to advance the civil and criminal conspiracies,

as well as, the racketeering schemes, more fully herein after delineated.

          92.     Defendant LPL was Decedent Ruby S. Peterson’s fiduciary.

          93.     Defendant Josh K. Davis36 is a licensed Texas attorney. Defendant Mr. Davis

is an adult citizen and resident domiciliary of Harris County Texas and the United States of

America. Service of process of pleadings, instruments, discovery and other documents upon

Defendant Mr. Davis is currently effective pursuant to Federal Rules of Civil Procedure 4 by

their delivery to his law offices, Lewis, Brisbois, Bisgaard & Smith, L.L.P., 24 Greenway Plaza,

Suite 1400, Houston, Texas 77046.

          94.     Defendant Mr. Davis has committed several crimes hereinafter delineated and

has acted individually and in concert with other Defendants herein to advance the

racketeering schemes.

          95.     Defendant Lewis, Brisbois, Bisgaard & Smith, L.L.P., is a Limited Liability

Partnership founded under the laws of the State of Texas for the purpose of the practice of

law practicing law in Texas, and has its principal place of business at 633 W. 5th St. Ste. 4000,

Los Angeles, California 90071-2074. Service of process of pleadings, instruments, discovery


36   “Defendant Mr. Davis”.

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and other documents upon Defendant Lewis, Brisbois, Bisgaard & Smith, L.L.P. is currently

effective pursuant to Federal Rules of Civil Procedure 4 by their delivery to their law offices

c/o Kent M. Adams, Esquire, managing partner for Lewis, Brisbois, Bisgaard & Smith, L.L.P.,

24 Greenway Plaza, Suite 1400, Houston, Texas 77046, of which law firm Defendant Mr.

Davis is a partner.

          96.      Defendant Lewis, Brisbois, Bisgaard & Smith, L.L.P. has committed several

crimes hereinafter delineated and has acted in concert with other Defendants herein to

advance the civil and criminal conspiracies, as well as, the racketeering schemes, more fully

herein after delineated.

          97.      Where a partner or associate of Defendant Lewis, Brisbois, Bisgaard & Smith,

L.L.P. acted in a fiduciary capacity then and there was Defendant Lewis, Brisbois, Bisgaard

& Smith, L.L.P. also so acting in a fiduciary capacity.

          98.      Defendant Dr. Christopher Merkl, M.D., P.A.,37 is a medical doctor licensed to

practice medicine in the State of Texas. Defendant Dr. Merkl is an adult citizen resident

domiciliary of Harris County Texas and the United States of America. Service of process of

pleadings, instruments, discovery and other documents upon Defendant Dr. Merkl is currently

effective pursuant to Federal Rules of Civil Procedure 4 by their delivery to his registered

agent, Christopher Merkl, at 2116 Bissonnet, Houston, Texas 77005.




37   “Defendant Dr. Merkl”.

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          99.     Defendant Dr. Merkl has committed several crimes hereinafter delineated and

has acted individually and in concert with other Defendants herein to advance the civil and

criminal conspiracies, as well as, the racketeering schemes, more fully herein after

delineated.

          100. Defendant Dr. Merkl was Decedent Ruby S. Peterson’s fiduciary.

          101. Defendant Thomas Schmidt38 was the certified accountant for the late Fred E.

Rizk and is currently the accountant for the Estate of Fred E. Rizk and the Executor of that

Estate Defendant J. Cary Gray. Defendant Thomas Schmidt is an adult citizen and resident

domiciliary of Harris County Texas and the United States of America. Service of process of

pleadings, instruments, discovery and other documents upon Defendant Mr. Schmidt is

currently effective pursuant to Federal Rules of Civil Procedure 4 by their delivery to his

accountancy offices at 7050 Lakeview Haven Dr., Suite 138, Houston, Texas 77095.

          102. Defendant Mr. Schmidt has committed several crimes hereinafter delineated

and has acted individually and in concert with other Defendants herein to advance the civil

and criminal conspiracies, as well as, the racketeering schemes, more fully herein after

delineated.

          103. Defendant McDonald Scott Worley39 is a licensed Texas attorney. Defendant

Mr. Worley is an adult citizen and resident domiciliary of Harris County Texas and the United



38   “Defendant Mr. Schmidt”.
39   “Defendant Mr. Worley”.

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States of America. Service of process of pleadings, instruments, discovery and other

documents upon Defendant Mr. Worley is currently effective pursuant to Federal Rules of

Civil Procedure 4 by their delivery to his law offices, 1770 Saint James Place, Suite 100,

Houston, Texas 77056.

       104. Defendant Mr. Worley acted as legal counsel to Plaintiff Valentina Sheshtawy

and as such owed her fiduciary duties as her attorney, as a matter of law.

       105. Defendant Mr. Worley has committed several crimes hereinafter delineated

and has acted individually and in concert with other Defendants herein to advance the civil

and criminal conspiracies, as well as, the racketeering schemes, more fully herein after

delineated.

       106. Defendant McDonald Worley, P.C. is a Texas professional corporation

established for the practice of law. Service of process of pleadings, instruments, discovery

and other documents upon Defendant McDonald Worley, P.C. is currently effective pursuant

to Federal Rules of Civil Procedure 4 by their delivery to their registered agent, McDonald S.

Worley, 10711 Cedar Creek, Houston, Texas 77042.

       107. Defendant McDonald Worley, P.C. has committed several crimes hereinafter

delineated and has acted individually and in concert with other Defendants herein to advance

the civil and criminal conspiracies, as well as, the racketeering schemes, more fully herein

after delineated.




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          108. Where a partner or associate of Defendant McDonald Worley, P.C. acted in a

fiduciary capacity then and there was Defendant McDonald Worley, P.C. also so acting in a

fiduciary capacity.

          109. Defendant Kelly Cowan, M.D.40 is a Texas licensed physician. Service of

process of pleadings, instruments, discovery and other documents upon Defendant Dr.

Cowan is currently effective pursuant to Federal Rules of Civil Procedure 4 by their delivery

to 16019 Via Shavano, Suite 101, San Antonio, Texas 78249.

          110. Defendant Dr. Cowan has committed several crimes hereinafter delineated and

has acted individually and in concert with other Defendants herein to advance the civil and

criminal conspiracies, as well as, the racketeering schemes, more fully herein after

delineated.

          111. Defendant Dr. Cowan was Decedent Ruby S. Peterson’s fiduciary, as a matter

of law.

          112. Defendant C. Clete Hopper41 is a domiciliary of the State of Texas and citizen

of the United States of America. C. Clete Hopper may be served with process under Federal

Rule of Civil Procedure 4 by service to C. Clete Hopper at 1300 Rolling Brook Drive, Suite

602, Baytown, Texas 77521.




40   “Defendant Dr. Cowan”.
41   “Defendant Mr. Hopper”.

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          113. Defendant Mr. Hopper has committed several crimes hereinafter delineated

and has acted individually and in concert with other Defendants herein to advance the civil

and criminal conspiracies, as well as, the racketeering schemes, more fully herein after

delineated.

          114. Defendant C. Clete Hopper & Company, Inc.42 is a corporation founded under

the laws of the State of Texas and may be served with process under Federal Rule of Civil

Procedure 4 by delivery to its registered agent, C. Clete Hopper at 1300 Rolling Brook Drive,

Suite 602, Baytown, Texas 77521.

          115. Defendant Hopper Inc. has committed several crimes hereinafter delineated

and has acted individually and in concert with other Defendants herein to advance the

racketeering schemes.

                                             INTRODUCTION

          116. Plaintiffs herein reallege, replead and incorporate herein their entireties through

this reference the allegations in the averments in ¶¶ 1 through 115, as well as, those

hereinafter pled as though herein originally pled.

          117. All of Defendants’ target herein as an enterprise, which they wished to take

over and did take over, as well as, did corrupt in their civil and criminal conspiracies, as well

as, racketeering schemes was and is Probate Court 1 for Harris County Texas, as Plaintiffs



42   “Defendant Hopper Inc.”.


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will conclusively hereinafter show.43

        118. The Harris County Texas Clerk’s office did not receive electronic or e-filing until

such commenced on January 1, 2014. Mail and messenger service were the media by which

papers were filed in that office prior to the referenced date, as Plaintiffs will more fully herein

after delineate. Many were filed through telecopier facsimile.

        119. The Defendant lawyers herein filed papers with the Harris County Clerk before

and after the referenced date.

        120. The Defendant lawyers herein all committed mail and wire fraud through their

various filings before and after the referenced date, as Plaintiffs will more fully herein after

delineate. Stamped envelopes sent by all the Defendant attorneys in each of the Plaintiffs’

cases exist.

        121. All of Defendants use and have used essentially in the past interstate wire,

airwaves and mail in the course of each of their advancements of the criminal enterprise of

the takeover and control of Probate Court 1 for Harris County Texas in their pursuit of their

civil and criminal conspiracies, as well as, racketeering schemes. They have each also used

and use the internet, where many of them maintain a permanent website.



43  "the existence of an enterprise at all times remains a separate element which must be proved by the
[plaintiff]." Id. Faithful to these excerpts from Turkette, we have identified three characteristics possessed by
all RICO enterprises: (1) a common or shared purpose; (2) some continuity of structure and personnel; and
(3) an ascertainable structure distinct from that inherent in a pattern of racketeering. See Atlas Pile Driving
Co. v. DiCon Fin. Co., 886 F.2d 986, 995 (8th Cir. 1989).



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        122. The multiple predicate acts, which each Defendant criminally committed or

participated in are also violations of §18 U.S.C. § 1341 (Mail Fraud)44 and/or § 1343 (Wire,

Radio or Television Fraud).45 The underlying fraudulent acts in civil and criminal conspiracies,

as well as, the racketeering schemes each Defendant committed are also all violations of

various Texas criminal statutes, which Plaintiffs more fully herein after shall delineate.

        123. Defendant C Club PAC is an unincorporated nonprofit political association

organization, formed, operated and conducted largely in support of the National and Local

Republican/Grand Old Party, whose raison d’etre is the identification and promotion of

individuals whom C Club PAC deems to be suitable for specific and particular political office

for the advancement of so called “conservative” principles of governance. C Club PAC’s

support of such candidates is largely through endorsements, advertisements and cash

contributions.

        124. Defendant C Club PAC uses and has used essentially in the past interstate

wire, airwaves, television and mail in the course of providing such support. C Club PAC has

also used and uses the internet, where it maintains a permanent website. C Club PAC has



44 The federal mail fraud statute prohibits use of postal services in the furtherance of fraudulent schemes,
whether or not prohibited by state law. Parr v. United States, 363 U.S. 370, 80 S. Ct. 1171, 4 L. Ed. 2d 1277
(1960); Badders v. United States, 240 U.S. 391, 36 S. Ct. 367, 60 L. Ed. 706 (1916); United States v.
Williams, 545 F.2d 47 (8th Cir. 1976).
45 Racketeering activity includes "any act which is indictable under . . . title 18 United States Code §1343

(relating to wire fraud)."Id § 1961(1); Brown v. Cassens Transp. Co., 546 F.3d 347, 352 (6th Cir. 2008). To
prove a defendant committed wire fraud, the plaintiff must show "(1) a scheme or artifice to defraud; (2) use
of interstate wire communications in furtherance of the scheme; and (3) intent to deprive a victim of money
or property." United States v. Daniel, 329 F.3d 480, 485 (6th Cir. 2003); 18 U.S.C. § 1343.

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also utilized the National banking system through wire and mail to conduct its financial

operations. Membership in C Club PAC is exclusively by invitation only.

        125. Defendant Judge Loyd Wright was and is such an individual whom Defendant

C Club PAC in 2011 and in 2015 endorsed and promoted for election to the bench of Harris

County Texas Probate Court 1.

        126. Defendant Judge Loyd Wright is well acquainted with the following lawyers

herein Defendants, as well as, their law firms, all of whom inter alios contributed to his election

and reelection as Harris County Probate Judge 1: Defendant J. Cary Gray, Defendant Gray

Reed & McGraw, P.C., Defendant Robert MacIntyre, Junior, Defendant W. Cameron

McCulloch, Defendant Ms. Jill Willard Young, Defendant MacIntyre, McCulloch, Stanfield &

Young, L.L.P, Defendant Ms. Sarah Pacheco, Defendant Kathleen Beduze, Defendant Crain,

Caton & James, P.C., Defendant Michael Fuqua, Defendant Fuqua & Associates, P.C.,

Defendant Russ Jones and Defendant Underwood, Jones, Sherrer, P.L.L.C. Defendant

Judge Loyd Wright committed official oppression in violation of Texas Penal Code § 39.30.46

        127. Defendant Judge Loyd Wright and the Defendants named herein also violated

and committed serially criminal fraud (Fiduciary Fraud)47 in violation of Texas Penal Code §


46  “(a) A public servant acting under color of his office or employment commits an offense if
he:…(2) intentionally denies or impedes another in the exercise or enjoyment of any right, privilege, power,
or immunity, knowing his conduct is unlawful; … (b) For purposes of this section, a public servant acts under
color of his office or employment if he acts or purports to act in an official capacity or takes advantage of such
actual or purported capacity.”
47 “Title 7 Offenses Against Property Chapter 32 Fraud § 32.45. Misapplication of Fiduciary Property

or Property of Financial Institution:


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1.01, et sequitur and § 32.45. The Defendants named herein also serially violated Texas

Penal Code § Sec. 32.43.48


      (a) For purposes of this section:
               (1) “Fiduciary” includes:
                        (A) a trustee, guardian, administrator, executor, conservator, and receiver;
                        (B) an attorney in fact or agent appointed under a durable power of attorney
                        as provided by Chapter XII, Texas Probate Code;
                        (C) any other person acting in a fiduciary capacity, but not a commercial
                        bailee unless the commercial bailee is a party in a motor fuel sales agreement
                        with a distributor or supplier, as those terms are defined by Section 162.001,
                        Tax Code; and
                        (D) an officer, manager, employee, or agent carrying on fiduciary functions
                        on behalf of a fiduciary.
                (2) “Misapply” means deal with property contrary to:
               (A) an agreement under which the fiduciary holds the property; or
               (B) a law prescribing the custody or disposition of the property.
      (b) A person commits an offense if he intentionally, knowingly, or recklessly misapplies
      property he holds as a fiduciary or property of a financial institution in a manner that involves
      substantial risk of loss to the owner of the property or to a person for whose benefit the
      property is held.
      (c) An offense under this section is:
               (1) a Class C misdemeanor if the value of the property misapplied is less than $100;
               (2) a Class B misdemeanor if the value of the property misapplied is $100 or more but
               less than $750;
               (3) a Class A misdemeanor if the value of the property misapplied is $750 or more but
               less than $2,500;
               (4) a state jail felony if the value of the property misapplied is $2,500 or more but less
               than $30,000;
               (5) a felony of the third degree if the value of the property misapplied is $30,000 or
               more but less than $150,000;
               (6) a felony of the second degree if the value of the property misapplied is $150,000
               or more but less than $300,000; or
               (7) a felony of the first degree if the value of the property misapplied is $300,000 or
               more…”             (Our Own Emphases Added.)
      (d) An offense described for purposes of punishment by Subsections (c)(1)—(6) is increased
      to the next higher category of offense if it is shown on the trial of the offense that the offense
      was committed against an elderly individual as defined by Section 22.04...” (Our Emphasis).

Please also see: Texas v. Vasilas, 187 S.W.3d 486, 490 (Tex. Crim. App. 2006): “…Both this
Court and the lower courts of appeals have construed "including" as a term of
enlargement in accordance with the legislature's intention…”



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        128. Under Texas law there no longer is the common law distinctions for and

between criminal offenses of and for a principal, accessory, and/or accomplice of a given

crime.49


48 “Commercial Bribery
         (a) For purposes of this section:
                   (1) “Beneficiary” means a person for whom a fiduciary is acting.
                   (2) “Fiduciary” means:
                             (A) an agent or employee;
                             (B) a trustee, guardian, custodian, administrator, executor, conservator, receiver, or
                   similar fiduciary;
                             (C) a lawyer, physician, accountant, appraiser, or other professional advisor; or
                             (D) an officer, director, partner, manager, or other participant in the direction of the
                   affairs of a corporation or association.
         (b) A person who is a fiduciary commits an offense if, without the consent of his beneficiary, he
intentionally or knowingly solicits, accepts, or agrees to accept any benefit from another person on agreement
or understanding that the benefit will influence the conduct of the fiduciary in relation to the affairs of his
beneficiary.
         (c) A person commits an offense if he offers, confers, or agrees to confer any benefit the acceptance
of which is an offense under Subsection (b).
         (d) An offense under this section is a state jail felony.
         (e) In lieu of a fine that is authorized by Subsection (d), and in addition to the imprisonment that is
         authorized by that subsection, if the court finds that an individual who is a fiduciary gained a benefit
         through the commission of an offense under Subsection (b), the court may sentence the individual
         to pay a fine in an amount fixed by the court, not to exceed double the value of the benefit gained.
         This subsection does not affect the application of Section 12.51(c) to an offense under this section
         committed by a corporation or association.”

49 Texas Penal Code § 7.01 reads: “(a) A person is criminally responsible as a party to an offense if the
offense is committed by his own conduct, by the conduct of another for which he is criminally responsible, or
by both. (b) Each party to an offense may be charged with commission of the offense. (c) All traditional
distinctions between accomplices and principals are abolished by this section, and each party to an offense
may be charged and convicted without alleging that he acted as a principal or accomplice.”
Texas Penal Code §7.02 reads: “(a) A person is criminally responsible for an offense committed by the
conduct of another if: (1) acting with the kind of culpability required for the offense, he causes or aids an
innocent or nonresponsible person to engage in conduct prohibited by the definition of the offense; (2) acting
with intent to promote or assist the commission of the offense, he solicits, encourages, directs, aids, or
attempts to aid the other person to commit the offense; or (3) having a legal duty to prevent commission of
the offense and acting with intent to promote or assist its commission, he fails to make a reasonable effort to
prevent commission of the offense. (b) If, in the attempt to carry out a conspiracy to commit one felony,
another felony is committed by one of the conspirators, all conspirators are guilty of the felony actually


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        129. The other Defendants herein inter alios acted in concert with one another in the

course of committing their several crimes and towards their various civil and criminal

conspiracies, as well as, racketeering schemes in league with one another and with

Defendant Judge Loyd Wright in a conspiracy to achieve and fulfill their joint civil and criminal

conspiracies, as well as, racketeering schemes, as Plaintiffs will more fully herein after

delineate.

        130. Attached hereto marked as Exhibit “2”, which through this reference Plaintiffs

hereby incorporate herein its entireties, is the Record from the Harris County Texas Clerk of

the reported campaign contributions for the election of Defendant Judge Loyd Wright as

Harris County Probate Judge 1, which reflect that most of the lawyer Defendants herein

contributed to the election of Defendant Judge Loyd Wright as Harris County Probate 1

Judge.50 There is thereby a financial connection with those Defendants and Defendant Judge

Loyd Wright.

        131. The Defendants herein formed illegal and unlawful conspiratorial combinations

between themselves, civilly and criminally, for the purpose of takeover and corrupting of the

entity and enterprise known as Probate Court 1 for Harris County Texas, for the purpose of

unlawfully enriching themselves through the misused, malused and nonused offices,


committed, though having no intent to commit it, if the offense was committed in furtherance of the unlawful
purpose and was one that should have been anticipated as a result of the carrying out of the conspiracy.”

50
   Attached hereto marked as Exhibit “2”, which through this reference Plaintiffs hereby incorporate herein
its entireties, is the Record from the Harris County Texas Clerk of the reported campaign contributions for
the election of Defendant Judge Loyd Wright as Harris County Probate Judge 1.

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chambers and proceedings of and before Defendant Judge Lloyd Wright and Defendant

Associate Judge Ruth Ann Stiles, as well as, through his and her intentional malfeasance,

nonfeasance and misfeasance to the financial, property and business detriment, damage and

loss of and to Plaintiffs, in violation of 18 U.S.C. § 1961, et sequitur.

          132. Defendant Hanya Sustache, Defendant Nader Sheshtawy, Defendant Farouk

Sheshtawy, Defendant Sarah Pacheco, Defendant Kathleen Beduze, Defendant Crain, Caton

& James P.C.,51 Defendant W. Cameron McCulloch, Defendant Macintyre, McCulloch,

Stanfield and Young, L.L.P., Defendant Michael Fuqua, Defendant Fuqua & Associates, P.C.,

and Defendant Mr. Worley, as well as, Defendant Judge Loyd Wright and Defendant

Associate Judge Ruth Ann Stiles targeted the Estate of the late Adel Sheshtawy as an

enterprise to take over and corrupt, which they have accomplished through the misused,

malused and nonused offices, chambers and proceedings of and before Defendant Judge

Lloyd Wright and Defendant Associate Judge Ruth Ann Stiles, both of whom committed

several acts of official oppression, as well as, through his and her intentional malfeasance,

nonfeasance and misfeasance to the financial, property and business detriment, damage and

loss of Plaintiff Valentina Sheshtawy and Plaintiff L.S.52

          133. The Sheshtawy Defendants unjustly enriched themselves through money had

and received, conversions of personalty, fiduciary frauds, as well as, theft of the proceeds of



51   Hereinafter sometimes referenced as “Sheshtawy Defendants”.
52   Hereinafter sometimes referenced as “Sheshtawy Plaintiffs”.

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unlawful real estate sales, directly from entities owned by the Estate of Adel Sheshtawy and

the estate directly at the expense and to the damage of each of the Sheshtawy Plaintiffs, their

respective property, financial and business interests.

          134. Defendant W. Cameron McCulloch, Defendant MacIntyre, McCulloch, Stanfield

and Young, L.L.P., Defendant Michael Fuqua, and Defendant Fuqua & Associates, P.C.

unjustly enriched themselves through money had and received through unnecessary and

unreasonable, as well as, unjust and inequitable attorney’s fees awarded and approved by

Defendant Judge Loyd Wright against the Estate of Adel Sheshtawy, to the financial, property

and business detriment, damage and loss of and to Plaintiff Valentina Sheshtawy and Plaintiff

L.S.’s property and business interests.

          135. Defendant David Peterson, Defendant Carol Ann Manley, Defendant Sarah

Pacheco, Defendant Kathleen Beduze, Defendant Crain, Caton & James, P.C., Defendant

Jill Young, Defendant MacIntyre, McCulloch, Stanfield and Young, L.L.P., Defendant Russ

Jones, Defendant Underwood, Jones, Sherrer, P.L.L.C., Defendant Josh K. Davis, Defendant

Lewis, Brisbois, Bisgaard & Smith, L.L.P., Defendant Christopher Merkl, M.D., P.A.,

Defendant LPL, and Defendant Silverado,53 as well as, Defendant Judge Loyd Wright and

Defendant Associate Judge Ruth Ann Stiles targeted the Estate of the late Ruby S. Peterson

and the Peterson Family Trust II as the enterprises to take over and corrupt, which they have

accomplished through the misused, malused and nonused offices, chambers and


53   Hereinafter sometimes the “Peterson Defendants”.

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proceedings of and before Defendant Judge Lloyd Wright and Defendant Associate Judge

Ruth Ann Stiles, both of whom committed several acts of official oppression, as well as,

through his and her intentional malfeasance, nonfeasance and misfeasance to the financial,

property and business detriment, damage and loss of and to Plaintiff Mackey Peterson,

Plaintiff Don Peterson and Plaintiff Lonny Peterson’s property and business interests.

       136. The Peterson Defendants unjustly enriched themselves through money had

and received, as well as, conversion of personalty and the proceeds of unlawful real estate

sales at the expense and to the damage of each of the Plaintiffs, their respective property and

financial interests.

       137. Defendant Hanya Sustache, Defendant Nader Sheshtawy, Defendant Farouk

Sheshtawy, Defendant Sarah Pacheco, Defendant Kathleen Beduze, Defendant Crain, Caton

& James P.C., Defendant W. Cameron McCulloch, Defendant Macintyre, McCulloch,

Stanfield and Young, L.L.P., Defendant Michael Fuqua, Defendant Fuqua & Associates, P.C.,

and Defendant Mr. Worley unjustly enriched themselves through money had and received,

through several commissions of criminal fiduciary fraud, through unnecessary and

unreasonable, as well as unjust and inequitable attorney’s fees Defendant Judge Loyd Wright

awarded and approved against the Estate of Adel Sheshtawy, to the financial, property and

business detriment, damage and loss of Plaintiff Valentina Sheshtawy and Plaintiff L.S.

       138. Defendant J. Cary Gray, Defendant Gray, Reed & McGraw, P.C., Defendant

Mr. Royce, Defendant Mr. Funk, Defendant Robert S. MacIntyre, Junior and Defendant


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MacIntyre, McCulloch, Stanfield and Young, L.L.P.,54 as well as, Defendant Judge Loyd

Wright and Defendant Associate Judge Ruth Ann Stiles targeted the Inter Vivos and

Testamentary Trusts, as well as, Estate of the late Fred E. Rizk as the enterprises to take

over and corrupt, which they have accomplished through the misused, malused and nonused

offices, chambers and proceedings of and before Defendant Judge Lloyd Wright and

Defendant Associate Judge Ruth Ann Stiles, both of whom committed several acts of official

oppression, as well as, through his and her intentional malfeasance, nonfeasance and

misfeasance to the financial, property and business detriment, damage and loss of Plaintiff

Edward G. Rizk and Plaintiff Maxwell Rizk, as well as, of Indispensable Party Plaintiffs Edward

Elias Rizk, Rex Robinson Rizk, Randell R. Rizk and Sylvia Rizk.

          139. The Rizk Defendants unjustly enriched themselves through money had and

received, several commissions of fiduciary fraud, as well as, conversion of personalty and the

theft of the proceeds of unlawful real estate sales at the expense and to the damage of each

of the Plaintiffs and the Rizk Indispensable Party Plaintiffs, their respective property, financial

and business interests.

          140. Defendant J. Cary Gray, Defendant Gray, Reed & McGraw, P.C., Defendant

Mr. Royce, Defendant Mr. Funk, Defendant Robert S. MacIntyre, Junior and Defendant

MacIntyre, McCulloch, Stanfield and Young, L.L.P. unjustly enriched themselves through

money had and received through unnecessary and unreasonable, as well as, unjust and


54   Hereinafter sometimes the “Rizk Defendants”.

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inequitable attorney’s fees awarded and approved by Defendant Judge Loyd Wright against

the Inter Vivos and Testamentary Trusts, as well as, Estate of Fred E. Rizk,55 to the financial,

property and business detriment, damage and loss of and to Plaintiff Edward G. Rizk and

Plaintiff Maxwell Rizk, as well as, potentially of Indispensable Party Plaintiffs Edward Elias

Rizk, Rex Robinson Rizk, Randell R. Rizk and Sylvia Rizk’s financial and property interests.

        141. All of the Defendants herein committed other crimes against the laws and

dignity of the United States of America and the State of Texas, as Plaintiffs shall more fully

herein after delineate.

                FACTS AS TO THE ORPHAN L.S. AND THE WIDOW SHESHTAWY

        142. Plaintiffs herein reallege, replead and incorporate herein their entireties through

this reference the allegations in the averments in ¶¶ 1 through 141, as well as, those

hereinafter pled as though herein originally pled.

        143. This case involves inter alios the Guardianship of L.S. and the Guardianship

Estate of L.S., a minor child, and the rights of her natural biological mother, Plaintiff Valentina

Sheshtawy, and the rights of L.S., as well as, the rights of the Estate of the Decedent Adel

Sheshtawy and the rights of the Guardianship Estate of L.S., all matters which were before

and which Defendant Judge Loyd Wright adjudicated.



55 Some of the attorneys’ fees paid to the attorneys involved in the Rizk matters were not approved by
Defendant Judge Loyd Wright, as Defendant J. Cary Gray, Defendant Gray, Reed & McGraw, P.C., as well
as, Defendant Robert S. MacIntyre, Junior and MacIntyre, McCulloch, Stanfield & Young, L.L.P. never applied
for approval for those fees from Harris County Texas Probate Court I as is statutorily required.

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        144. Adel Sheshtawy died intestate on August 8, 2011, leaving a widow, Plaintiff

Valentina Sheshtawy, two adult children of another marriage, Defendant Nader Sheshtawy

and Defendant Hanya Sustache, as well as, a minor child, Plaintiff L.S., as Decedent Adel

Sheshtawy’s heirs.

        145. Other issues now before this Court in this case relate to the marriage of

Decedent Adel Sheshtawy and Plaintiff Valentina Sheshtawy, matters relating to how the

Estate of Adel Sheshtawy were judicially handled, as well as, the administration of the

Decedent Adel Sheshtawy's intestate estate before and in the statutory Probate Court 1 for

Harris County, Texas, where Defendant Judge Loyd Wright and Defendant Associate Judge

Ruth Ann Stiles presided and preside, as judicial officers in Harris County Texas.56 Please

accord Clerk cases No. 407499, 407499-401, 407499-402, 407499-403, 407499-404,

407499-405, 407499-406, 407499-407, and 425238 In re: Estate of Adel Sheshtawy

Deceased. Issues so raised are tied to the breaches of fiduciary duties, commissions of

fiduciary fraud and theft by several Defendants named herein, as the Sheshtawy Plaintiffs

shall particularly herein set out, as well as, Defendant Judge Loyd Wright, Defendant

Associate Judge Ruth Ann Stiles and Defendant Ms. Hightower’s several commissions of

official oppression, where there were civil and criminal conspiracies, as well as, racketeering




56Plaintiff Valentina Sheshtawy does hereby incorporate herein their entireties Harris County Court files for
cases No. 407499, 407499-401, 407499-402, 407499-403, 407499-404, 407499-405, 407499-406, 407499-
407 and 425238.

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schemes furthered by all of these Defendants, where all Defendants utilized the mails, wire

and the internet in violation of 18 U.S.C. § 1961, et sequitur.

       146. Defendant Judge Loyd Wright and Defendant Associate Judge Ruth Ann Stiles

conducted several hearings involving the intestate Estate of Adel Sheshtawy, as well as, as

related to the Guardianship of L.S. and L.S.’s Guardianship Estate, as well as, rendered

several Orders, which have been destructive of the assets of the Estates of Adel Sheshtawy

and L.S.’s Guardianship Estate, as well as, to both these Sheshtawy Plaintiffs, who each have

suffered injury to their property, business and financial interests. The Orders referenced are

ascertainable from the records of the Probate Court 1 cases online at the Harris County

Clerk’s website and are hereby incorporated herein their entireties for all purposes. Copies of

all orders referenced were entered in advancement of the civil and criminal conspiracies, as

well as, the racketeering schemes herein delineated and were mailed on the entry dates to

Plaintiff Sheshtawy when she was acting pro se or transmitted by facsimile telecopier to her

attorneys of record by copies, constituting acts of mail and wire fraud over a period in excess

of five years, at the direction of Defendant Ms. Hightower, Defendant Judge Loyd Wight

and/or Defendant Associate Judge Ruth Ann Stiles.

       147. In addition Defendants Judge Loyd Wright, Defendant Associate Judge Ruth

Ann Stiles, Defendant Sarah Pacheco, Defendant Kathleen Beduze, Defendant Crain, Caton

& James, P.C., Defendant Mr. Worley, Defendant Farouk Sheshtawy, Defendant Nader

Sheshtawy, Defendant Hanya Sustache, Defendant Michael Fuqua, Defendant Fuqua &


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Associates, Defendant W. Cameron McCulloch, as well as, Defendant MacIntyre, McCulloch,

Stanfield & Young, L.L.P.57 illegally and unlawfully deprived Plaintiff Valentina Sheshtawy of

her rights as the widow of intestate Decedent Adel Sheshtawy under the Constitution of the

State of Texas and the Texas Estate Code (and its predecessor Texas Probate Code),

through, including but not limited to, conspiracy, fraud, fiduciary fraud, negligent

misrepresentation, breach of fiduciary duties, conversion, unjust enrichment-money had and

received, collusion, conspiracy, undue influence, coercion and duress, as well as, official

oppression, as the Sheshtawy Plaintiffs shall more fully herein after delineate.

           148. Almost immediately after Decedent Adel Sheshtawy’s death without any legal

authority and totally outside the legal system Defendant Farouk Sheshtawy, Defendant Nader

Sheshtawy, and Defendant Hanya Sustache began sacking the Decedent Adel Sheshtawy’s

offices and places of business, removing and converting much personal property belonging

to Decedent Adel Sheshtawy and business entities, which the decedent owned outright.

          149. At all times relevant hereto, Defendant Judge Loyd Wright and Defendant

Associate Probate Judge Ruth Ann Stiles intentionally entered into a civil and criminal

conspiracy with Defendant Conservative Club of Houston, and the treasurer of its PAC,

Defendant herein J. Cary Gray, as well as, with Defendant Kimberly Hightower, Defendant

Sarah Pacheco, Defendant Kathleen Beduze, Defendant Crain, Caton & James, P.C.,

Defendant W. Cameron McCulloch, Defendant, MacIntyre, McCulloch, Stanfield & Young,


57   Herein collectively sometimes referenced as the “Sheshtawy Defendants”.

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L.L.P., Defendant Mr. Fuqua, Defendant Fuqua & Associates, Defendant Nader Sheshtawy,

Defendant Hanya Sustache and Defendant Mr. Worley to further the financial and other

interests of Defendant Nader Sheshtawy and Defendant Hanya Sustache, as well as, for the

financial and other benefit of Defendant Farouk Sheshtawy, Defendant Hanya Sustache,

Defendant Nader Sheshtawy, Defendant Sarah Pacheco, Defendant Kathleen Beduze,

Defendant Crain, Caton & James, P.C., Defendant W. Cameron McCulloch, Defendant,

MacIntyre, McCulloch, Stanfield & Young, L.L.P., Defendant Mr. Fuqua, Defendant Fuqua &

Associates, P.C. and Defendant Mr. Worley at the expense of and to the financial damages

and detriment to property belonging to Plaintiff Valentina Sheshtawy, the Estate of the

intestate Decedent Adel Sheshtawy, L.S.’s Guardianship Estate and L.S., a minor, fruits of

aforesaid civil and criminal conspiracy represented and resulted each from numerous (more

than two (2)) predicate acts under the Civil RICO statute and thus constituted racketeering in

corrupt organization(s), for which Plaintiff Valentina Sheshtawy and L.S. herein sue. All of

these Defendants utilized instrumentalities of interstate commerce in furtherance of their civil

and criminal conspiracies, as well as, their racketeering enterprises throughout the course of

engaging in interstate racketeering, and so also committed mail and wire fraud.58



58
   “The mail- and wire-fraud statutes criminalize the use of the mails or wires in furtherance of ‘any scheme
or artifice to defraud, or for obtaining money or property by means of false or fraudulent pretenses,
representations, or promises.’ 18 U.S.C. § 1341 (mail fraud); § 1343 (wire fraud). The honest-services statute,
§ 1346, defines “the term 'scheme or artifice to defraud' ‘in these provisions to include ‘a scheme or artifice
to deprive another of the intangible right of honest services.’ Please see United States v. Fastow, 292 F.
Supp. 2d 914, 918 (SD Tex. 2003); Order in United States v. Hirko, No. 4:03-cr-00093 (SD Tex., Nov. 24,


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        150. As the Probate 1 Court's Coordinator, Defendant Kimberly Hightower acted as

the conduit of ex parte communications at diverse times between the Defendant Judge Loyd

Wright, Defendant Associate Judge Ruth Ann Stiles and the attorneys involved, to wit:

Defendant Sarah Pacheco, Defendant Kathleen Beduze, Defendant Crain, Caton & James,

P.C., Defendant W. Cameron McCulloch, Defendant, MacIntyre, McCulloch, Stanfield &

Young, L.L.P., Defendant Mr. Fuqua, Defendant Fuqua & Associates P.C., Defendant Mr.

Worley and Defendant McDonald Worley, P.C. in furtherance of the civil and criminal

conspiracies, as well as, the racketeering schemes.

        151. The common law marriage between Decedent Adel Sheshtawy and Plaintiff

Valentina Sheshtawy began on 26 September 2005,59 when Plaintiff Valentina Sheshtawy


2004), Record, Doc. 484, p. 6. These rulings were made by two other judges of the same District...” United
States v. Skilling, 561 U.S. 358, 464 130 S. Ct. 2896 177 L. Ed. 2d 619 2010 U.S. LEXIS 5259 (U.S. 2010).

59 Decedent Adel Sheshtawy proposed marriage to Plaintiff Valentina Sheshtawy on 3 July 2005 and at that
time he gifted Plaintiff Valentina Sheshtawy with a wedding ring, from which date both Decedent Adel
Sheshtawy and Plaintiff Valentina Sheshtawy forward they both wore their wedding rings, until much later
when a divorce proceeding was initiated. Decedent Adel Sheshtawy and Plaintiff Valentina Sheshtawy
always held themselves out to the world, i.s., family members, business associates, friends and
acquaintances, as husband and wife. Please accord: Texas Family Code § 2.401(a)(2), to wit: "(a) In a
judicial, administrative, or other proceeding, the marriage of a man and woman may be proved by evidence
that: ... (2) the man and woman agreed to be married and after the agreement they lived together in this state
as husband and wife and there represented to others that they were married." Please see, Grigsby v. Reib,
105 Tex. 597, 607 153 S.W. 1124, 1913 Tex. LEXIS 62, Am. Ann. Cas. 1915 C1011, L.R.A. (n.s.) 1915E1
"...Marriage is not a contract, but a status created by mutual consent of one man and one woman. The method
by which it is solemnized, or entered into, may be by proceedings prescribed by statute, or by mutual
agreement with cohabitation, but, however contracted, having the same elements and producing the status
of husband and wife. The sole difference which can legally exist is in the method of expressing consent, and
the only particular in which a marriage as at common law can differ from the statutory method is the absence
of license and the ceremony. The cohabitation must be professedly as husband and wife, and public, so that
by their conduct towards each other they may be known as husband and wife. Such marriages may be


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and her minor son N.T., (born on 7 March 1996) came to live with Decedent Adel Sheshtawy

at 17706 Highgrove Drive, Houston, Texas 77077 and when on that date Decedent Adel

Sheshtawy and Plaintiff Valentina (maiden name “Spassova”) Sheshtawy commenced their

mutual cohabitation together.

        152. Decedent Adel Sheshtawy bought the residence at 12206 Cabo Blanco Court,

Houston, Texas 77041 in December of 2007. The married couple, Decedent Adel Sheshtawy

and Plaintiff Valentina Sheshtawy continued their cohabitation there, when they moved there

as husband and wife in January 2008.

        153. Decedent Adel Sheshtawy and Plaintiff Valentina Sheshtawy became L.S.’s

natural biological parents, when Plaintiff Valentina Sheshtawy gave birth to that child on 18

April 2008.60

        154. Nonetheless, Defendant Judge Loyd Wright on January 5, 2012 in case No.

407,499 without any legal justification or rationale ordered paternity testing for L.S.61 The DNA

report for that testing found that Plaintiff Valentina Sheshtawy was L.S.'s natural biological



equally the consummation of a mutual affection which will produce a home and family that will contribute to
good society, to free and just government and to the support of Christianity -- to the common weal.... Affirmed.
60 Attached hereto marked as Exhibit "3" is a copy of L.S.'s redacted birth certificate, which Plaintiff Valentina
Sheshtawy does hereby incorporate herein its entireties through this reference for all purposes. Aforesaid
Birth Certificate names Decedent Adel Sheshtawy as the natural biological father of L.S. and Plaintiff
Valentina, as the natural biological mother of L.S., which establishes conclusively that natural biological
parent child relationship, as a matter of Texas law. Decedent Adel Sheshtawy acknowledged L.S. as his
natural biological daughter when she was born, which is conclusive under Texas Law of and for establishing
paternity.
61 Exhibit “4” Date Order 01-05-12, which clerks in Probate Court 1 facsimile telecopied to the parties’ counsel

of record, which the Sheshtawy Plaintiffs do hereby incorporate herein its entireties for all purposes.

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mother and that there was a ninety-nine and thirteen hundred percent (99.13%) probability

that Decedent Adel Sheshtawy was L.S.'s natural biological father, the latter which

percentage is conclusive under Texas law that Decedent Adel Sheshtawy was L.S.'s natural

biological father.

        155. At the time of his death, 8 August, 2011, Decedent Adel Sheshtawy and Plaintiff

Valentina Sheshtawy were in the process of a divorce, Cause No. 2010-48274, 247th Judicial

District Court, In The Matter of the Marriage of Sheshtawy.62 The divorce case commenced

at the beginning of August 2010.63

        156. The 247th Texas Family District Court determined on a Motion for Summary

Judgment that the relationship between Plaintiff Valentina and Decedent Adel Sheshtawy was

in fact and de jure, as well, is a valid recognizable informal marriage.64 ("...Valentina and Adel

entered into informal marriage on September 26, 2005 and lived together thereafter as a

married couple in the State of Texas.")

        157. Texas 247th Family District Court issued injunctions65 on 11 October 2010,


62 Plaintiff Valentina Sheshtawy does hereby incorporate herein its entireties the file in Cause No. 2010-
48274 for all purposes.
63 Plaintiff Valentina Sheshtawy and Plaintiff L.S. does hereby incorporate herein the entireties aforesaid DNA

Report for all purposes, a redacted copy of which is hereto marked as Exhibit “5”.
64 Attached hereto marked as Exhibit "6" is a copy of 247th Texas Family District Court's Motion for Summary

Judgment and the Summary Judgment Order, dated 10 March, 2011, which Plaintiff Valentina Sheshtawy
does hereby incorporate herein its entireties through this reference for all purposes. That Order finds that
L.S. is the natural biological child of Decedent Adel Sheshtawy and Valentina Sheshtawy.
65 Attached hereto marked as Exhibit "7" is a copy of 247th Texas Family District Court's 11 October 2010

Injunction, which Plaintiff Valentina Sheshtawy does hereby incorporates herein its entireties through this
reference for all purposes.


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which prohibited Decedent Adel Sheshtawy from transferring assets and withdrawing money

from his accounts.

         158. Decedent Adel Sheshtawy purportedly fraudulently nonetheless transferred

assets to his brother Defendant Farouk Sheshtawy despite the Family District Court

injunctions.

         159. In September 2011, Defendant Hanya Sustache and Defendant Nader

Sheshtawy through their joint counsel Defendant Sarah Pacheco, Defendant Kathleen

Beduze and Defendant Crain, Caton & James, P.C. initiated a probate proceeding and the

Harris County Clerk assigned that case to Probate Court 1, Harris County, Texas, Cause No.

407,499 In the Estate of Adel Sheshtawy, Deceased.

         160. Defendant Judge Loyd Wright appointed Defendant Mr. Fuqua of Fuqua &

Associates, P.C. as Temporary Administrator on October 13, 2011, Cause No. 407,499.66 By

and because of Defendant Judge Loyd Wright’s appointment, Defendant Mr. Fuqua became

Plaintiff Valentina Sheshtawy and Plaintiff L.S., as well as, Defendant Nader Sheshtawy and

Defendant Hanya Sustache’s fiduciary, as well as, as heirs Defendant Nader Sheshtawy and

Defendant Hanya Sustache were also fiduciaries of the Sheshtawy Plaintiffs, as a matter of

law.67


66 Attached hereto marked as Exhibit "8" is a copy of 247th Texas Family District Court's 13 October 2011
Appointment, which Plaintiff Valentina Sheshtawy does hereby incorporates herein its entireties through this
reference for all purposes.
67 Texas Bank and Trust Company v. A. E. Moore, 595 S.W.2d 502 (Tex. 1980).




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        161. Defendant Mr. Fuqua on 17 October 2011 initially posted a bond for

$50,000.00USD. Defendant Probate Judge Loyd Wright increased the bond requirement to

$250,000.00USD on 27 June 2012.68

        162. On 23 February 2012 Defendant M. Fuqua filed an Inventory, Appraisement

and List of Claims for the Estate of Adel Sheshtawy as the temporary administrator of the

decedent Adel Sheshtawy’s intestate Estate.69

        163. Defendant Mr. Fuqua and Defendant Fuqua & Associates, P.C. filed an

improper and incomplete inventory, which included exempt assets, such as the homesteaded

residence and personal belongings, but excluding other valuable assets. Defendant Mr.

Fuqua listed most of the assets with undetermined value, initially, as well as, in subsequent

years.70

        164. Defendant Mr. Fuqua and Defendant Fuqua & Associates, P.C. filed an

improper and incomplete Accountings. Defendant Mr. Fuqua listed most of the assets with

undetermined value, initially, as well as, in subsequent years. Defendant Mr. Fuqua and

Defendant Judge Loyd Wright are in violation of the statutory requirements for a proper,

accurate and complete Inventory, Appraisement and List of Claims.



68 US Specialty Insurance Company: bond penalty not to exceed $ 3,000,000.00. Expired on July 3, 2015.
69 Attached hereto marked as Exhibit "9" is a copy of 23 February 2012 Inventory, Appraisement and List of
Claims, which Plaintiff Valentina Sheshtawy does hereby incorporates herein its entireties through this
reference for all purposes.
70 NOTE: Appraisement of estate is a statutory requirement, Texas Estate Code § 309.051(b) and it should

be done within 91 days after the administrator qualifies.


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        165. Once filed with the Harris County Clerk, the Inventory, Appraisement and List

of Claims for the Estate of Adel Sheshtawy became a government document under Texas

Penal Code § 37.01.71 Under Penal Code § 37.10 tampering with a governmental record

pursuant to Tex. Penal Code § 37.10 is stated as: “(a) A person commits an offense if he:

… (5) makes, presents, or uses a governmental record with knowledge of its falsity…”72

Defendant Mr. Fuqua knew the document was false, as did Defendant Fuqua & Associates,

P.C., Defendant Nader Sheshtawy, Defendant Hanya Sustache, Defendant Sarah Pacheco,

Defendant Kathleen Beduze and Defendant Crain, Caton & James, P.C.

        166. On 7 March 2012 Defendant Judge Loyd Wright approved the Inventory of the

Estate of Adel Sheshtawy which still did not include any Appraisement of Assets. No one

requested the appointment of appraiser(s) and the Court did not do so on its own initiative,

as statutorily required.73

        167. On 7 May 2015 Defendant Judge Loyd Wright appointed Defendant Nader

Sheshtawy and Defendant Hanya Sustache as Independent Co-Administrators of the

Decedent Adel Sheshtawy’s intestate Estate. By and because of this appointment by

Defendant Judge Loyd Wright of Defendant Nader Sheshtawy and Defendant Hanya

Sustache as Co-Administrators of the Estate of Adel Sheshtawy, Defendant Nader



71 One definition of a governmental record is "anything belonging to, received by, or kept by government for
information, including a court record." Tex. Penal Code Ann. § 37.01(2)(A)(Vernon Supp. 2004-2005).
72 State v. Vasilas, Supra. A pleading filed for a Court is a governmental record.
73 Texas Estate Code § 309.001.


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Sheshtawy and Defendant Hanya Sustache’s fiduciary relationship with Plaintiff Valentina

Sheshtawy and Plaintiff L.S. was enhanced, as a matter of Texas law.

      168. In October 2011, Defendant Nader Sheshtawy, afterwards and now a Co-

Administrator of the Estate of Decedent Adel Sheshtawy, sold the house at 6623 Ivy Heath,

Houston, Texas 77041, where Decedent Adel Sheshtawy was living during the pending

divorce. Defendant Nader Sheshtawy deposited the proceeds of this sale into his own Bank

of America account, which constitutes blatant commingling and is a serious breach of his

fiduciary duties. At the time Defendant Nader Sheshtawy sold this property, he was not Co-

Administrator of Decedent Adel Sheshtawy’s Estate, rather Defendant Mr. Fuqua, who

Defendant Judge Wright had appointed Temporary Administrator was supposedly handling

Decedent Adel Sheshtawy’s probate Estate. Defendant Mr. Fuqua knew that Defendant

Nader Sheshtawy had sold the house. (Decedent Adel Sheshtawy was found dead in that

same house and the vehicle Decedent Adel Sheshtawy had been driving, an Acura MDX,

mysteriously was moved to the business address at 6324 Cunningham Road, Houston, Texas

77041 and in following then this vehicle completely disappeared from the business property

and from the estate of Adel Sheshtawy without a trace). Also this property was part of AJZ

Investments, an investment company owned by Decedent Adel Sheshtawy. Defendant Nader

Sheshtawy has claimed he was the president and Defendant Farouk Sheshtawy, brother to

Decedent Adel Sheshtawy claimed he was the owner. There is and was no documentary

evidence for these claims. Defendant Nader Sheshtawy’s unjust enrichment and money had


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and received for the real estate sale proceeds is and was in addition to fiduciary fraud also

theft under the Texas Penal Code § 31.03 Theft.

           169. No one ever sought permission or approval from Probate Court 1 as was and

is statutorily required for Defendant Nader Sheshtawy’s to sell the real estate referenced nor

the Acura automobile. This sale was never reported to Probate Court 1 in any way, as was

and is statutorily required. There was no report to Probate Court 1 as to who sold the property,

for how much and to whom the proceeds were paid, as was and is statutorily required. These

acts represent in addition to fiduciary fraud also theft under the Texas Penal Code § 31.03

Theft.

           170. Defendant Nader Sheshtawy admitted in a 23 November, 2011 Deposition74

that he had sold the property. In the same deposition Defendant Nader admitted that Plaintiff

Valentina Sheshtawy was Decedent Adel Sheshtawy’s wife. Also Defendant Mr. Fuqua

personally examined Defendant Nader Sheshtawy regarding the sale of the house, but did

not report to the Probate Court 1 regarding the sale and did not make any effort to recover

the money ($153,000.00USD) for the Estate of Adel Sheshtawy. These acts of commission

and omission constitute serious breaches of fiduciary duty and fiduciary fraud under Texas

law. These acts are also RICO predicate acts.

           171. No one ever reported to Probate Court 1 that the house had been sold, as was

and is statutorily required.


74   A Transcript of this deposition is available.

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        172. Decedent Adel Sheshtawy's personal pre-demise financial statement states

that he alone owned AJZ Investments.75 This ownership of AJZ Investments Defendant Mr.

Fuqua and Defendant Fuqua & Associates, P.C., as well as, Defendant Nader Sheshtawy

and Defendant Hanya Sustache all knew. None of these Defendants ever informed Probate

Court 1 of these facts. These acts represent in addition to fiduciary fraud also theft under the

Texas Penal Code § 31.03 Theft.

        173. In August 2014, Defendant Nader Sheshtawy sold the house at 12207 Cabo

Blanco Court, Houston, Texas, which is and was across the street from where the property in

which Plaintiff Valentina Sheshtawy with her son and her minor child L.S. now reside together,

in fact also where the Decedent Adel Sheshtawy had resided with his common law wife,

Plaintiff, Valentina Sheshtawy since the beginning of January 2008. AJZ Investments also

owned 12207 Cabo Blanco Court at the time of Decedent Adel Sheshtawy's death. Defendant

Nader Sheshtawy failed to seek permission or approval from Probate Court 1 as well for this

sale, as was statutorily required and mandated. These acts of commission and omission

constitute serious breaches of fiduciary duty and fiduciary fraud under Texas law. These acts

are also RICO predicate acts.




75A copy of Decedent Adel Sheshtawy’s referenced financial statement is hereto attached marked as
Exhibit “10”, which Plaintiff Valentina Sheshtawy and Plaintiff L.S. do hereby incorporate herein for all
purposes.


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        174. Nonetheless somehow Defendant Farouk Sheshtawy “assigned” AJZ

Investments to Defendant Nader Sheshtawy in a 2 December 2013 settlement agreement

entered of record in Probate Court 1 case 407,499-402 and incorporated in case 407,499.76

These acts represent in addition to fiduciary fraud also theft under the Texas Penal Code §

31.03 Theft. They also constitute tampering with a governmental record, a violation of Texas

Penal Code § 37.02(a)(5).

        175. Defendant Judge Loyd Wright entered an Order on 10 January 2013 in Probate

Case No. 407,499-401, which stated that Aaron Pool and Misty McDonald on Plaintiff

Valentina Sheshtawy’s behalf had non-suited her claims without prejudice,77 because

Defendant Farouk Sheshtawy was not a necessary party, as he was not Decedent Adel

Sheshtawy’s heir.78


76 Exhibit “11”, which Sheshtawy Plaintiffs do hereby incorporate herein it entireties for all purposes.
77 Exhibit “12”, which Sheshtawy Plaintiffs do hereby incorporate herein it entireties for all purposes, which
the heading on the Order states with prejudice but in the body of the Order it states without prejudice.
78 Please note that Farouk Sheshtawy executed stock powers to transfer other assets to Defendant Nader

Sheshtawy and the Estate of Adel Sheshtawy as follows: 1) AJZ Inv. To Defendant Nader Sheshtawy; 2)
Drilling Tools Inc.: 65% to the estate of Decedent Adel Sheshtawy and 35% to Defendant Nader Sheshtawy,
as well as, authorized Defendant Michael Fuqua, Temporary Administrator of the Estate of Adel Sheshtawy,
to transfer the stock on the books of the Corporation; 3) Defendant Farouk Sheshtawy transferred Drill Bit
Inds. (DBI) Inc. to the Estate of Adel Sheshtawy, authorizing Defendant Michael Fuqua to transfer the stock
on the books of the Corporation; 4) Defendant Farouk Sheshtawy transferred TRI-MAX Inc. to the Estate of
Adel Sheshtawy authorizing Defendant Michael Fuqua to transfer the stock on the books of the Corporation.
Also please give special attention to the page where Defendant W. Cameron McCulloch signed on L.S.’s
behalf Defendant W. Cameron McCulloch’s signature was notarized by James Stilwell, attorney for
Defendant Farouk Sheshtawy with Martin & Stilwell, LLP, 1400 Woodlock Forest Drive, Suite 590, Houston,
Texas 77380. Also Defendant W. Cameron McCulloch has never been appointed to represent L.S. in Probate
Case No. 407,499-402 matter (McCulloch was appointed Attorney ad litem for L.S. on 28 February 2013 in
which the Order was file-stamped on 7 March 2013 for Probate Case No. 407,499-401 and on 25 October
2013 for Probate Case No. 407,499 in relation to Application for Determination and Declaration of Heirship.).


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        176. Defendant Nader Sheshtawy then took possession of AJZ Investment, despite

the fact that Defendant Farouk Sheshtawy could not assign an asset which he did not own. If

Decedent Adel Sheshtawy transferred AJZ Investments to Defendant Farouk Sheshtawy

during the divorce, that transfer is a direct violation of the 247th Texas Family District Court

injunctions that were in full force and effect at that time.

        177. Per the Texas Estate Code in effect at the time of Decedent Adel Sheshtawy's

demise, his minor child L.S. had a definable and ascertainable interest in that Estate as did

Plaintiff Valentina Sheshtawy.79

        178. On 28 February 2013 Defendant Judge Loyd Wright appointed Defendant W.

Cameron McCulloch, Esquire of the law firm Defendant MacIntyre, McCulloch, Stanfield &

Young, L.L.P. to act as the minor child L.S.'s attorney ad litem and only in Probate Court 1

Case 407,499-401.80



Exhibit “12” is a copy of the 25 October 2013 Order, and Exhibit “13” is a copy of the 7 March 2013 Motion
and Order, which Plaintiffs hereby do incorporate herein their entireties for all purposes.

79 Texas Estate Code § 201.002 provides, as did the predecessor Probate Code §, that: " Intestate Separate
Estate: (a) If a person who dies intestate leaves a surviving spouse, the estate, other than a community
estate, to which the person had title descends and passes as provided by this section. (b) If the person has
one or more children or a descendant of a child: (1) the surviving spouse takes one-third of the personal
estate; (2) two-thirds of the personal estate descends to the person’s child or children, and the descendants
of a child or children; and (3) the surviving spouse is entitled to a life estate in one-third of the person’s land,
with the remainder descending to the person’s child or children and the descendants of a child or children.

80 Attached hereto marked as Exhibit "14" is a copy of 28 February 2013 Assignment of Defendant W.
Cameron McCulloch, Esquire as attorney ad litem, which Plaintiff Valentina Sheshtawy does hereby
incorporate herein its entireties through this reference for all purposes. This Order was file-stamped on 7
March 2013.


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       179. On behalf of the minor child L.S., Defendant W. Cameron McCulloch signed

and agreed to the agreement and assignment of AJZ Investments hereinabove referenced

on Plaintiff L.S.’s behalf. These acts represent in addition to breach of fiduciary duties and

fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft.

       180. Plaintiff Valentina Sheshtawy retained John Elliott, Esquire as her attorney,

when she discovered that Defendant McDonald Worley and Defendant W. Cameron

McCulloch were deceiving her. At this point in time Plaintiff Valentina Sheshtawy discovered

that there was a company called AJZ Investment, without the “s” at the end. Defendant Nader

Sheshtawy nonetheless was claiming he at that point owned AJZ Investments.

       181. Decedent Adel Sheshtawy had paid cash for the house at 12207 Cabo Blanco

Court, Houston, Texas 77041 and he was receiving rent in the amount of $4,400USD monthly

from this rental property prior to his death, after that the whereabouts of the rent payment is

unknown. Defendant Nader Sheshtawy then sold the rental house. Defendant Nader

Sheshtawy also sold the house at 11706 Highgrove Fr., Houston, Texas 77077 and then

deposited the proceeds in the court registry, until Defendant Mr. Fuqua and Defendant Fuqua

& Associates, P.C. requested to withdraw the money ($137,555.14USD). These acts

represent in addition to breach of fiduciary duties and fiduciary fraud also theft under the

Texas Penal Code § 31.03 Theft. These acts are also RICO predicate acts.

       182. On 12 July 2012 Defendant Mr. Fuqua and Fuqua & Associates P.C. entered

into an Equipment Lease agreement with Defendant Nader Sheshtawy with the approval of


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Defendant Judge Loyd Wright.81 These acts represent in addition to breach of fiduciary duties

and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft. These acts are also

RICO predicate acts.

        183. Defendant Nader Sheshtawy removed estate assets, i.e. Enlarge While Drilling

and Expandable Stabilizer oil tools that Decedent Adel Sheshtawy had patented and was

manufacturing at the time of his death from Decedent Adel Sheshtawy’s business office at

6324 Cunningham Road., Houston, Texas 77041 and then moved these to Defendant Nader

Sheshtawy’s business office, which constitutes conversion and criminal theft of these assets,

which belonged to the Estate of Adel Sheshtawy. These acts represent in addition to breach

of fiduciary duties and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft.

        184. On 6 March 2013 Defendant Loyd Wright denied Defendant Nader Sheshtawy

and Defendant Hanya Sustache's traditional and no evidence Motions for summary judgment

in Probate case 407, 499-401 on their joint contest of Plaintiff Valentina Sheshtawy actually

having been married to Decedent Adel Sheshtawy, although neither Defendant Judge Loyd

Wright nor Defendant Associate Judge Ruth Ann Stiles ever acknowledged the Sheshtawy

common law marriage.

        185. On 6 March 2013 Defendant Judge Loyd Wright also denied Plaintiff Valentina

Sheshtawy's Motion for summary judgment where she sought to establish the validity of her



81 Exhibit “15” is a copy of the 12 July 2012 Order 23 in 407,499, which Plaintiffs Sheshtawy do hereby
incorporate herein its entireties for all purposes.

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common law marriage to Decedent Adel Sheshtawy in Probate case 407,499-401, in spite of

the 247th Texas District Family Court’s previous recognition of the marriage in a previous

Order.82

        186. At all times relevant hereto Defendant Sarah Pacheco, Defendant Kathleen

Beduze and Defendant Crain, Caton & James P.C. represented Defendant Nader Sheshtawy

and Defendant Hanya Sustache in the proceedings before Defendant Judge Loyd Wright of

Probate Court 1 for Harris County, Texas, as their legal counsel.

        187. At all times relevant hereto Defendant Sarah Pacheco, Defendant Kathleen

Beduze and Defendant Crain, Caton & James P.C. in representing Defendant Nader

Sheshtawy and Defendant Hanya Sustache as the administrators of the Estate of Adel

Sheshtawy in the proceedings before Defendant Judge Loyd Wright of Probate Court 1 for

Harris County, Texas, as their legal counsel also were representing the Estate of Adel

Sheshtawy.

        188. An attorney at law under Texas law is a fiduciary of his or her or their client. As

representative attorneys of the Estate of Adel Sheshtawy, Defendant Sarah Pacheco,

Defendant Kathleen Beduze and Defendant Crain, Caton & James P.C. were fiduciaries of

the statutory beneficiaries of that Estate, Defendant Hanya Sustache, Defendant Nader


82 Defendant Judge Wright made this ruling despite his own knowledge that the marriage of Plaintiff Valentina

Sheshtawy and Decedent Adel Sheshtawy had already been recognized to exist in the Texas 274th Family
District Court proceedings. Decedent Adel Sheshtawy admitted to the viability of that marriage in a 30
November 2007 deposition given for another case.


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Sheshtawy, Plaintiff Valentina Sheshtawy and Plaintiff L.S.

           189. In April of 2013 Plaintiff Valentina Sheshtawy retained Defendant Mr. Worley

and Defendant McDonald Worley, P.C. to represent her individually.83

           190. In the course of that representation, Defendant Mr. Worley acting in total bad

faith against the interests of his client Plaintiff Valentina Sheshtawy exerted duress and

coercion over Plaintiff Valentina Sheshtawy, at one point telling her that she was losing the

case, that Defendant Judge Loyd Wright would strike her pleadings, because of her refusal

to execute a Power of Attorney naming a lawyer in Bulgaria as her attorney in fact, which

Bulgarian attorney Defendant Nader Sheshtawy and Defendant Hanya Sustache had

retained. Defendant Nader Sheshtawy and Defendant Hanya Sustache had raised the issue

of how much child support Plaintiff Valentina Sheshtawy was being paid or could be paid for

her minor son by another marriage in the course of determining how much child support or

allowance the Estate of Adel Sheshtawy should pay for Plaintiff L.S. to Plaintiff Valentina

Sheshtawy, when her minor son from her previous Bulgarian marriage and divorce was not

even before the Court or in any way a party to the Probate Court 1 proceedings involving the

Estate of Adel Sheshtawy. Defendant Judge Loyd Wright had entered a 26 April 2013 Order,84

by which Plaintiff Valentina Sheshtawy was to sign a Power of Attorney naming a Bulgarian

lawyer unknown to her and whom Defendant Nader Sheshtawy and Defendant Hanya



83   “Defendant Mr. Worley”.
84   Exhibit “16,” which Sheshtawy Plaintiffs do hereby incorporate herein it entireties for all purposes.

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Sustache had retained. Defendant Sarah Pacheco also at this time was moving for sanctions

against Plaintiff Valentina Sheshtawy. Plaintiff Valentina Sheshtawy offered to provide

through a lawyer, who Plaintiff Valentina Sheshtawy personally knew in Bulgaria the

documents related to her son’s Bulgarian child support case, whereby and whereform Plaintiff

Valentina Sheshtawy had never received any child support. Plaintiff Valentina Sheshtawy had

previously provided the Bulgarian divorce decree showing the termination of the previous

marriage. Defendant Nader Sheshtawy and Defendant Hanya Sustache (through Defendant

Sarah Pacheco) had rejected the offer for the proffered documents. Plaintiff Valentina

Sheshtawy had objected also to signing the Power of Attorney to Ms. Arsenova, a Bulgarian

lawyer, whom Defendant Nader Sheshtawy and Defendant Hanya Sustache had retained,

because Plaintiff Valentina Sheshtawy had been informed that Ms. Arsenova was and is

related to Plaintiff Valentina Sheshtawy’s former husband in Bulgaria. Defendant Sarah

Pacheco, however, denied this in a hearing held in Probate Court 1, on 28 February 2013,

when and where Defendant Sarah Pacheco stated that her clients had found Ms. Arsenova

through the Bulgarian Embassy in Washington. At the same hearing, Defendant Sarah

Pacheco handed to Valentina a copy of Bulgarian document on which was affixed a stamp

from a court in the town where Plaintiff Valentina Sheshtawy’s former husband lives and the

only way to obtain such document was directly from Plaintiff Valentina Sheshtawy’s former

husband. Plaintiff Valentina Sheshtawy possesses an e-mail correspondence showing how

Defendant Nader Sheshtawy was conspiring with Plaintiff Valentina Sheshtawy’s former


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husband in Bulgaria, Ognyan Tassev to “kick” Plaintiff Valentina Sheshtawy out of Adel

Sheshtawy’s estate “forever”.85

        191. Defendant Mr. Worley and Defendant McDonald Worley, P.C. also told Plaintiff

Valentina Sheshtawy that she would never have a trial. Defendant Mr. Worley and Defendant

McDonald Worley, P.C. through threats, prevarications, coercion and severe intimidation, all

constituting duress and coercion forced Plaintiff to execute a 28 May 2013 Texas Rule of Civil

Procedure 11 settlement agreement,86 whereby Plaintiff Valentina relinquished all of her rights

to her statutory portion of the Estate of her common law husband, Decedent Adel Sheshtawy.

        192. Defendant Mr. Worley was working in collusion with and became one of the

Sheshtawy Defendants, all overseen by Defendant Judge Loyd Wright, in order to defeat

Plaintiff Valentina Sheshtawy’s legitimate claims to her statutory share of Decedent Adel

Sheshtawy’s Estate. These acts represent in addition to breach of fiduciary duties and

fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft. These acts are also

RICO predicate acts.

        193. Defendant Mr. Worley at all times relevant hereto was Plaintiff Valentina

Sheshtawy’s fiduciary, to whom he had fiduciary duties of total loyalty, fidelity and candor, as

a matter of Texas law.

85 Exhibit "17" is a copy of the referenced email, which Plaintiff Valentina Sheshtawy does hereby
incorporates herein its entireties for all purposes.
86 Attached hereto marked as Exhibit "18" is a copy of 28 May 2013 Texas Rule of Civil Procedure 11

Agreement, which Plaintiff Valentina Sheshtawy does hereby incorporates herein its entireties through this
reference for all purposes.


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       194. Defendant Mr. Worley has breached those fiduciary duties and has violated

Texas Penal Code § 35.02 and § 32.46, which has caused injury and damages to Plaintiff

Valentina Sheshtawy’s and Plaintiff L.S.’s property, for which they herein sue.

       195. Each and all of the Sheshtawy Defendants have entered into a conspiracy to

further their civil and criminal conspiracies, as well as, their common schemes of racketeering,

which has caused injury and damages to Plaintiff Valentina Sheshtawy’s and Plaintiff L.S.’s

property, for which they herein sue. These acts represent in addition to breach of fiduciary

duties and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft. These acts

are also RICO predicate acts.

       196. In May 2013 prompted and assisted by Defendant Sarah Pacheco, Defendant

Kathleen Beduze and Defendant Crain, Caton & James, P.C., Defendant Nader Sheshtawy

and Defendant Hanya Sustache interfered with and stopped Plaintiff Valentina Sheshtawy’s

and L.S.’s social security survivors’ benefits, which was the only income they had at the time,

by presenting untruthful information to the Social Security Administration.       These    acts

represent in addition to breach of fiduciary duties and fiduciary fraud also theft under the

Texas Penal Code § 31.03 Theft. These acts are also RICO predicate acts.

       197. At no time before Plaintiff Valentina Sheshtawy was executing the referenced

Rule 11 Agreement under duress and as coerced, did either Defendant Mr. Worley,

Defendant McDonald Worley & Associates, P.C., Defendant W. Cameron McCulloch, and

Defendant MacIntyre, McCulloch, Stanfield & Young, L.L.P. explain to Plaintiff Valentina


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Sheshtawy her homestead and inheritance rights. Neither mentioned at any time that the

minor child Plaintiff L.S. also had similar rights to inherit from Decedent Adel Sheshtawy

through his estate. At that time Plaintiff Valentina Sheshtawy was totally unfamiliar with Texas

law. Plaintiff Valentina Sheshtawy was thus heavily relying upon Defendant Mr. Worley.

Defendant Mr. Fuqua, the Temporary Administrator of the Estate of Adel Sheshtawy had

included the house where Plaintiff Valentina Sheshtawy resided with her children at 12206

Cabo Blanco Court., Houston, Texas 77041, in the inventory of the estate and Plaintiff

Valentina Sheshtawy was unaware that the residence should not have been so listed,

because neither her lawyer Defendant Mr. Worley, nor the temporary Administrator,

Defendant Mr. Fuqua nor Defendant W. Cameron McCulloch had explained these

refinements of Texas law to her. Defendant W. Cameron McCulloch and Defendant Mr.

Worley obtained the aforesaid Rule 11 Settlement Agreement through their fraud and artifice

against Plaintiff Valentina Sheshtawy and the minor child L.S. This Rule 11 Agreement the

Sheshtawy Defendants filed with the Court. These acts represent in addition to breach of

fiduciary duties and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft.

These acts are also violative of Texas Penal Code § 37.10(a)(5). These acts are also RICO

predicate acts.

       198. Defendant W. Cameron McCulloch, as her attorney ad litem owed Plaintiff the

minor child L.S. fiduciary duties, including those of total loyalty, complete candor, full

disclosure and fidelity to her, as well as, to her mother and guardian, Plaintiff Valentina


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Sheshtawy. Defendant W. Cameron McCulloch, Esquire breached those fiduciary duties he

owed to the minor child L.S., by which said minor child L.S. proximately and directly has

suffered damages to her property, for which her next friend Valentina Sheshtawy herein sues.

These acts of commission and omission constitute serious breaches of fiduciary duty and

fiduciary fraud under Texas law. These acts represent in addition to breach of fiduciary duties

and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft. These acts are also

violative of Texas Penal Code § 37.10(a)(5). These acts are also RICO predicate acts.

       199. Plaintiff Valentina Sheshtawy has filed an appeal in the Texas 14th Court of

Appeals, Cause No. 14-14-00515-CV related to the residence and the settlement.

       200. At all times relevant hereto there also existed between Defendant Mr. Worley,

Defendant McDonald Worley, P.C., Defendant W. Cameron McCulloch, Defendant

MacIntyre, McCulloch, Stanfield & Young, L.L.P., Defendant Mr. Fuqua, Defendant Fuqua &

Associates, P.C., Defendant Sarah Pacheco, Defendant Kathleen Beduze, Defendant Crain,

Caton & James, P.C., Defendant Hanya Sustache, Defendant Farouk Sheshtawy, and

Defendant Nader Sheshtawy civil and criminal conspiracies in furtherance of their

racketeering schemes as assisted by Defendant Ms. Hightower, Defendant Judge Loyd

Wright and Defendant Associate Judge Stiles, by and through which Plaintiff Valentina

Sheshtawy and the minor child L.S. have suffered substantial damages, as well as, injury to

their property, by these named Defendants through their illegal usurping and unlawful taking

over of the Estate of Decedent Adel Sheshtawy and Plaintiff L.S.’s Guardianship Estate, for


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which Sheshtawy Plaintiffs herein sue. These acts of commission and omission constitute

serious breaches of fiduciary duty, as well as, constitute fiduciary fraud and theft under Texas

law.

         201. After the 28 May 2013 Rule 11 settlement referenced hereinabove was

executed, Plaintiff Valentina Sheshtawy’s lawyer Defendant Mr. Worley entreated her to

execute an application requesting the Probate Court 1 to appoint Defendant W. Cameron

McCulloch, as Guardian of the Estate for the minor child L.S. Plaintiff Valentina Sheshtawy

suspected that was wrong and began to interrogate thoroughly Defendant Mr. Worley. At this

point she had figured out that Defendant Mr. Worley had not and was not being truthful with

her. Plaintiff Valentina Sheshtawy then told Defendant Mr. Worley that she wanted to

withdraw consent from and for the 28 May 2013 Rule 11 Settlement Agreement, because, as

a mother, she felt it was wrong, but Defendant Mr. Worley completely ignored her and her

entreaties inter alios. These acts of commission and omission constitute serious breaches of

fiduciary duty and fiduciary fraud under Texas law. These acts represent in addition to breach

of fiduciary duties and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft.

These acts are also violative of Texas Penal Code § 37.10(a)(5). These acts are also RICO

predicate acts.

         202. Defendant Mr. Worley breached his fiduciary duties of total loyalty, complete

candor, full disclosure and confidence to his client, Plaintiff Valentina Sheshtawy, which has

caused her damages and injury to her property, including but not limited to her loss through


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Defendant Mr. Worley’s advice of and from the relinquishing of her statutory widow’s share of

the Estate of Decedent Adel Sheshtawy, for which she herein sues. These acts of commission

and omission constitute serious breaches of fiduciary duty and fiduciary fraud under Texas

law. These acts represent in addition to breach of fiduciary duties and fiduciary fraud also

theft under the Texas Penal Code § 31.03 Theft. These acts are also violative of Texas Penal

Code § 37.10(a)(5). These acts are also RICO predicate acts.

       203. Plaintiff Valentina Sheshtawy filed a legal malpractice suit against Defendant

Mr. Worley. Defendant Judge Loyd Wright clawed it from the 189th District Court to his own

Court, Probate Court 1 and then dismissed the case. The order to transfer the district cause

2014-5307 to Probate Court 1 was signed on 7 November, 2014.

       204. Defendant W. Cameron McCulloch proceeded in bad faith and with conscious

indifference in his representation of Plaintiff L.S., as her attorney ad litem. These acts of

commission and omission constitute serious breaches of fiduciary duty and fiduciary fraud

under Texas law. These acts represent in addition to breach of fiduciary duties and fiduciary

fraud also theft under the Texas Penal Code § 31.03 Theft. These acts are also violative of

Texas Penal Code § 37.10(a)(5). These acts are also RICO predicate acts.

       205. Defendant W. Cameron McCulloch as attorney ad litem owed his client ward a

legal duty that he would represent Plaintiff L.S. competently at and within the standard of

practice (care) of an ordinarily prudent attorney ad litem practicing in Harris County Texas.

Defendant W. Cameron McCulloch breached aforesaid duty rendering services below the


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aforesaid standard of care negligently and in fact did treat the case for Plaintiff L.S. grossly

negligently in bad faith with conscious indifference. As a direct and proximate result of

Defendant W. McCulloch omissions and commissions aforesaid, Plaintiff L.S. has been

injured and damaged in her property, i.e. her actual and full statutorily defined interest in the

intestate Estate of Adel Sheshtawy.

       206. Defendant Mr. Worley proceeded in bad faith and with conscious indifference

in his representation of Plaintiff Valentina Sheshtawy, as her attorney.

       207. Defendant Mr. Worley as attorney for Plaintiff Valentina Sheshtawy owed his

client a legal duty that he would represent her competently at and within the standard of

practice (care) of an ordinarily prudent attorney practicing in Harris County Texas. Defendant

Mr. Worley breached aforesaid duty rendering services below the aforesaid standard of

practice (care) negligently and in fact did treat the cases for Plaintiff Valentina Sheshtawy

grossly negligently in bad faith with conscious indifference. As a direct and proximate result

of Defendant Mr. Worley’s omissions and commissions aforesaid, Plaintiff Valentina

Sheshtawy has been injured and damaged in her property, i.e. her statutorily defined interest

in the intestate Estate of Adel Sheshtawy.

       208.    Defendant Judge Loyd Wright presided as a Texas judicial officer as Probate

Judge 1 for Harris County Texas. Statutory Probate Courts in the State of Texas have and do

exercise equitable jurisdiction, as Courts of equity.

       209. On 17 July 2013, Defendant W. Cameron McCulloch, who had executed the


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28 May 2013 Rule 11 Settlement Agreement in Probate Case 407,499-401 on the minor child

L.S.’s behalf, sought the approval of that settlement by Probate Court 1. Defendant Judge

Loyd Wright without any hearing approved the 28 May 2013 Rule 11 Settlement Agreement.

Plaintiff Valentina Sheshtawy the minor child L.S.'s natural mother was not given any Notice

about that filing until after Defendant Judge Loyd Wright had signed the Order and as a

practicality was not given chance to even attempt to repudiate the 28 May 2013 Rule 11

Settlement Agreement. These acts of commission and omission constitute serious breaches

of fiduciary duty and fiduciary fraud under Texas law. On the part of Defendant Judge Loyd

Wright they also constitute in addition to official oppression on his part, violation of Plaintiff

Valentina Sheshtawy’s procedural rights under the federal and state constitutions. These acts

represent in addition to breach of fiduciary duties and fiduciary fraud also theft under the

Texas Penal Code § 31.03 Theft. These acts are also violative of Texas Penal Code §

37.10(a)(5). These acts are also RICO predicate acts.

       210. Due process and due course in instances herein described always require a

notice and a hearing.

       211. Decedent Adel Sheshtawy’s intestate Estate according to his own business

records and financial statements was worth some $36,000,000USD at the time of his death.

       212. On 23 January 2015, Defendant W. Cameron McCulloch and Defendant

MacIntyre, McCulloch, Stanfield & Young, L.L.P. filed an Application for Authority for Guardian

to Enter Into Settlement (A.K.A – Distribution) Agreement Regarding the Estate of Adel


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Sheshtawy in Probate Case 425238, where he waived most of Plaintiff L.S.’s actual and total

statutory share of the Estate of her late father Decedent Adel Sheshtawy in the attached

proposed Family Settlement and Distribution Agreement to the detriment of her property

interest in that Estate in exchange for the proceeds of the sale of the house where Plaintiff

L.S. resided and resides with her half-brother and her mother, Plaintiff Valentina Sheshtawy,

valued at somewhere around $500,000USD. Defendant Judge Loyd Wright signed the Order

granting the application on 8 April 2015. Had Defendant W. Cameron McCulloch insisted on

the filing by Defendant Mr. Fuqua and Fuqua & Associates, P.C. of an accurate and complete

Appraisement, Inventory and List of claims for the Estate of Adel Sheshtawy or had Defendant

W. Cameron McCulloch insisted on the filing by Defendant Nader Sheshtawy and Defendant

Hanya Sustache of an accurate and complete Appraisement, Inventory and List of Claims, as

well as, for a statutory accounting for the Estate of Adel Sheshtawy he would have avoided

being grossly negligent in the handling of Plaintiff L.S.’s Guardianship Estate and would have

avoided such serious breaches of his fiduciary duties owed to Plaintiff L.S. These acts of

commission and omission constitute serious breaches of fiduciary duty and fiduciary fraud

under Texas law. These acts represent in addition to breach of fiduciary duties and fiduciary

fraud also theft under the Texas Penal Code § 31.03 Theft. These acts are also violative of

Texas Penal Code § 37.10(a)(5). These acts are also RICO predicate acts.




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        213. Defendant W. Cameron McCulloch and Defendant MacIntyre, McCulloch,

Stanfield & Young P.C. also did not file a complete nor accurate Inventory, Appraisement87

and List of Claims for Plaintiff L.S.’ Guardianship Estate, which acts of commission and

omission constitute serious breaches of fiduciary duty and fiduciary fraud under Texas law.

These acts represent in addition to breach of fiduciary duties and fiduciary fraud also theft

under the Texas Penal Code § 31.03 Theft. These acts are also violative of Texas Penal

Code § 37.10(a)(5). These acts are also RICO predicate acts.

        214. In August 2013, Plaintiff Valentina Sheshtawy consulted with another probate

lawyer, John Elliott, Esquire, who confirmed for her that Defendant Mr. Worley had been


87
   Texas Estate Code §1154.051:
“(a) Not later than the 30th day after the date the guardian of the estate qualifies, unless a longer period is
granted by the court, the guardian shall file with the court clerk a single written instrument that contains a
verified, full, and detailed inventory of all the ward’s property that has come into the guardian’s possession
or of which the guardian has knowledge. The inventory must:
         (1) include:
                   (A) all the ward’s real property located in this state; and
                   (B) all the ward’s personal property regardless of where the property is located; and
         (2) specify:
                   (A) which portion of the property is separate property and which is community property; and
                   (B) if the property is owned in common with other persons, the ward’s interest in that
property.
 (b) The guardian shall:
         (1) set out in the inventory the guardian’s appraisement of the fair market value of each item in the
inventory on the date of the grant of letters of guardianship; or
         (2) if the court has appointed an appraiser for the estate:
                   (A) determine the fair market value of each item in the inventory with the assistance of the
appraiser; and
                   (B) set out in the inventory the appraisement made by the appraiser.
(c) The court for good cause shown may require the guardian to file the inventory and appraisement not later
than the 30th day after the date of qualification of the guardian.
(d) The inventory, when approved by the court and filed with the court clerk, is for all purposes the inventory
and appraisement of the estate referred to in this title.”


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untruthful with Plaintiff Valentina Sheshtawy.

       215. Had Defendant Judge Loyd Wright insisted on the filing by Defendant Mr.

Fuqua and Defendant Fuqua & Associates, P.C. of an accurate and complete Appraisement,

Inventory and List of Claims for the Estate of Adel Sheshtawy or had Defendant W. Cameron

McCulloch and Defendant MacIntyre, McCulloch, Stanfield & Young P.C. insisted on the filing

by Defendant Nader Sheshtawy and Defendant Hanya Sustache of an accurate and complete

Appraisement, Inventory and List of Claims for the Estate of Adel Sheshtawy and an accurate

statutory accounting for that Estate’s administration or had Defendant W. Cameron McCulloch

and Defendant MacIntyre, McCulloch, Stanfield & Young P.C. filed an accurate Inventory and

Appraisement of Plaintiff L.S.’s Guardianship Estate, they would have avoided committing

official oppression. These acts of commission and omission constitute conscious indifference

and gross negligence as a matter of Texas law. These acts represent in addition to breach of

fiduciary duties and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft.

These acts are also violative of Texas Penal Code § 37.10(a)(5). These acts are also RICO

predicate acts.

       216. In September 2013, Defendant W. Cameron McCulloch and Defendant

MacIntyre, McCulloch, Stanfield & Young P.C. filed their application requesting the Court to

appoint Defendant W. Cameron McCulloch as Guardian of the Guardianship Estate for the

minor child Plaintiff L.S. because Plaintiff Valentina Sheshtawy had refused to execute the

application as Defendant Mr. Worley and Defendant McDonald Worley, P.C. had been and


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were requesting. These acts represent in addition to breach of fiduciary duties and fiduciary

fraud also theft under the Texas Penal Code § 31.03 Theft. These acts are also violative of

Texas Penal Code § 37.10(a)(5). These acts are also RICO predicate acts.

        217. At that time Defendant W. Cameron McCulloch and Defendant MacIntyre,

McCulloch, Stanfield & Young, P.C. intended to sign another settlement agreement on the

minor child Plaintiff L.S.’s behalf in Probate Case 407,499-402. This was the case which

involved Defendant Farouk Sheshtawy, the Decedent Adel Sheshtawy’s brother, who at that

time provided Plaintiff Valentina Sheshtawy with a copy of the proposed settlement. If the first

28 May 2013 Rule 11 Settlement Agreement was unfair to the minor child Plaintiff L.S., the

second was even more unfair to the minor child Plaintiff L.S.88 Based on this settlement

Defendant Farouk Sheshtawy was to obtain a stock account worth $1,000,000USD valued

as of the date of filing for the divorce in August 2010. As per TD Ameritrade lawyer, William

Radford, Esquire, of October 2011, the balance of the account was $720,410USD, although

the amount was not disclosed in the agreement. Plaintiff Valentina Sheshtawy had personal

knowledge about the Estate of Decedent Adel Sheshtawy’s assets. As per this settlement,

Defendant Farouk Sheshtawy, who did not own the assets, was to “assign” such assets

belonging to the Estate of Adel Sheshtawy to Defendant Nader Sheshtawy and thus reducing


88Attached hereto marked as Exhibit "19" is a copy of Texas Rule of Civil Procedure 11 Agreement, which
Plaintiff Valentina Sheshtawy does hereby incorporate herein its entireties through this reference for all
purposes.



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the minor child Plaintiff L.S.'s statutory portion of her father, Decedent Adel Sheshtawy's

Estate. Defendant Farouk Sheshtawy could not assign those assets because he was not the

owner of those assets. If during the Sheshtawy divorce, Decedent Adel Sheshtawy had

transferred assets to Defendant Farouk Sheshtawy, these transfers at that time were not

legal, because there were injunctions in place against any such transfers. These acts

represent in addition to breach of fiduciary duties and fiduciary fraud also theft under the

Texas Penal Code § 31.03 Theft. These acts are also violative of Texas Penal Code §

37.10(a)(5). These acts are also RICO predicate acts.

       218. Plaintiff Valentina Sheshtawy retained John Elliott, Esquire to intercede and

protect the minor child Plaintiff L.S.’s interest in the Estate of Adel Sheshtawy and in Plaintiff

L.S.’s own Guardianship Estate.

       219. Defendant W. Cameron McCulloch initially gave John Elliott indications, that

they could meet with Plaintiff Valentina Sheshtawy and discuss what was and would be in the

minor child Plaintiff L.S.’s best interest in regards to the proposed settlement in Probate case

407,499-402, but in the end Defendant W. Cameron McCulloch was acting in concert and

league with Defendant Sarah Pacheco, Defendant Kathleen Beduze, and Defendant Crain,

Caton & James, P.C. for their own unjust enrichment and that of their clients, Defendant Nader

Sheshtawy and Defendant Hanya Sustache. These acts of commission constitute lulling by

Defendant W. Cameron McCulloch.

       220. On 12 November 2013 John Elliott, Esquire entered his appearance in the


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Probate Court 1 cases, representing Plaintiff Valentina Sheshtawy and the minor child Plaintiff

L.S. Neither John Elliott, Esquire nor Plaintiff Valentina Sheshtawy were ever notified about

hearings in Probate Court 1, which constituted further due process and due course violations,

as well as, of official oppression.

           221. Defendant Michael Fuqua and Defendant Fuqua & Associates, P.C. filed an

Application to ratify confidential binding settlement agreement twice on 21 October 2013 and

again on 2 December 2013 in Probate Court 1 case 407,499 and 407,499-402. Defendant

Judge Wright signed a 2 December 2013 Order approving this application,89 again without

any Notice for a hearing to either Plaintiff Valentina Sheshtawy or her counsel. These acts of

commission and omission constitute serious breaches of fiduciary duty, as well as, constitute

fiduciary fraud and theft under Texas law. These acts represent in addition to breach of

fiduciary duties and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft.

These acts are also violative of Texas Penal Code § 37.10(a)(5). These acts are also RICO

predicate acts.

           222. On 2 December 2013 without any Notice for a Hearing Defendant Judge Loyd

Wright signed an Agreed Final Judgment in Probate 1 Case 407,499.90 This is and was a due

process violation because again neither Plaintiff Valentina Sheshtawy nor her counsel, John

Elliot, Esquire were notified about the hearing. This was another act of official oppression.



89   Exhibit “20” which Sheshtawy Plaintiffs do hereby incorporate herein its entireties for all purposes.
90   Exhibit “21” which Sheshtawy Plaintiffs do hereby incorporate herein its entireties for all purposes.

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These acts represent in addition to breach of fiduciary duties and fiduciary fraud also theft

under the Texas Penal Code § 31.03 Theft. These acts are also violative of Texas Penal

Code § 37.10(a)(5). These acts are also RICO predicate acts.

           223. Defendant Judge Loyd Wright appointed Defendant Michael Fuqua and

Defendant Fuqua & Associates, P.C. to represent the unknown heirs and Defendant W.

Cameron McCulloch and Defendant MacIntyre, McCulloch, Stanfield & Young, P.C. to

represent the minor child Plaintiff L.S. as Attorney ad litem for an heirship hearing. Neither

John Elliott nor Plaintiff Valentina Sheshtawy was notified. Plaintiff Valentina Sheshtawy was

not notified through Defendant Mr. Worley and Defendant McDonald Worley, P.C., as well,

about the hearing on 19 December 2013 determining heirship.

           224. On 19 December 2013 Defendant Judge Loyd Wright entered a Judgment

Declaring Heirship. Plaintiff Valentina Sheshtawy received no Notice of that hearing either,

either individually or as the legal guardian of the minor child Plaintiff L.S.91 No Citation was

issued for or to Plaintiff Valentina Sheshtawy, although she was entitled statutorily to Citation.

At that time Defendant W. Cameron McCulloch was not a guardian of the minor child Plaintiff

L.S.

           225. Under Texas law, due process and due course required that Plaintiff Valentina

Sheshtawy should have been sent notices of the hearings and the intended actions that

Defendants intended to take and complete. Plaintiff Valentina Sheshtawy had to be notified


91   Exhibit “22” which Sheshtawy Plaintiffs do hereby incorporate herein its entireties for all purposes.

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as the legal guardian of the minor child Plaintiff L.S. At that time Defendant W. Cameron

McCulloch was not a Guardian of the minor child Plaintiff L.S.'s Guardianship Estate and

therefore the settlement agreement in Probate sub case 407,499-402 is probably invalid and

voidable. There is a due process violation in the heirship proceeding as well. The Citation by

posting for the unknown heirs was issued but the known heirs were not notified. Plaintiff

Valentina Sheshtawy did not receive a Citation individually and/or for the minor child Plaintiff

L.S. These acts represent in addition to breach of fiduciary duties and fiduciary fraud also

theft under the Texas Penal Code § 31.03 Theft. These acts are also violative of Texas Penal

Code § 37.10(a)(5). These acts are also RICO predicate acts.

       226. On 10 January, 2014 John Elliott, Esquire requested the Court to void the

Probate 1 sub case 407,499-402 settlement agreement and to set aside the house as

homestead, as well as, he also filed a lis pendens on Plaintiff Valentina Sheshtawy’s behalf.

John Elliott, Esquire also filed a contest to Defendant W. Cameron McCulloch’s appointment

as Guardian of the Guardianship Estate for the minor child Plaintiff L.S. In following thereafter

Defendant Judge Loyd Wright quickly appointed Defendant W. Cameron McCulloch as

Guardian of the minor child Plaintiff L.S.'s Guardianship Estate. Defendant Michael Fuqua,

who had no interest in these matters, as Temporary Administrator then filed a Motion to Show

Authority and Defendant Judge Loyd Wright signed an Order stating that Plaintiff Valentina

Sheshtawy had and has no authority as a next friend to the minor child Plaintiff L.S. to

participate in the cases. This is an act of official oppression. These acts represent in addition


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to breach of fiduciary duties and fiduciary fraud also theft under the Texas Penal Code § 31.03

Theft. These acts are also violative of Texas Penal Code § 37.10(a)(5). These acts are also

RICO predicate acts.

       227. Defendant Judge Loyd Wright appointed Defendant W. Cameron McCulloch

Guardian of Estate of Plaintiff L.S., a Minor on January 22, 2014. He qualified on January 30,

2014. He paid a low bond $ 13,000.00, bearing in mind that Plaintiff L.S. is entitled to at least

at least a sixth portion of her father’s, Adel Sheshtawy’s Estate, which is worth millions of

dollars.

       228. Defendant Judge Loyd Wright entered a 22 January 2014 Order denying

Plaintiffs Sheshtawy’s Motions for Rehearing, To Void Settlement Agreement and to Set

Aside Order Granting Application for Approval of Rule 11 and Settlement Agreement in Cause

No. 407,499-401. There was also a hearing in which Defendant Judge Loyd Wright was

unwilling to listen to John Elliott’s arguments, as well as, ignored the facts that Defendant W.

Cameron McCulloch and Defendant MacIntyre, McCulloch, Stanfield & Young, L.L.P. was

and is causing harm to Plaintiff L.S.’s property. At that same hearing Defendant W. Cameron

McCulloch announced he had the money to pay the bond. The same day Defendant W.

Cameron McCulloch qualified as Plaintiff L.S.’s Guardian Estate. This is an act of official

oppression. These acts represent in addition to breach of fiduciary duties and fiduciary fraud

also theft under the Texas Penal Code § 31.03 Theft. These acts are also violative of Texas

Penal Code § 37.10(a)(5). These acts are also RICO predicate acts.


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        229. On 20 February 2014, Defendant Mr. Fuqua, the Court appointed Temporary

Administrator of the Estate of Adel Sheshtawy, filed a Rule 12 Motion to show authority

claiming that John Elliott, Esquire had and has no authority to represent or to appear on

Plaintiff L.S.’s behalf.

        230. Defendant Judge Loyd Wright signed the order granting the rule 12 motion to

show authority three times. The order was signed on 24 February 2014 by Defendant Judge

Loyd Wright before the response from John Elliot had been heard. Defendant Judge Loyd

Wright again signed the order, but the order was set aside. Finally, on 3 March, 2014,

Defendant Judge Loyd Wright signed the order a third time.

        231. On 3 March 2014, John Elliott, Esquire filed a non-suit on Plaintiff Valentina

Sheshtawy’s behalf in the base case 407,499. This was necessary because Plaintiff Valentina

Sheshtawy was unable to proceed due to the fact that Defendant Judge Loyd Wright had

granted the Rule 12 motion, Defendant Judge Loyd Wright signed the Order granting Rule 12

motion to show authority on 24 February 2014, before hearing the responses, which John

Elliott, Esquire had filed. John Elliott, Esquire had filed the responses on 27 February 2014.

On 3 March 2014 Defendant Judge Loyd Wright set aside his previous order dated 24

February 2014 and again on 3 March 2014 signed a new order granting the Rule 12 motion

to show authority. These were acts of official oppression. These acts represent in addition to

breach of fiduciary duties and fiduciary fraud also theft under the Texas Penal Code § 31.03




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Theft. These acts are also violative of Texas Penal Code § 37.10(a)(5). These acts are also

RICO predicate acts.

          232. On 19 June 2014, Defendant W. Cameron McCulloch and Defendant

MacIntyre, McCulloch, Stanfield & Young, L.L.P. filed an Application to postpone the

requirement to file an Application for a Monthly Allowance Pending the Funding of the

Guardianship Estate.92 There is a due process violation because Plaintiff Valentina

Sheshtawy, L.S.’s natural biological mother, sole surviving parent and natural guardian again

did not receive any notice. These acts represent in addition to breach of fiduciary duties and

fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft. These acts are also

violative of Texas Penal Code § 37.10(a)(5). These acts are also RICO predicate acts.

          233. Defendant Judge Loyd Wright entered a 1 July 2014 Order granting Application

to Postpone the Requirement to File an Application for a Monthly Allowance Pending the

Funding of the Guardianship Estate. Defendant Judge Loyd Wright also signed and approved

an inaccurate and incomplete 1 July 2014 Inventory, Appraisement, and List of Claims, for

L.S.’s Guardianship Estate. Plaintiff Valentina Sheshtawy was again given no notice before

these actions were taken. At the same time, Defendant W. Cameron McCulloch requested

approval and payment for his attorneys’ fees. This is an act of official oppression. These acts

represent in addition to breach of fiduciary duties and fiduciary fraud also theft under the

Texas Penal Code § 31.03 Theft. These acts are also violative of Texas Penal Code §


92   This is a violation Estate Code § 1156.001.

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37.10(a)(5). These acts are also RICO predicate acts.

          234. When Plaintiff Valentina Sheshtawy discovered what had occurred, she

immediately filed Objections to Payment of Appointee’s Fees and Expenses, Cause No.

425,238 on 24 September 2014. On 25 September 2014, Defendant W. Cameron McCulloch

and Defendant MacIntyre, McCulloch, Stanfield & Young, L.L.P. filed a Nonsuit Without

Prejudice of Application for Payment of Appointee’s Fees and Expenses.

          235. On 6 November 2014, Plaintiff Valentina Sheshtawy filed an Application to Set

Aside Order granting Application to Postpone the Requirement to File an Application for a

Monthly Allowance Pending the Funding of the Guardianship Estate.

          236. On 13 November 2014, Plaintiff Valentina Sheshtawy requested monthly

allowance for Plaintiff L.S. At that time Plaintiff L.S. needed therapy and Plaintiff Valentina

Sheshtawy could not afford the cost. Defendant Judge Loyd Wright has never entered an

Order granting a monthly allowance for Plaintiff L.S., as statutorily required. This is an act of

official oppression and constitutes gross negligence.

          237.     In November and December of 2014, Plaintiff Valentina Sheshtawy requested

Defendant Judge Loyd Wright to remove Defendant W. Cameron McCulloch as Guardian of

Plaintiff L.S.’s Guardianship Estate.93

          238. On 23 January 2015, Defendant W. Cameron McCulloch and Defendant

MacIntyre, McCulloch, Stanfield & Young, L.L.P. filed an Application for Authority of Guardian


93   Please see Order Discharging Representative returned unsigned, 25 February 2015, Cause No. 425,238.

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to enter into settlement (aka – distribution) agreement regarding the Estate of Adel

Sheshtawy. These acts represent in addition to breach of fiduciary duties and fiduciary fraud

also theft under the Texas Penal Code § 31.03 Theft. These acts are also violative of Texas

Penal Code § 37.10(a)(5). These acts are also RICO predicate acts.

       239. Plaintiff Valentina Sheshtawy filed a Complaint against Defendant W. Cameron

McCulloch on 23 February 2015 and a Response to the aforesaid Application for Authority of

Guardian to enter into settlement (aka – distribution) agreement regarding the Estate of Adel

Sheshtawy incorporated with the Complaint on 20 February 2015.

       240. Defendant Judge Loyd Wright entered an 8 April, 2015 Order Authorizing

Guardian to enter into settlement (aka – distribution) agreement regarding the Estate of Adel

Sheshtawy. These acts of commission and omission constitute official oppression, conscious

indifference and gross negligence as a matter of Texas law. These acts represent in addition

to breach of fiduciary duties and fiduciary fraud also theft under the Texas Penal Code § 31.03

Theft. These acts are also violative of Texas Penal Code § 37.10(a)(5). These acts are also

RICO predicate acts.

       241. Plaintiff Valentina Sheshtawy filed a Supplement to Motion to Set Aside Order

Authorizing Guardian to enter into settlement (aka – distribution) agreement regarding the

Estate of Adel Sheshtawy in Cause No. 425,238 on 7 May 2015. The same day, at the same

hearing for case 425,238, Defendant Judge Loyd Wright appointed Defendant Hanya

Sustache and Defendant Nader Sheshtawy as Independent Co-Administrators, in Cause No.


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407,499, despite Plaintiff Valentina Sheshtawy’s protests. Plaintiff Valentina Sheshtawy was

not given notice for their appointment. Plaintiff Valentina Sheshtawy was in court for the

hearing for Plaintiff L.S., in case 425,238. Defendant W. Cameron McCulloch gave his

consent to their appointment and was actively assisting Defendant Hanya Sustache and

Defendant Kathleen Beduze in this process. This is an act of official oppression. These acts

represent in addition to breach of fiduciary duties and fiduciary fraud also theft under the

Texas Penal Code § 31.03 Theft. These acts are also violative of Texas Penal Code §

37.10(a)(5). These acts are also RICO predicate acts.

       242. Once again Plaintiff Valentina Sheshtawy did not receive notice about this

hearing and objected, but Defendant Judge Loyd Wright as usual was unwilling to listen.

       243. Plaintiff Valentina Sheshtawy filed a 27 May 2015 Notice of Appeal, creating

Cause No. 14-15-00494-CV.

       244. The property of both Plaintiff Valentina Sheshtawy and Plaintiff L.S. has

suffered immense damages as a direct and proximate result of the Defendants civil and

criminal conspiracies, as well as, their racketeering schemes, and the serial official

oppression. The acts of Sheshtawy Defendants directly and proximately caused the damages

to Plaintiff Valentina Sheshtawy and Plaintiff L.S.’s property and represent in addition to

breach of fiduciary duties and fiduciary fraud also theft under the Texas Penal Code § 31.03

Theft. These acts are also violative of Texas Penal Code § 37.10(a)(5). These acts are also

RICO predicate acts.


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       245. On 4 June 2015, Defendant Nader Sheshtawy and Defendant Hanya

Sustache, assisted by their counsel, Defendant Sarah Pacheco, Defendant Kathleen Beduze

and Defendant Crain, Caton & James, P.C. filed a Petition for injunctive equitable relief

seeking the Harris County Probate Court 1 temporarily restrain, preliminarily enjoin and

temporarily enjoin Plaintiff Valentina Sheshtawy from seeking financial information

concerning the Estate of Adel Sheshtawy, as well as, of entities that he had owned at the date

of his death, which information Plaintiff Valentina Sheshtawy had sought and was seeking in

order to protect her daughter, Plaintiff L.S.’s property and financial interests, as well as, those

of L.S.’s Guardianship Estate, since Defendant W. Cameron McCulloch and Defendant

MacIntyre, McCulloch, Stanfield & Young were failing to do so. These acts represent in

addition to breach of fiduciary duties and fiduciary fraud also theft under the Texas Penal

Code § 31.03 Theft. These acts are also violative of Texas Penal Code § 37.10(a)(5). These

acts are also RICO predicate acts.

       246. On 4 June 2015 Defendant Judge Loyd Wright granted a temporary restraining

Order against Plaintiff Valentina Sheshtawy on the grounds asserted by the Sheshtawy

Defendants. This act is official oppression. These acts represent in addition to breach of

fiduciary duties and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft.

These acts are also violative of Texas Penal Code § 37.10(a)(5). These acts are also RICO

predicate acts.




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       247. On 19 June 2015 Defendant Judge Loyd Wright granted a preliminary

injunction against Plaintiff Valentina Sheshtawy on the grounds asserted by the Sheshtawy

Defendants. This act is official oppression. These acts represent in addition to breach of

fiduciary duties and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft.

These acts are also violative of Texas Penal Code § 37.10(a)(5). These acts are also RICO

predicate acts.

       248. On 4 March 2016 Defendant Associate Judge Ms. Stiles conducted a hearing

regarding the Permanent Injunction. Neither Defendant Nader Sheshtawy nor Defendant

Hanya Sustache appeared, only Defendant Sarah Pacheco, Defendant Kathleen Beduze and

Defendant W. Cameron McCulloch appeared. Plaintiff Valentina Sheshtawy appeared with

her counsel.

       249. At the 4 March 2016 hearing hereinabove referenced Defendant Sarah

Pacheco testified on behalf of her clients Defendant Nader Sheshtawy and Defendant Hanya

Sustache and the Estate of Adel Sheshtawy, when and where Defendant W. Cameron

McCulloch interrogated Defendant Sarah Pacheco and Defendant Sarah Pacheco

interrogated Defendant W. Cameron McCulloch, rendering that conflict of interest and

collusion total and complete. Defendant Associate Judge Ms. Stiles over the denied

objections of Plaintiff Valentina Sheshtawy’s counsel allowed this proceeding strange,

different and unknown in the annals of Anglo-American jurisprudence and legal procedure to

proceed to conclusion.


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        250. Defendant Associate Judge Ms. Stiles announced that she was recommending

to Defendant Judge Loyd Wright that the Permanent Injunction issue. There is a transcript

of these unique proceedings.94 These acts are official oppression. These acts represent in

addition to breach of fiduciary duties and fiduciary fraud also theft under the Texas Penal

Code § 31.03 Theft. These acts are also violative of Texas Penal Code § 37.10(a)(5). These

acts are also RICO predicate acts.

        251. Defendant Judge Loyd Wright entered a Judgment for Permanent Injunction95

in all four Sheshtawy Probate cases before him. Defendant Judge Wright did not preside at

the 4 March 2016 hearing regarding these injunctions. These acts are official oppression.

These acts represent in addition to breach of fiduciary duties and fiduciary fraud also theft

under the Texas Penal Code § 31.03 Theft. These acts are also violative of Texas Penal

Code § 37.10(a)(5). These acts are also RICO predicate acts.

        252. Ms. Pacheco acting in such manner as attorney and witness in this case on 4

March 2016 is in fact a clear violation of Texas Rule of Professional Conduct 308, lawyer as

witness.96 These acts are official oppression. These acts represent in addition to breach of




94 Please accord attached Transcript as Exhibit “23” which Sheshtawy Plaintiffs do hereby incorporate
herein its entireties for all purposes.
95 Attached hereto Exhibit “24” are copies as cumulative of all four Final Injunctions, which the Sheshtawy

Plaintiffs do hereby incorporate herein their entireties for all purposes.

96“(a) A lawyer shall not accept or continue employment as an advocate before a tribunal in a contemplated
or pending adjudicatory proceeding if the lawyer knows or believes that the lawyer is or may be a witness


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fiduciary duties and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft.

These acts are also violative of Texas Penal Code § 37.10(a)(5). These acts are also RICO

predicate acts.

        253. The fact that Defendant Associate Judge Ms. Stiles did nothing, made no

warning to Defendant Ms. Pacheco and allowed her to proceed in such a manner is a violation

of the Texas Code of Judicial Conduct Canon 3:



        “ … D. Disciplinary Responsibilities... (2) A judge who receives information clearly
        establishing that a lawyer has committed a violation of the Texas Disciplinary Rules of
        Professional Conduct should take appropriate action. A judge having knowledge that
        a lawyer has committed a violation of the Texas Disciplinary Rules of Professional
        Conduct that raises a substantial question as to the lawyer's honesty, trustworthiness
        or fitness as a lawyer in other respects shall inform the Office of the General Counsel
        of the State Bar of Texas or take other appropriate action.”




necessary to establish an essential fact on behalf of the lawyer's client, unless:
       (1) the testimony relates to an uncontested issue;

         (2) the testimony will relate solely to a matter of formality and there is no reason to believe that
substantial evidence will be offered in opposition to the testimony;
         (3) the testimony relates to the nature and value of legal services rendered in the case;
         (4) the lawyer is a party to the action and is appearing pro se; or
         (5) the lawyer has promptly notified opposing counsel that the lawyer expects to testify in the matter
and disqualification of the lawyer would work substantial hardship on the client.
(b) A lawyer shall not continue as an advocate in a pending adjudicatory proceeding if the lawyer believes
that the lawyer will be compelled to furnish testimony that will be substantially adverse to the lawyer's client,
unless the client consents after full disclosure.
(c) Without the client's informed consent, a lawyer may not act as advocate in an adjudicatory proceeding in
which another lawyer in the lawyer's firm is prohibited by paragraphs (a) or (b) from serving as advocate. If
the lawyer to be called as a witness could not also serve as an advocate under this Rule, that lawyer shall
not take an active role before the tribunal in the presentation of the matter.”



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          254. The Sheshtawy Defendants together with Defendant Judge Loyd Wright,

Defendant Associate Judge Ruth Ann Stiles and Defendant Ms. Hightower concocted and

carried out (1) schemes or artifices to defraud the Sheshtawy Plaintiffs over more than a four

year period, (2) actively participated in those schemes, (3) with specific intent on the part of

the named Defendants to defraud the Sheshtawy Plaintiffs, and (4) the Deception of the

Sheshtawy Plaintiffs, involved (5) the use of the United States mails or private or commercial

interstate carriers, as well as, wire and the internet including email and e-filing with the Court

and Clerks involved in furtherance of the schemes or artifices to defraud, as hereinabove and

hereinafter pled.97



                FACTS AS TO DECEDENT RUBY S. PETERSON AND THE PETERSON
                                   PLAINTIFFS

          255. Plaintiffs herein reallege, replead and incorporate herein their entireties through

this reference the allegations in the averments in ¶¶ 1 through 254, as well as, those

hereinafter pled as though herein originally pled.

          256. Decedent Ruby S. Peterson and her untimely death are the subject of much of

this portion of this case, as well as, how the hereinafter delineated Defendants dealt with the

property and the Estate of the Decedent Ruby S. Peterson, as well as, with the Peterson

Family Trust II.



97   18 U.S.C. § 1341.

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        257. Other Issues now before this Court relate to how the Estate of Ruby S.

Peterson was judicially handled by the Executor Defendant David Peterson and the Executrix,

Defendant Carol Ann Manley, as well as, the administration of the Estate of Decedent Ruby

S. Peterson before and in the statutory Probate Court 1 for Harris County, Texas, where

Defendant Judge Loyd Wright and Defendant Associate Judge Ruth Ann Stiles presided and

preside as judicial officers.98 Please accord Clerk Cause No. 427,208 and 427,208-401, In

the Guardianship of Ruby Peterson, In the Probate Court No. 1 of Harris County, Texas,

transferred from Cause No. 2014-40980, Ruby Peterson, et al. vs. Carol Ann Manley, et

al.; in the 129th Texas Judicial District, Cause No. 436,915 and 436,915-401, In re Estate of

Ruby Peterson a/k/a Ruby Peterson a/k/a Ruby Carman Peterson, In Harris County

Probate Court No. 1, which cases and their files the Peterson Plaintiffs hereby incorporate

herein their entireties for all purposes. Issues so raised in these cases are tied to the breaches

of fiduciary duties, commissions of fiduciary fraud and theft by several Defendants named

herein, as will be more particularly set out herein, as well as, official oppression by Defendant

Judge Loyd Wright, Defendant Associate Judge Ruth Ann Stiles and Defendant Ms.

Hightower, where there were civil and criminal conspiracies, as well as, racketeering schemes

furthered by all of these Defendants, where all Defendants utilized the mails, wire and the

internet, in violation of 18 U.S.C. § 1961, et sequitur. These acts represent in addition to


98Plaintiff Valentina Sheshtawy does hereby incorporate herein their entireties Harris County Court files for
cases No. 407499, 407499-401, 407499-402, 407499-403, 407499-404, 407499-405, 407499-406 and
407499-407,

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breach of fiduciary duties and fiduciary fraud also theft under the Texas Penal Code § 31.03

Theft. These acts are also violative of Texas Penal Code § 37.10(a)(5). These acts are also

RICO predicate acts.

        258. Decedent Ruby S. Peterson died testate on 11 January 2015. At the time of

Decedent Ruby S. Peterson’s death, she had five children surviving, to wit Plaintiff Mackey

Peterson, Plaintiff Don Peterson and Plaintiff Lonny Peterson,99 as well as, Defendant David

Peterson and Defendant Carol Ann Manley.100

        259. This case involves inter alia the Peterson Family Trust II, the rights of the

Decedent Ruby S. Peterson before and after her 11 January 2015 death, matters relating to

how the Estate of Ruby S. Peterson was handled by Defendant David Peterson and

Defendant Carol Ann Manley, as well as, the probate of Decedent Ruby S. Peterson's will

before and in the statutory Probate Court 1 for Harris County,101 where Defendant Judge Loyd

Wright and Defendant Associate Judge Ruth Ann Stiles presided and preside as judicial

officers. The judges referenced hereinabove conducted several hearings involving that

Estate, as well as, a related Peterson Family Trust II, as well as, rendered several Orders,

which have been destructive of the assets and property of the Estate and the Peterson


99 The “Peterson Plaintiffs”.
100 The “Peterson Defendants”.
101
    Cause No. 427,208 and 427,208-401, In the Guardianship of Ruby Peterson, In the Probate Court
No. 1 of Harris County, Texas, transferred from Cause No. 2014-40980, Ruby Peterson, et al. vs. Carol
Anne Manley, et al.; in the 129 Texas Judicial District, Cause No. 436,915 and 436,915-401, In re Estate
of Ruby Peterson a/k/a Ruby Peterson a/k/a Ruby Carman Peterson, In Harris County Probate Court
No. 1, which cases and their files the Peterson Plaintiffs hereby incorporate herein their entireties for all
purposes.

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Plaintiffs and one of which directly led to the untimely death of Decedent Ruby S. Peterson.

These acts represent official oppression. These acts represent in addition to breach of

fiduciary duties and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft.

These acts are also violative of Texas Penal Code § 37.10(a)(5). These acts are also RICO

predicate acts.

       260. At all times relevant hereto, Defendant Judge Loyd Wright and Defendant

Associate Judge Ruth Ann Stiles intentionally entered into a civil conspiracy with Defendant

Conservative Club of Houston, and the treasurer of its PAC, Defendant herein J. Cary Gray,

as well as, with Defendant Kimberly Hightower, Defendant Sarah Pacheco, Defendant

Kathleen Beduze, Defendant Crain, Caton & James, P.C., Defendant Jill Young, Defendant

MacIntyre, McCulloch, Stanfield & Young, L.L.P., Defendant Mr. Jones, Defendant Lewis,

Brisbois, Bisgaard & Smith, L.L.P., Defendant Mr. Davis, Defendant Underwood, Scherrer &

Jones, P.L.L.C., Defendant Dr. Merkl, Defendant Dr. Cowan, Defendant Carol Ann Manley,

Defendant David Peterson and Defendant Silverado Senior Living to further the financial and

other interests of Defendant Carol Ann Manley and Defendant David Peterson, as well as, for

the financial and other benefit of Defendant Sarah Pacheco, Defendant Kathleen Beduze,

Defendant Crain, Caton & James, P.C., Defendant Ms. Young, Defendant, MacIntyre,

McCulloch, Stanfield & Young, L.L.P., Defendant Mr. Jones, Defendant Lewis, Brisbois,

Bisgaard & Smith, L.L.P., Defendant Mr. Davis, Defendant Underwood, Scherrer & Jones.

P.L.L.C., Defendant Dr. Merkl, and Defendant Silverado Senior Living, at the expense of and


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to the financial damages of the property of the Peterson Plaintiffs, the property of Decedent

Ruby S. Peterson, the property of the Estate of Ruby S. Peterson and the property of the

Peterson Family Trust II. The fruits of aforesaid civil and criminal conspiracy represented and

resulted each from predicate acts as defined in the Civil RICO statute and thus constituted

racketeering in corrupt organization(s) in violation of 18 U.S.C. § 1961. These acts represent

official oppression. These acts represent in addition to breach of fiduciary duties and fiduciary

fraud also theft under the Texas Penal Code § 31.03 Theft. These acts are also violative of

Texas Penal Code § 37.10(a)(5). These acts are also RICO predicate acts.

       261. Defendant Kimberly Hightower acted as the Court Coordinator at all times

relevant hereto for Probate Court 1. As the Court Coordinator, Defendant Kimberly

Hightower acted as the conduit of communications at diverse times between the Defendant

Judge Loyd Wright, Associate Judge Ruth Ann Stiles and the Defendant attorneys involved,

to wit: Defendant Sarah Pacheco, Defendant Kathleen Beduze, Defendant Crain, Caton &

James, P.C., Defendant Jill Young, Defendant, MacIntyre, McCulloch, Stanfield & Young,

L.L.P., Defendant Mr. Jones, Defendant Lewis, Brisbois, Bisgaard & Smith, L.L.P., Defendant

Mr. Davis, Defendant Underwood, Scherrer & Jones. P.L.L.C., in furtherance of the civil and

criminal conspiracies, as well as, the racketeering schemes, which included utilization of the

mails, wire and the internet for email and e-filing. These acts represent official oppression.

These acts represent in addition to breach of fiduciary duties and fiduciary fraud also theft

under the Texas Penal Code § 31.03 Theft. These acts are also violative of Texas Penal


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Code § 37.10(a)(5). These acts are also RICO predicate acts.

          262. The Executor and Executrix of the Estate of Ruby S. Peterson is and was at all

times relevant hereto as hereinabove stated Defendant Carol Ann Manley and Defendant

David Peterson,102 the Peterson Defendants, who as such were fiduciaries of each of the

Peterson Plaintiffs. The Peterson Defendants defalcated in regard to the Estate of Ruby S.

Peterson often, serially breaching their fiduciary duties, committing serially fiduciary fraud and

theft. These acts represent official oppression. These acts represent in addition to breach of

fiduciary duties and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft.

These acts are also violative of Texas Penal Code § 37.10(a)(5). These acts are also RICO

predicate acts.

          263. The Trustees of the Peterson Family Trust are and were at all times relevant

hereto as hereinabove stated Defendant Carol Ann Manley and Defendant David Peterson,

who as such were fiduciaries of each of the Peterson Plaintiffs. The Peterson Defendants

defalcated in regard to the Peterson Family Trust II often, serially breaching their fiduciary

duties, committing serially fiduciary fraud and theft. These acts represent official oppression.

These acts represent in addition to breach of fiduciary duties and fiduciary fraud also theft

under the Texas Penal Code § 31.03 Theft. These acts are also violative of Texas Penal

Code § 37.10(a)(5). These acts are also RICO predicate acts.                      .

          264. Sometime in 1993, Decedent Ruby S. Peterson gave a Durable (and medical)


102   The “Peterson Defendants”.

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Power of Attorney to Defendant Carol Ann Manley and Defendant David Peterson, making

them Decedent Ruby S. Peterson’s attorney in fact. As a direct and proximate result those

Peterson Defendants also became at that time Decedent Ruby S. Peterson’s fiduciaries, as

a matter of law.

       265. Defendant Sarah Pacheco is a licensed Texas attorney who at all times

relevant hereto represented in that capacity the Estate of Decedent Ruby S. Peterson, The

Peterson Family Trust II, as well as, the Executor and Executrix under the will of the Decedent

Ruby S. Peterson and also the Trustees of the Peterson Family Trust II, Defendant Carol Ann

Manley and Defendant David Peterson in the proceedings before and in Probate Court 1 for

Harris County Texas. Defendant Sarah Pacheco is a partner in the law firm, Defendant Crain,

Caton, & James, P.C.

       266. Defendant Kathleen Beduze is a licensed Texas attorney, who at all times

relevant hereto represented in that capacity the Estate of Decedent Ruby S. Peterson, The

Peterson Family Trust II, as well as, the Executor and Executrix under the will of Ruby S.

Peterson and the Trustees of the Peterson Family Trust II, Defendant Carol Ann Manley

and Defendant David Peterson (Trustees holding Durable and Medical Powers of Attorney

from 1993-November 15, 2013) in the proceedings before and in Probate 1 for Harris County

Texas. Ms. Beduze is an associate in the law firm, Defendant Crain, Caton, & James, P.C.

       267. Defendant Judge Loyd Wright as a judicial officer appointed on 27 March 2014

Defendant Ms. Young, a Texas licensed attorney and a partner in the law firm, Defendant


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MacIntyre, McCulloch, Stanfield & Young, L.L.P., as Guardian ad litem of the now deceased

but then alive Ruby S. Peterson in a guardianship case before him, at a time when he had

not entered any Order finding the then living Ruby S. Peterson to be either incapacitated or

incompetent, as required by the Texas Estate Code. This act represents official oppression.

This act represents in addition to breach of fiduciary duties and fiduciary fraud also theft under

the Texas Penal Code § 31.03 Theft. This act is also violative of Texas Penal Code §

37.10(a)(5). This act is also a RICO predicate acts.

          268. Defendant Judge Loyd Wright as a judicial officer appointed Defendant Mr.

Jones, on February 25, 2014, a licensed Texas lawyer and also a partner in the law firm,

Defendant Underwood, Jones, and Scherrer, P.L.L.C., as attorney ad litem for Ruby S.

Peterson in the guardianship action for Decedent Ruby S. Peterson,103 filed while she was still

living.

          269. On 15 November 2013 Decedent Ruby S. Peterson revoked the 1993 Medical

and Durable Powers of Attorney held by the Peterson Defendants and appointed Plaintiff Don

Peterson and Plaintiff Mackey Peterson as her new attorneys in fact under a new Durable

Power of Attorney.

          270. The Decedent Ruby S. Peterson maintained an Individual Retirement



103 Cause No. 427,208 and 427,208-401, In the Guardianship of Ruby Peterson, Probate Court No. 1 of
Harris County, transferred from Cause No. 2014-40980, Ruby Peterson, et al. vs. Carol Anne Manley, et al.,
In the 129 Judicial District Court of Harris County.


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Account104 and investment account105 with Defendant LPL, since her husband, Decedent Troy

Peterson’s 24 June 1994 death. Decedent Ruby S. Peterson’s Estate consisted of one-half

of the marital estate and other monies received via inheritance from a deceased aunt.

Decedent Ruby S. Peterson’s IRA Account was subject to mandatory disbursements since

she turned seventy-nine and one half (79.5) years of age. The Peterson Plaintiffs are aware

of an estimated $90,000USD per year that was withdrawn from Decedent Ruby Peterson’s

IRA for deposit into Decedent Ruby S. Peterson’s investment account, as of age 79.5. After

taxes, the Peterson Plaintiffs believe approximately $60,000USD remained for investment by

and with Defendant Mr. Hopper and Defendant LPL. Defendant Mr. Hopper was an officer in

and with Defendant LPL, both responsible as Decedent Ruby S. Peterson’s fiduciaries for her

accounts. Decedent Ruby S. Peterson was Defendant Mr. Hopper’s client. Neither Defendant

Carol Ann Manley nor Defendant David Peterson were Defendant Mr. Hopper’s clients after 15

November 2013.

           271. After then living Decedent Ruby S. Peterson executed a transfer on death

document, which prohibited the release of Decedent Ruby S. Peterson’s IRA account funds

to anyone but Decedent Ruby S. Peterson, Defendant Mr. Hopper intentionally and knowingly

violated Decedent Ruby S. Peterson’s specific instructions, prohibiting him from releasing

funds without her personal approval.



104   “IRA”.
105   Transfer Upon Death, also known as, “T.O.D.” to her five children.

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       272. Defendant Mr. Hopper nonetheless made transfers anyway at the behest of the

Peterson Defendants, each transfer of which constituted breaches of Defendant LPL and

Defendant Mr. Hopper’s fiduciary duties to Decedent Ruby S. Peterson, as well as, fiduciary

fraud and theft under Texas law.

       273.   Defendant Mr. Hopper received multiple inquiries from the Peterson Plaintiffs,

questioning unexplained and highly suspicious withdrawals of money from both of Decedent

Ruby S. Peterson’s LPL financial accounts, when neither Defendant Ms. Manley nor

Defendant David Peterson had any real legal authority to act on Decedent Ruby S. Peterson’s

behalf nor withdraw funds from then living Decedent Ruby S. Peterson’s accounts. The

withdrawals represented serious breaches of fiduciary duties, theft and fiduciary fraud. They

also constituted wire fraud, inasmuch as Defendant LPL is a foreign banking entity. The

withdrawals were RICO predicate acts. There were several withdrawals so each withdrawal

constituted several predicate acts (more than two).

       274. Plaintiff Don Peterson and Plaintiff Mackey Peterson advised Defendant Mr.

Hopper of the revocation of the 1993 Durable and Medical Powers of Attorney, as well as, of

the execution of a new Durable Power of Attorney appointing them attorneys in fact in

November of 2013 – January 2014 in writing and by phone. Defendant Mr. Hopper responded,

confirming that Defendant LPL’s lawyers had reviewed all the herein referenced instruments

and that Defendant LPL had then decided to limit their dealings with Defendant Ms. Pacheco

and Defendant Ms. Beduze, of Defendant Crain, Caton & James, P.C., who by this point in


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time were representing both of the Peterson Defendants.

       275. Rather than adhering to their fiduciary duties to Decedent Ruby S. Peterson and her

other beneficiaries, Defendant Mr. Hopper and Defendant LPL relied upon Defendant Dr.

Merkl’s unverified 4 October 2013 letter, which letter merely suggested that then living

Decedent Ruby S. Peterson was incapacitated and was incapable of executing the 2013

Durable Power of Attorney to Plaintiff Mackey Peterson and Plaintiff Don Peterson.

       276. With Defendant LPL’s admission that they chose to honor the 1993 revoked

powers of attorney and to ignore then living Decedent Ruby S. Peterson’s express revocation

of the referenced Power of Attorney, Defendant LPL and Defendant Mr. Hopper thus

effectively nullified the only “legitimate” Durable Power of Attorney in violation of Texas law.

       277. This allowed the Peterson Defendants essentially to liquidate Decedent Ruby

S. Peterson’s accounts at rates that should have alarmed Defendant Mr. Hopper and

Defendant LPL to take action and to freeze the funds pending an investigation. This was

never done, leaving Defendant David Peterson free to exploit and misappropriate and

embezzle what appears to be more than $450,000USD from Ruby S. Peterson’s Estate

and/or the Peterson Trust II, in collusion with Defendant Sarah Pacheco, Defendant Kathleen

Beduze and Defendant Crain, Caton & James, P.C., which constituted breaches of fiduciary

duties, as well as, fiduciary fraud and theft, in furtherance of the Defendants’ civil and criminal

conspiracies to advance their racketeering schemes.




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          278. On or about 24 June 1993, then living Decedent Ruby S. Peterson executed a

Durable and Medical Power of Attorney, and with her husband, then living Decedent Troy

Peterson, created the Peterson Family Trust II under the Last Will and Testament of Troy

Peterson. Defendant, Carol Ann Manley and Defendant David Peterson were designated as

Trustees of this testamentary trust, admitted to probate on 19 July 1994, in Cause No.

268325; Estate of Troy Peterson; In Harris County Probate Court No. 1. The Trust made then

living Decedent Ruby Peterson the lifetime beneficiary to receive distributions of all income

of the trust, and so much of the principal as necessary to sustain her “health, education,

support and maintenance” in accordance with “the standard of living” that then living Decedent

Ruby Peterson enjoyed at the time of Decedent Troy Peterson’s death, with the remainder of

all trust assets to be distributed on the date of Decedent Ruby Peterson’s death, 11 January

2015.

          279.     Defendants have refused to distribute as mandated by the Trust instrument.

These acts represent in addition to breach of fiduciary duties and fiduciary fraud also theft

under the Texas Penal Code § 31.03 Theft. These acts are also RICO predicate acts.

          280.     From December of 2013 through 5 March 2016, The Peterson Plaintiffs have

on several occasions demanded that the Peterson Defendants furnish them with a complete

and thorough accounting of both the Estate of Ruby S. Peterson and the Peterson Family

Trust II, as mandated the Trust and Texas Law,106 but the Peterson Defendants have failed


106   Tex. Prop. Code. § 113.151, Tex. Trust Code § 111.004 et seq.

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to do so to date. These acts represent in addition to breach of fiduciary duties and fiduciary

fraud also theft under the Texas Penal Code § 31.03 Theft. These acts are also RICO

predicate acts.

        281. The Peterson Plaintiffs estimate the Peterson Defendants’ fiduciary

defalcations amount to at least some $450,000USD from Decedent Ruby S. Peterson’s estate

and $700,000.00USD or more from the Peterson Family Trust II.107 On 27 September 2013,

the Peterson Defendants transferred $15,000USD from Decedent Ruby S. Peterson’s Amegy

account *1646 into their own joint Amegy account *6136. On 11 October 2013, Defendant

David Peterson wrote check number 1987 to himself in the amount of $10,000USD from

Decedent Ruby S. Peterson’s Amegy account *1646 and deposited it into the Peterson

Defendants’ joint Amegy account *6136. On 8 November 2016, the Peterson Defendants

transferred $5,000USD from Decedent Ruby S. Peterson’s Amegy account *1646 into their

own joint Amegy account *6136. On 14 November 2013, the Peterson Defendants transferred

an additional $20,000USD from Decedent Ruby S. Peterson’s Amegy account *1646 into their

own joint Amegy account *6136. On 20 December 2013, the Peterson Defendants transferred

$20,000USD from Decedent Ruby S. Peterson’s Amegy account *1646 into their own joint

Amegy account *6136. On 3 February 2014, the Peterson Defendants transferred



107The amounts so indicated are calculations Peterson Plaintiffs made from the insufficient accounting
documents provided by the Peterson Defendants to date, most of which were provided to the Peterson
Plaintiffs in August of 2015 when the Peterson Plaintiffs were permitted to inspect and copy records,
consisting primarily of records from Amegy Bank.

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$27,000USD from Decedent Ruby S. Peterson’s Amegy account *1646 into their own joint

Amegy account *6136. On 2 April 2014, the Peterson Defendants transferred $22,000USD

from Decedent Ruby S. Peterson’s Amegy account *1646 into their own joint Amegy account

*6136. On 19 May 2014, the Peterson Defendants transferred $25,000USD from Decedent

Ruby S. Peterson’s Amegy account *1646 into their own joint Amegy account *6136. On 13

August 2014, the Peterson Defendants transferred $70,000USD from Decedent Ruby S.

Peterson’s Amegy account *1646 into their own joint Amegy account *6136. On the day of

Decedent Ruby S. Peterson’s funeral, Defendant David Peterson delivered a hand-written

accounting of Decedent Ruby S. Peterson’s IRA account, investment accounts, bank

accounts, and the Peterson Family Trust II to the Peterson Plaintiffs. The Peterson Plaintiffs

reviewed the accounting and contacted Defendant Mr. Hopper about its accuracy, at which

time Defendant Mr. Hopper informed the Peterson Plaintiffs that the amounts were deficient

by at least $50,000USD. This was in fact true, because the Peterson Defendants transferred

$8,000USD from Decedent Ruby S. Peterson’s Amegy account *1646 into their own joint

Amegy account *6136 on 13 January 2015, and then an additional $50,000USD between the

same accounts on 20 January 2015. On 22 January 2015, the Peterson Defendants returned

the $50,000USD to Decedent Ruby S. Peterson’s account ending in *1646 at the advice of

Defendant Mr. Hopper, but did not return the $8,000USD they transferred on 13 January

2015. In addition to withdrawing money from Decedent Ruby S. Peterson’s estate, the

Peterson Defendants paid $50,000USD on 25 February 2015 to Def endant Crain, Caton &


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James, P.C., out of the Peterson Family Trust II. There was no court Order or approval for

the Peterson Defendants to make any payment out of the Peterson Family Trust II to Crain,

Caton & James, P.C., or others. These fiduciary defalcations took place under the unwatchful

eye of the Defendant LPL and Defendant Mr. Hopper, aided and abetted by Defendant Sarah

Pacheco, Defendant Kathleen Beduze, Defendant Crain, Caton & James, P.C., as well as,

Defendant Judge Loyd Wright, Defendant Associate Judge Ruth Ann Stiles and Defendant

Ms. Hightower, as will be more definitively herein below delineated.      These acts represent

official oppression. These acts represent in addition to breach of fiduciary duties and fiduciary

fraud also theft under the Texas Penal Code § 31.03 Theft. These acts are also violative of

Texas Penal Code § 37.10(a)(5). These acts are also RICO predicate acts.

       282. In April of 2015, the Peterson Defendants sold Decedent Ruby S. Peterson’s

house at 4235 Applerock Drive, Baytown, Texas 77521. The Peterson Defendants deposited

the proceeds of this sale into their own account, which constitutes blatant commingling and

is a serious breach of their fiduciary duties. The Peterson Defendants also sold Decedent

Ruby S. Peterson’s Toyota Camry automobile and kept the proceeds of the sale. The

Peterson Defendants’ unjust enrichment and money had and received for the real estate sale

proceeds is and was in addition to fiduciary fraud also theft under the Texas Penal Code §

31.03 Theft. These acts are also RICO predicate acts.

       283. No one ever sought permission or approval from Probate Court 1 as was and

is statutorily required for the Peterson Defendants to sell the real estate referenced nor the


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Toyota Camry automobile. This sale was never reported to Probate Court 1 in any way, as

was and is statutorily required. There was no report to Probate Court 1 as to who sold the

property, for how much and to whom the proceeds were paid, as was and is statutorily

required. These acts represent in addition to fiduciary fraud also theft under the Texas Penal

Code § 31.03 Theft. These acts are also RICO predicate acts.

          284. Decedent Ruby S. Peterson revoked the Medical Power of Attorney on 15

November 2013, depriving Defendant David Peterson and Defendant Carol Ann Manley of

any legal authority to make any further medical decisions for Decedent Ruby S. Peterson, as

a matter of law.

          285. Defendant Silverado Senior Living, Inc., is a locked memory care facility,

leased, owned or operated as a place of public and/or private accommodation.

          286. A Medical Power of Attorney does not authorize the attorney in fact to falsely

arrest and imprison, as well as, pharmaceutically chemically assault the principal, rendering

the entire issue of whether or not Defendant David Peterson and Defendant Carol Ann Manley

had any authority to act in making medical decisions of Decedent Ruby S. Peterson after 15

November 2013, a “red herring” in the Guardianship case before Defendant Judge Wright.

Texas Health and Safety Code § 166.155 authorizes principals to revoke Medical Powers of

Attorney at any time, whether they are competent, have capacity or not.108



108   Texas Health and Safety Code § 166.152, 166.155.


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        287.     Texas Law prohibits the commitment of any individual to a psychiatric

institution109 without a Court Order. Texas Law clearly states the circumstances under which

a Court may restrict a person’s liberty for “mental health” reasons.

        288. Defendant David Peterson and Defendant Carol Ann Manley did not wait for

the Peterson Plaintiffs' and their mother to become incapacitated, but seized upon the

opportunity to involuntarily commit her into a “memory care facility,” such as Defendant

Silverado’s facility in Sugar Land, where Decedent Ruby S. Peterson was chemically

assaulted and falsely imprisoned. These acts represent in addition to breach of fiduciary

duties and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft. These acts

are also RICO predicate acts.

        289. Turning aside for a moment from the issues of the torts of false arrest and

imprisonment through their actions, even where Courts order a mental health commitment,

the United States and Texas Constitutions require that an individual not be deprived of more

liberty or freedom than is absolutely necessary for that ward's protection. Strict procedures are

in place which guarantee that such a ward be provided the Least Restrictive Alternative.110


109Texas Health and Safety Code § 574.001, et sequitur.
110Texas Health and Safety Code § 571.001 provides "LEAST RESTRICTIVE APPROPRIATE SETTING.
The least restrictive appropriate setting for the treatment of a patient is the treatment setting that:
                  1.      is available;
                  2.      provides the patient with the greatest probability of improvement or cure;
                  3.      is no more restrictive of the patient's physical or social liberties than is necessary
to provide the patient with the most effective treatment and to protect adequately against any danger the
patient poses to himself or others."



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       290. The Peterson Plaintiffs asserted claims on their own behalf in the referenced

Texas 129th District Court case. The Peterson Plaintiffs also asserted claims on behalf of the

then living Decedent Ruby S. Peterson, pursuant to their 2013 Durable Power of Attorney,

and regarding the then living Decedent Ruby S. Peterson's false arrest, false imprisonment,

and illegal administration of dangerous psychotropic drugs. Furthermore, the Peterson

Plaintiffs asserted claims regarding Defendant Mr. Jones, Defendant Ms. Young, Defendant

Underwood, Jones, and Scherrer, P.L.L.C., Defendant MacIntyre, McCulloch, Stanfield and

Young, L.L.P., Defendant Mr. Davis, Defendant Dr. Merkl, and Defendant Silverado's

committed breaches of trust and fiduciary duties owed to then living Decedent Ruby S.

Peterson. The Peterson Plaintiffs also asserted claims regarding the aforementioned

Defendants regarding violations of the then living Decent Ruby S. Peterson's civil rights.

These acts represent in addition to breach of fiduciary duties and fiduciary fraud also theft

under the Texas Penal Code § 31.03 Theft and Elder Abuse and Exploitation under Texas

Penal Code § 22.04. These acts are also RICO predicate acts.

       291. The Peterson Plaintiffs also complained about Defendant Mr. Jones, Defendant

Ms. Young, Defendant Underwood, Jones, and Scherrer, P.L.L.C., Defendant MacIntyre,

McCulloch, Stanfield and Young, L.L.P., as well as, Defendant Mr. Davis, Defendant Dr.

Merkl, and Defendant Silverado's wrongful exercise of dominion and control over then living




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Decedent Ruby S. Peterson, misuse of funds, negligence/gross negligence, and purloining of

then living Decedent Ruby S. Peterson’s IRA, investment account funds, and the Peterson

Family Trust II.

         292. Defendant Judge Loyd Wright and Defendant Associate Judge Ruth Ann Stiles

were informed that Defendant Carol Ann Manley, Defendant David Peterson, Defendant Sarah

Pacheco, Defendant Kathleen Beduze, Defendant Crain Caton & James, P.C., Defendant Silverado,

Defendant Mr. Jones, Defendant Ms. Young, Defendant Underwood, Jones, and Scherrer,

P.L.L.C., as well as, Defendant MacIntyre, McCulloch, Stanfield and Young, L.L.P., misallocated

and misapplied funds belonging to then living Decedent Ruby S. Peterson, constituting breaches of trust

and fiduciary duties owed to then living Decedent Ruby S. Peterson.

         293. On 12 August 2014 Defendants Carol Ann Manley and Defendant David

Peterson testified to facts which revealed that they had engaged in self-dealing, which should

have justified their immediate removal as Executors and Trustees in order to preserve

Decedent Ruby Peterson's estate and the Peterson Family Trust II. The Peterson Plaintiffs

filed their Third Amended Motion for Temporary Injunction,111 therein seeking injunctive relief

and asserting that the Court remove the Peterson Defendants as Executors and Trustees of

the estate and Peterson Trust II. However, Defendant Judge Loyd Wright refused to consider




111
   Exhibit “25.” A true and correct copy of Defendant Mr. Davis’ letter dated 25 July 2014 is hereto attached which Plaintiffs
Petersons hereby incorporate herein its entireties by reference for all purposes.


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Plaintiffs’ Third Amended Motion for Temporary Injunction, with respect to Decedent Ruby S.

Peterson’s estate.

       294. Defendant Sarah Pacheco, Defendant Kathleen Beduze, and Defendant Crain

Caton & James, P.C., cited a lack of notice in the Peterson Plaintiffs’ filing of said amended

pleading five days before the parties resumed the injunction proceedings, which caused the

Court to reconvene the hearing on injunctive relief from 30 July 2014 to 11 August 2014. Even

after hearing sufficient evidence that gave him a duty to act for the protection of the estate,

Defendant Judge Loyd Wright refused to take appropriate action which left Defendant Carol

Ann Manley and Defendant David Peterson free to engage in malfeasance. These acts

represent official oppression. These acts represent in addition to breach of fiduciary duties

and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft. These acts are also

violative of Texas Penal Code § 22.04 regarding exploitation. These acts are also RICO

predicate acts.

       295. Then living Decedent Ruby S. Peterson's false arrest, imprisonment, and

chemical assaults began in August 2013, when Defendant David Peterson and Defendant

Carol Ann Manley learned of then living Decedent Ruby S. Peterson's intent to disinherit

Defendant Carol Ann Manley and of a substantial donation then living Decedent Ruby S.

Peterson made to a church. With their attorneys, Defendant Sarah Pacheco, Defendant

Kathleen Beduze, and Defendant Crain, Caton & James, P.C., in league with Defendant Silverado,

Defendant David Peterson and Defendant Carol Ann Manley prohibited Decedent Ruby S.


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Peterson from leaving Defendant Silverado’s Sugar Land facility except for two brief outings

with the Peterson Plaintiffs.

       296. These acts represent breach of fiduciary duties, fiduciary fraud, and theft under

the Texas Penal Code § 31.03 Theft, as well as elder abuse, neglect and exploitation under

Texas Penal Code § 22.04. These acts are also RICO predicate acts.

       297. Defendant Carol Ann Manley, Defendant David Peterson, Defendant Sarah

Pacheco, Defendant Kathleen Beduze, Defendant Crain, Caton & James, P.C., and

Defendant Silverado admitted that then living Decedent Ruby Peterson pled and cried to

leave Defendant Silverado’s facility many times for the purpose of attending church, spending

time with the Peterson Plaintiffs, shopping, and travel to Wimberley, Texas, to stay with

Plaintiff Mackey Peterson. The Peterson Plaintiffs’ visits with then living Decedent Ruby

Peterson were arbitrarily limited to two supervised hours without the ability to visit as a group

together, and their calls were blocked or conspicuously made incapable of occurring. The

Peterson Plaintiffs’ repeated requests for excursions were denied by Defendant Carol Ann

Manley, Defendant David Peterson, Defendant Sarah Pacheco, Defendant Kathleen Beduze,

and Defendant Crain, Caton & James, P.C. except for two negotiated, brief trips.

       298. Defendant Silverado asserts that at all times they relied on a Power of Attorney

that Decedent Ruby S. Peterson signed in 1993 appointing Defendant Carol Ann Manley and

Defendant David Troy Peterson as her attorney in fact to manage her finances and make

medical decisions for her if she became incapacitated, however, at all times relevant hereto


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Defendant Silverado was well aware that Decedent Ruby S. Peterson had revoked this Power

of Attorney on 15 November 2013. These acts represent in addition to breach of fiduciary

duties and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft. These acts

are also RICO predicate acts.

       299. At no time during her lifetime had any Court judicially determined that Decedent

Ruby S. Peterson lacked legal capacity to either revoke the Powers of Attorney hereinbefore

referenced, to enter into a new Power of Attorney, to contract on her own behalf, and to write

a will or trust explicitly before or on 15 November 2013.

       300. When Defendant Silverado’s Sugar Land facility’s staff became aware on 15

November 2015 that Decedent Ruby S. Peterson revoked the 1993 Power of Attorney and

executed a new Durable Power of Attorney before a Notary Public and witness, Ms. Donna

Ochoa, they abruptly terminated her visit with two of her sons, Plaintiff Don Peterson and

Plaintiff Mackey Peterson, and ordered them to leave the premises. Defendant Silverado’s

staff escorted them out of the premises. These acts represent in addition to breach of fiduciary

duties and fiduciary fraud also theft under the Texas Penal Code § 31.03 Theft and

exploitation of the elderly in violation of Texas Penal Code § 22.04. These acts are also RICO

predicate acts.

       301. Following the ejection from the Defendant Silverado’s Sugar Land facility,

Plaintiff Don Peterson went and recorded the revocation of the 1993 Power of Attorney and

the new Power of Attorney in Harris County, Texas


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       302.   The Peterson Plaintiffs asserted to Defendant Judge Loyd Wright in their 25 July

2014 Second Amended Petition, as well as, in their Sworn Emergency Application for

Temporary Restraining Order and Temporary Injunction of his duty to commit or release then

living Decedent Ruby S. Peterson under Texas Health and Safety Code § 574.001, the Texas

and United States Constitutions. The Peterson Plaintiffs reminded Defendant Judge Loyd

Wright that the Texas and United States Constitutions require adherence to the foregoing

commitment procedure absent an order of Guardianship, which never occurred prior to

Decedent Ruby S. Peterson’s 11 January 2015 death. Defendant Judge Loyd Wright allowed

then living Decedent Ruby S. Peterson to remain falsely imprisoned without entering even a

temporary order of Guardianship, violating Texas law.

       303. These are acts of official oppression on the part of Defendant Judge Loyd Wright.

These acts represent in addition to breach of fiduciary duties and fiduciary fraud also theft

under the Texas Penal Code § 31.03 Theft and Exploitation, prohibited by Texas Penal Code

§ 22.04-22.10. These acts are also RICO predicate acts. These acts were consummated in

furtherance of the Peterson Defendants, as well as, Defendant Judge Loyd Wright and

Defendant Associate Judge Ruth Ann Stiles’ civil and criminal conspiracies, as well as, their

racketeering schemes.

       304. Following his recordation of then living Decedent Ruby S. Peterson’s

revocation of 1993 Powers of Attorney and Durable Power of Attorney executed on 15

November 2013, Plaintiff Don Peterson returned to Defendant Silverado’s Sugar Land facility


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later that day to retrieve his mother, then living Decedent Ruby S. Peterson, with the executed

and recorded Power of Attorney and asked for her release. Defendant Silverado refused to let

her leave and called the Sugarland Police Department to issue a criminal trespass warning

against Plaintiff Don Peterson for doing nothing more than bringing a Power of Attorney on

the premises. When Plaintiff Don Peterson inquired of the Sugar Land Police when he would

be allowed to see his mother again, one of the officers told him, “When she is dead.” These

acts are also RICO predicate acts. These acts were consummated in furtherance of the

Peterson Defendants’ civil and criminal conspiracies, as well as, their racketeering schemes.

       305. Defendant Silverado’s actions were retaliatory in violation of Decedent Ruby S.

Peterson's and the Peterson Plaintiffs’ civil and property rights.

       306. Immediately after this incident for six weeks, Defendant Silverado Senior Living

unlawfully and illegally banned Plaintiff Don Peterson, his wife Carol Peterson, Plaintiff

Mackey Peterson, his wife Tonya Peterson, and Plaintiff Lonny Peterson from visiting then

living Decedent Ruby S. Peterson. These acts are also RICO predicate acts. These acts were

consummated in furtherance of the Peterson Defendants’ civil and criminal conspiracies, as

well as, their racketeering schemes.

       307. Under Defendant Silverado’s duress and coercion Plaintiffs Peterson executed

an instrument stating that in order to see their mother they agreed not to assert their rights

under the Power of Attorney that Decedent Ruby S. Peterson had legally executed before a

Notary Public on 15 November 2013, while the merits of a related guardianship matter were


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pending for trial before and in the Harris County Probate Court 1. These acts are also RICO

predicate acts. These acts were consummated in furtherance of the Peterson Defendants’

civil and criminal conspiracies, as well as, their racketeering schemes.

        308. Attorney Candice Schwager, as the Peterson Plaintiffs' legal counsel in these

and related matters, advocated for Decedent Ruby S. Peterson and her federally protected

civil rights to complain about her involuntary confinement and mistreatment at Defendant

Silverado’s Sugar Land facility by publishing three videos of Decedent Ruby S. Peterson

speaking about her grievances against Defendant Silverado Senior Living and other related

matters on the Internet. On or about 25 July 2014, Defendant Mr. Davis, an attorney with

Defendant Lewis, Brisbois, Bisgaard & Smith, L.L.P., then representing Defendant Silverado,

directed a letter to the Peterson Plaintiff’s counsel concerning access and visitation

"Privileges" at Defendant Silverado’s Sugar Land facility. The letter stated that visitation

privileges for the Plaintiffs Peterson had been revoked.112 These acts are also RICO predicate

acts. These acts were consummated in furtherance of the Peterson Defendants’ civil and

criminal conspiracies, as well as, their racketeering schemes.

        309. On 25 July 2014, Defendant Mr. Davis directed another letter to Attorney

Candice Schwager, intending it to serve as a Texas Rule of Civil Procedure 11 Agreement

between Candice Schwager, individually, Plaintiff Mackey Peterson, Plaintiff Don Peterson,



112Exhibit “25”. A true and correct copy of Defendant Mr. Davis' letter dated 25 July 2014 is hereto attached
which Plaintiffs hereby incorporate herein its entireties by reference for all purposes.

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and Plaintiff Lonny Peterson together with Defendant Silverado. The letter stated that it was

“intended to restore visitation privileges” for the Peterson Plaintiffs and their spouses, which

the letter stated incorrectly was revoked because of the posting of exploitive and invasive

materials, which also allegedly violated the privacy rights inexplicably of other Defendant

Silverado residents. These acts are also RICO predicate acts. These acts were consummated

in furtherance of the Peterson Defendants’ civil and criminal conspiracies, as well as, their

racketeering schemes.

       310. On the morning of 27 July 2014, Plaintiff Lonny Peterson went to visit then living

Decedent Ruby S. Peterson at Defendant Silverado’s Sugar Land facility. At that time Plaintiff

Lonny Peterson was not aware of the heretofore referenced 25 July 2014 letter or that

Defendant Silverado had revoked his access to the facility. A short time after Plaintiff Lonny

Peterson and then living Decedent Ruby S. Peterson had begun visiting with one another at

Defendant Silverado’s Sugar Land facility, Defendant Silverado demanded that Plaintiff Lonny

Peterson vacate the premises under threat of immediate arrest. Defendant Silverado's action

denying him access and interfering with his visit with his mother, Decedent Ruby S. Peterson,

was arbitrary, capricious, unreasonable and retaliatory. These acts are also RICO predicate

acts. These acts were consummated in furtherance of the Peterson Defendants’ civil and

criminal conspiracies, as well as, their racketeering schemes.

       311. Later on 27 July 2014, Plaintiff Don Peterson and Phillip Ross, Esquire, a

licensed Texas attorney, went to Defendant Silverado’s Sugar Land facility to visit then living


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Decedent Ruby S. Peterson. At that time Phillip Ross, Esquire, later a lawyer in cases

concerning Decedent Ruby S. Peterson, whom the Peterson Plaintiffs lawfully retained,

requested in his capacity as an attorney representing then living Decedent Ruby S.

Peterson an audience with then living Decedent Ruby S. Peterson. Defendant Silverado

officials denied Attorney Phillip Ross an attorney meeting, which Defendant Silverado officials

told him fallaciously that then living Decedent Ruby S. Peterson was prohibited and forbidden

from having any visitors, when there was no extant Order of any Court of competent

jurisdiction to that effect. When Attorney Phillip Ross asked of the Defendant Silverado

officials to please speak to a supervisor, Defendant Silverado's Administrator, Ms. Tana

McMillon, told Attorney Phillip Ross that he could not speak with then living Decedent Ruby

S. Peterson, that he was to leave the Silverado Sugar Land premises immediately, and that

Defendant Silverado Administrator McMillon was then going to call the Sugar Land Police.

These acts are also RICO predicate acts. These acts were consummated in furtherance of

the Peterson Defendants’ civil and criminal conspiracies, as well as, their racketeering

schemes.

       312. The Peterson Defendants' actions prevented the Peterson Plaintiffs from even

speaking with their mother that day and on many occasions, as then living Ruby S. Peterson

was involuntarily confined at Defendant Silverado’s Sugarland facility and the Peterson

Defendants insisted that Decedent Ruby S. Peterson would never be able within her lifetime

to leave Defendant Silverado. At no time did Defendant Silverado have any legal or lawful authority


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to hold her unlawfully arrested and imprisoned against her will. Defendant Silverado also

frequently denied then living Decedent Ruby S. Peterson access to phone calls or a phone to call

her sons and others, even after the Peterson Plaintiffs provided a cell phone for her use.

Plaintiff Don Peterson discovered the cell phone was missing. Plaintiff Don Peterson advised

Plaintiff Mack Peterson that the cell phone was missing, at which time it was found in a

Defendant Silverado Sugar Land storage closet. Defendant Silverado gave the phone to

Defendant Carol Ann Manley, who then appears to have given it to Defendant Sarah

Pacheco. These acts are also RICO predicate acts. These acts were consummated in

furtherance of the Peterson Defendants’ civil and criminal conspiracies, as well as, their

racketeering schemes.

       313. On 12 August 2014, the Peterson Plaintiffs and their legal counsel agreed to

remove then living Decedent Ruby S. Peterson's three videos from the internet, as a condition for

temporarily restoring their rights to visit their mother, then living Decedent Ruby S. Peterson.

As soon as the videos of then living Decedent Ruby S. Peterson were removed, Defendant

Silverado allowed the Peterson Plaintiffs and their spouses to visit then living Decedent Ruby

S. Peterson once again. However, Defendant Silverado resumed thereafter their interference

with the Peterson Plaintiffs' rights to visit the then living Decedent Ruby S. Peterson, claiming

that there was other objectionable content that was still posted on the Internet. These acts are

also RICO predicate acts. These acts were consummated in furtherance of the Peterson

Defendants’ civil and criminal conspiracies, as well as, their racketeering schemes.


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          314. On 19 September 2014, Attorney Philip Ross, counsel for then living Decedent

Ruby S. Peterson, conferred with Defendant Mr. Davis, counsel for Defendant Silverado. At

this time Attorney Phillip Ross advised Defendant Mr. Davis of his intent to bring expert

witness, Dr. John Tennison, M.D., to visit then living Decedent Ruby S. Peterson to examine

her and to ascertain her status. Defendant Silverado objected. The Peterson Plaintiffs filed a

Motion for Protection in the Probate 1 Guardianship case, and alternatively, Motion to

Compel Defendant Silverado to allow their attorney and expert witness to visit then living

Decedent Ruby S. Peterson.

          315. Neither Defendant Carol Ann Manley nor Defendant David Peterson had any right

to restrict then living Decedent Ruby S. Peterson's freedom or “order” that she be forcibly

chemically assaulted with dangerous Federal Drug Administration113 black box warning drugs.

The FDA had warned against the administering of Seroquel in elderly patients with dementia

and heart problems, both of which then living Decedent Ruby S. Peterson suffered from.

          316. On 25 September 2014, Defendant Judge Lloyd Wright denied the Peterson

Plaintiffs' motion, as well as, prevented their attorney and expert witness from meeting and

speaking with then living Decedent Ruby S. Peterson. Defendant Judge Wright made no

written findings of facts, nor referred to any facts and expressed no guiding principles, as well

as, no legal basis justifying his Order denying the Peterson Plaintiffs' request to allow their

attorney and expert witness to visit then living Decedent Ruby S. Peterson. These acts are


113   “FDA”.

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also RICO predicate acts. These acts were consummated in furtherance of the Peterson

Defendants, as well as, Defendant Judge Loyd Wright’s civil and criminal conspiracies, as

well as, their racketeering schemes.

       317. At all times pertinent hereto, all of the Defendants associated with the matters relating

to Decedent Ruby S. Peterson or the Peterson Plaintiffs hereto made material misrepresentations of

fact or withheld material facts intentionally to cause then living Decedent Ruby S. Peterson and

or the Peterson Plaintiffs to rely on those omissions and commissions, which the Peterson

Plaintiffs each did to each of their financial detriment and damages to their property. Said acts

of commission and omission constituting both extrinsic and intrinsic financial fraud.

       318. At all times pertinent hereto, Defendant Carol Ann Manley and Defendant David

Peterson acted as then living Decedent Ruby S. Peterson's attorney in fact, or as Trustees of

the Peterson Family Trust II or as Executor and Executrix of her will in her estate after her

death. As a matter of Texas law, attorneys in fact, trustees, guardians, guardian ad litems,

attorney ad litems, attorneys, physicians and executors/executrices are all fiduciaries, and as

such owe duties of total complete candor, of full disclosure, and of honesty and fidelity to their

wards or the beneficiaries of the trust and estate involved. The Peterson Defendants breached

their fiduciary duties assisted by Defendant Silverado, Defendant Sarah Pacheco, Defendant

Kathleen Beduze, Defendant Crain, Caton & James, P.C., Defendant Jill Young, Defendant

MacIntyre, McCulloch, Stanfield & Young, L.L.P., Defendant Mr. Jones, Defendant Lewis,

Brisbois, Bisgaard & Smith, L.L.P., Defendant Mr. Davis, Defendant Underwood, Scherrer &


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Jones. P.L.L.C., and Defendant Dr. Merkl, as well as, Defendant Judge Loyd Wright,

Defendant Associate Judge Ruth Ann Stiles, and Defendant Ms. Hightower.

        319. Decedent Ruby S. Peterson died on 11 January 2015 as the Peterson Plaintiffs

had predicted she would in the case(s) before Defendant Judge Loyd Wright and Defendant

Associate Judge Ruth Ann Stiles, as Defendants herein held Decedent Ruby S. Peterson

against her will. They also forced Decedent Ruby S. Peterson to ingest numerous, heavy

doses of medications, which Defendant Carol Ann Manley, Defendant David Peterson,

Defendant Silverado, Defendant Sarah Pacheco, Defendant Kathleen Beduze, Defendant

Crain, Caton & James, P.C., Defendant Jill Young, Defendant MacIntyre, McCulloch, Stanfield

& Young, L.L.P., Defendant Mr. Jones, Defendant Lewis, Brisbois, Bisgaard & Smith, L.L.P.,

Defendant Mr. Davis, Defendant Underwood, Scherrer & Jones. P.L.L.C., Defendant Dr.

Merkl, Defendant Judge Loyd Wright, Defendant Associate Judge Ruth Ann Stiles, and

Defendant Ms. Hightower knew or should have known would kill Decedent Ruby S. Peterson.

        320. Defendant Judge Loyd Wright and Defendant Associate Judge Ruth Ann Stiles

always ruled against the Peterson Plaintiffs, demonstrating their unswerving loyalty and

complete fidelity to all of the Defendants involved in the Peterson case as opponents to the

Peterson Plaintiffs, because of all of their association with Harris County Probate 1, as well

as, Defendants Conservative Club of Houston and the treasurer of its PAC, Defendant J. Cary

Gray.




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        321. The Texas Health and Safety Code requires a Court Order to forcibly detain

any elderly person and does not permit an agent to consent to psychiatric inpatient treatment,

the therein prohibited acts, which are exactly what took place as to the treatment of then living

Decedent Ruby S. Peterson. The Peterson Defendants and their counsel Defendants, as well

as, the Defendant guardian ad litem Defendant Ms. Young and attorney ad litem Defendant

Mr. Jones forced then living Decedent Ruby S. Peterson to ingest large doses of narcotics,

benzodiazepines and dangerous antipsychotic drugs against her will. Texas Health and

Safety Code § 166.152 prohibits the dosing of an elderly person such as in these instances

by Court Order. The Code only permits a guardian to consent to the use of psychotropic drugs

against a person’s will in the absence of Court Order or other circumstances not applicable

to these matters. These acts are also RICO predicate acts. These acts were consummated

in furtherance of the Peterson Defendants, Defendant Judge Loyd Wright, and Defendant

Associate Judge Ruth Ann Stiles’ civil and criminal conspiracies, as well as, their racketeering

schemes.

        322. Defendant Silverado, Defendant Carol Ann Manley, Defendant David Peterson,

Defendant Sarah Pacheco, Defendant Kathleen Beduze, Defendant Crain, Caton, & James,

P.C., Defendant Ms. Young, Defendant Mr. Jones and Defendant Dr. Cowan all ignored

Texas Health and Safety Code § 166.155.114 But most saliently important to this case, so did


114
   Texas Health and Safety Code § 166.155:
“(a) A medical power of attorney is revoked by:


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Defendant Judge Loyd Wright and Defendant Associate Judge Ruth Ann Stiles. These acts

are also RICO predicate acts. These acts were consummated in furtherance of the Peterson

Defendants, Defendant Judge Loyd Wright, and Defendant Associate Judge Ruth Ann Stiles’

civil and criminal conspiracies, as well as, their racketeering schemes.

        323. Defendant Dr. Cowan committed serious crimes when at the behest of her

father-in-law, Defendant David Peterson she prescribed as a medical doctor Seroquel without

physically and mentally examining and talking to then living Decedent Ruby S. Peterson

before she prescribed that drug.

        324. The Peterson Plaintiffs informed Probate Court 1 of the situation surrounding

the prescribing of Seroquel when they filed their Original Petition on 17 July 2014115 and

Application for Temporary Restraining Order and Temporary Injunction on 28 July 2014116,

which raised safety issues regarding administering the drug to then living Decedent Ruby S.

Peterson and warned that the administering of Seroquel could cause then living Decedent

Ruby S. Peterson’s premature death.



         (1) oral or written notification at any time by the principal to the agent or a licensed or certified
health or residential care provider or by any other act evidencing a specific intent to revoke the power,
without regard to whether the principal is competent or the principal’s mental state;
         (2) execution by the principal of a subsequent medical power of attorney; or …
(b) A principal’s licensed or certified health or residential care provider who is informed of or provided with
a revocation of a medical power of attorney shall immediately record the revocation in the principal’s
medical record and give notice of the revocation to the agent and any known health and residential care
providers currently responsible for the principal’s care.”
115
    Exhibit “26” is a copy of the subject pleading, which Peterson Plaintiffs do hereby incorporate herein its
entireties for all purposes.
116
    Exhibit “27” is a copy of the subject pleading, which Peterson Plaintiffs do hereby incorporate herein its
entireties for all purposes.

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        325. Defendant Silverado administered the Seroquel as Defendant Dr. Cowan had

prescribed. Defendant Dr. Cowan had mailed the prescription to either Defendant David

Peterson or directly to Defendant Silverado.

        326. Hearings on Plaintiffs’ Emergency Application for Temporary Injunction

commenced 28 July 2014 and ended 12 August 2014, in which Dr. John Tennison, M.D.,

consistent with his expert report dated 8 August 2014, testified that Seroquel appeared to

have a more pronounced effect on then living Decedent Ruby S. Peterson and of her deficient

care, pointing to heart problems as the cause of her dementia, rather than Alzheimer’s

disease. Dr. Tennison emphasized the need for intervention concerning her cardiac problems

as an emergency and stated she was likely sustaining otherwise reversible brain damage by

the failure to address her heart problems. Dr. Tennison said then living Decedent Ruby

Peterson was at risk of fatality if this was not addressed. Plaintiff’s Application for Injunctive

Relief asserted to the Court that the drug Seroquel was specifically included in the largest

criminal penalty settlement in U.S. history with a drug manufacturer for aggressive marketing

of FDA black box warning psychotropic drugs for use in elderly dementia patients due to the

risk of fatality.

        327.        Defendant Sarah Pacheco, Defendant Kathleen Beduze, Defendant Crain,

Caton & James, P.C., Defendant Jill Young, Defendant MacIntyre, McCulloch, Stanfield &

Young, L.L.P., Defendant Mr. Jones, Defendant Lewis, Brisbois, Bisgaard & Smith, L.L.P.,

Defendant Mr. Davis, Defendant Underwood, Scherrer & Jones. P.L.L.C., and Defendant Dr.


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Merkl opposed the Peterson Plaintiffs, for which there is a transcript. Defendant Judge Loyd

Wright refused following the presentation of evidence and argument of counsel to intercede

and to interrupt Defendant Silverado from administering the drug, Seroquel, to then living

Decedent Ruby S. Peterson. These acts are also RICO predicate acts. These acts were

consummated in furtherance of the Peterson Defendants, as well as, Defendant Judge Loyd

Wright and Defendant Associate Judge Ruth Ann Stiles’ civil and criminal conspiracies, as

well as, their racketeering schemes.

        328. Texas Health and Safety Code § 166.152 prohibits an agent or care provider

from forcing a principal to accept or undergo treatment of any kind against their objection

regardless of their mental state absent circumstances not present in the Probate Court 1

cases.117 Despite these statutory prohibitions, Defendant Dr. Merkl testified 30 July 2014 that

Defendant Silverado Senior Living's practice or forcibly drugging or deceiving patients to

ingest drugs they find objectionable was acceptable medical practice and approved of

detaining then living Ruby Peterson against her will, further stating that he wrote the 4 October

2014 letter at the request of Defendant Sarah Pacheco without performing a “competency

evaluation,” stating that then living Ruby S. Peterson lacked capacity to execute a legal

document.




  Texas Health and Safety Code § 166.152. Please see also Texas Estate Code §
117

1151.054 and generally § 1151, prohibiting commitment and psychotropic drugging.


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           329. After four days of testimony for which there are transcripts in a Temporary

Injunction hearing, in the Guardianship case, Cause No. 427,208, Defendant Judge Loyd

Wright refused to end then living Decedent Ruby S. Peterson's false arrest and imprisonment

by Defendant David Peterson and Defendant Carol Ann Manley, assisted by Defendant Sarah

Pacheco, Defendant Kathleen Beduze, Defendant Crain, Caton & James, P.C., Defendant

Jill Young, Defendant, MacIntyre, McCulloch, Stanfield & Young, L.L.P., Defendant Mr. Jones,

Defendant Lewis, Brisbois, Bisgaard & Smith, L.L.P., Defendant Mr. Davis, Defendant

Underwood, Scherrer & Jones. P.L.L.C., and Defendant Dr. Merkl, nor to prohibit nor abate

nor even hinder the other Defendants’ hereto breaches of their various fiduciary duties. These

acts are also RICO predicate acts. These acts were consummated in furtherance of the

Peterson Defendants, as well as, Defendant Judge Loyd Wright and Defendant Associate

Judge Ruth Ann Stiles’ civil and criminal conspiracies, as well as, their racketeering schemes.

           330. The Defendants herein utilized the United States Postal Service, wire, and

internet in furtherance of their civil and criminal conspiracies, as well as, racketeering

schemes.118

           331. Defendant Dr. Merkl, a rehabilitation physician, admitted during sworn

testimony that he completed a cardiology fellowship prior to his work at Defendant Silverado,

as well as, the fact that he and Dr. Lalani of Defendant Silverado had considered Decedent

Ruby S. Peterson’s heart failure as the potential cause of her confusion. Defendant Dr. Merkl


118
      Mailing envelopes and their contents are available.

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also exposed the conspiracy when he testified that on occasion Defendant Sarah Pacheco

told him in advance that guardianship was not needed in particular cases, so he found those

competent and that she was perfectly happy with that.

       332. Defendant Dr. Merkl was grossly negligent and consciously indifferent,

consistently risking then living Decedent Ruby S. Peterson’s death by administering to her

Federal Food & Drug Administration Black Box Warning psychotropic drugs, which are known

to be fatal when administered to elderly dementia patients. This risk is further exacerbated

when the individual has cardiac insufficiency or failure as then living Decedent Ruby S.

Peterson did.

       333. Defendant Carol Ann Manley and Defendant David Peterson are culpable of

wrongfully thieving at least $450,000USD from then living Decedent Ruby S. Peterson's

investment account in derogation of her rights.

       334. Defendant Carol Ann Manley and Defendant David Peterson also defrauded

Decedent Ruby S. Peterson and the Peterson Plaintiffs through purposefully concocted

inaccurate accounting on the Peterson Family Trust II to disguise the rightful actual amount

of the Peterson Plaintiff's inheritance. These Defendants committed such malfeasance to

deceive the Peterson Plaintiffs. These Defendants also attempted to further defraud each of

the Peterson Plaintiffs out of $40,000USD over time, as well as, through a bait and switch

scheme involving Decedent Ruby S. Peterson's wedding ring by producing a fake certificate

for a ring other than that belonging to Decedent Ruby S. Peterson.


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        335. Defendant Carol Ann Manley and Defendant David Peterson breached their

fiduciary duties and committed multiple acts of fiduciary fraud and theft by unlawful filching of

funds from the possession, trust estate, accounts, or estate of Decedent Ruby S.

Peterson with the assistance of their Defendant attorneys and others. These acts are also

RICO predicate acts. These acts were consummated in furtherance of the Peterson

Defendants, as well as, Defendant Judge Loyd Wright and Defendant Associate Judge Ms.

Stiles’ civil and criminal conspiracies, as well as, their racketeering schemes.

        336. The 10 November 2014 Orders119, executed by Defendant Judge Loyd Wright,

effectively sanctioned both the Peterson Plaintiffs and their counsel, and also dismissed the

Peterson Plaintiffs’ legitimate claims against Defendant Silverado. These matters are now on

appeal120.

        337. Due to Defendant Mr. Jones and Defendant Ms. Young’s Motion for Security

for Costs and Supplemental Motion, in which costs for the litigation were sought only from the

Peterson Plaintiffs, who had no guardianship case pending but only civil claims, the Peterson

Plaintiffs agreed to mediate and did so on 30 October 2014. The Peterson Plaintiffs settled

and signed a settlement agreement under extreme duress because Defendant Mr. Jones assured

them that he would ensure that the Court would not assess costs or sanctions of over


119
    Exhibit “28” are copies of Defendant Judge Loyd Wright’s 10 November 2014 Orders, which Peterson
Plaintiffs do hereby incorporate herein their entireties for all purposes.
120
    Cause No. 01-15-000586; Mackey Glen Peterson, Tonya Peterson, Don Leslie Peterson, and Lonny
Peterson v. Carol Ann Manley, David Peterson, Silverado Senior Living d/b/a Silverado Senior Living
Sugarland and Cause No. 01-15-000567; In re Guardianship of Ruby Peterson.

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$100,000USD and he threatened if they did not that then living Decedent Ruby S. Peterson

would be placed in guardianship, where she would never be permitted to leave Defendant

Silverado’s Sugar Land facility.     The agreement was illusory because it was incapable of

being enforced by omitting a date by which Ruby would be set free from Defendant Silverado’s

Sugar Land facility. It further stated that the Peterson Plaintiffs agreed not to object to their

request for attorneys’ fees, which gave them nothing of value because they had no control over

whether Defendant Judge Wright would grant them fees. It was illegal by virtue of the fact that

the Peterson Plaintiffs were forced into a position of foregoing civil claims to free their mother

and save her life. The Peterson Plaintiffs signed the agreement because they were fearful of

their mother’s impending death.

       338. After mediation, the Peterson Defendants refused the Peterson Plaintiffs’ calls

and never found a suitable alternative living arrangement for then living Decedent Ruby S.

Peterson. Despite the Peterson Defendant attorneys’ representations that the then living

Decedent Ruby S. Peterson would be moved as soon as possible, the Peterson Defendants and

the lawyers involved with them confined then living Decedent Ruby S. Peterson until her death

and never once appeared to evince even a modicum of good faith to demonstrate any attempt

at compliance with the purported agreement. Defendants Carol Ann Manley, Defendant David

Peterson and their attorneys, Defendant Sarah Pacheco and Defendant Kathleen Beduze

refused to sign a release consistent with the terms of the purported agreement in favor of

adding terms which were not part and parcel of the alleged agreement. The Peterson


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Defendants’ attorneys ignored the Peterson Plaintiffs’ repeated emails and phone calls,

refusing to tell them when and where the then living Decedent Ruby S. Peterson was going

to be moved.

        339. The Peterson Plaintiffs filed a Motion to Reconsider Dismissal under Texas

Rule of Civil Procedure 91a of their claims against Defendant Silverado. The motion also

sought a review of sanctions imposed upon the Peterson Plaintiffs and their counsel and to

set the matter for hearing 9 December 2014. On 9 January 2015, two days before the then living

Decedent Ruby S. Peterson died, Defendant Judge Loyd Wright denied the Peterson Plaintiffs

all relief they were seeking, entered Orders dismissing their remaining claims against Defendant

Silverado, and refused to reconsider the 10 November 14 rulings.121

        340. The Peterson Defendants and their attorneys, Defendant Sarah Pacheco,

Defendant Kathleen Beduze, and Defendant Crain, Caton & James, P.C., committed multiple

acts of fiduciary fraud and theft. These acts are also RICO predicate acts. These acts were

consummated in furtherance of the Peterson Defendants, as well as, Defendant Judge Loyd

Wright and Defendant Associate Judge Ms. Stiles’ civil and criminal conspiracies, as well as,

their racketeering schemes.




121 Exhibit “29”, Order to Dismiss Plaintiffs’ Breach of Fiduciary Duty and/or Trust Claims dismissed with
prejudice (1.9.15), Order denying Motion to Reconsider Sanctions and Rule 91a Dismissal of claims against
Silverado (1.9.15), which Plaintiffs do hereby incorporate herein their entireties for all purposes.


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        341. In April of 2015, the Peterson Plaintiffs filed an Amended Motion to Set Aside

the Rule 11 Agreement for illegality, lack of consideration, fraud, and financial/emotional

duress.122 Defendant Ms. Young and Defendant Mr. Jones filed a Motion to Enter Judgment

on the Rule 11 Agreement in order to collect almost $100,000USD in attorneys’ fees, after

violating their statutory and fiduciary duties to then living Decedent Ruby S. Peterson. The

Peterson Plaintiffs responded in opposition to the Motion to Enter Judgment of “Non-

Revocable Settlement Agreement” pursuant to § 1055.151(c) of the Texas Estates Code,

informing the Court that jurisdiction to ratify this Rule 11 Agreement ended when Decedent

Ruby S. Peterson died on 11 January 2015.

        342. As such, the referenced Rule 11 Agreement was moot and could not be ratified.

Defendant Judge Loyd Wright ratified it anyway, right after acknowledging that he read the

Peterson Plaintiffs’ briefs on illegality and mootness as a direct result of Decedent Ruby S.

Peterson’s 11 January 2015 death, which terminated the Guardianship.123 Notably, the

Peterson Plaintiffs filed a Motion to Dismiss the Guardianship for lack of jurisdiction on 16

January 2015, which Defendant Judge Loyd Wright disregarded and finally dismissed as he

ratified the Rule 11 Agreement on 12 May 2015. This was advanced by the Peterson

Defendants, their attorneys Defendant Sarah Pacheco, Defendant Kathleen Beduze, and



122 Exhibit “30”, Amended Motion to Set Aside Rule 11, which Plaintiffs do hereby incorporate herein its
entireties for all purposes.
123 Exhibit “31”, Final Judgment, which Plaintiffs do hereby incorporate herein its entireties for all purposes.




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Defendant Crain, Caton & James, P.C., as well as, Defendant Ms. Young and Defendant Mr.

Jones.124 Defendants also committed multiple acts of fiduciary fraud and theft. These acts are

also RICO predicate acts. These acts were consummated in furtherance of the Peterson

Defendants, as well as, Defendant Judge Loyd Wright and Defendant Associate Judge Ms.

Stiles’ civil and criminal conspiracies, as well as, their racketeering schemes.

        343. The property of Decedent Ruby S. Peterson, the property of the Peterson

Family Trust II, the property of the Estate of Ruby S. Peterson, the property of the Plaintiff

Don Peterson, the property of Plaintiff Mack Peterson, and the property of the Plaintiff Lonny

Peterson have all suffered immense damages as a direct and proximate result of Defendant

Carol Ann Manley, Defendant David Peterson, Defendant Dr. Cowan, Defendant Dr. Merkl,

Defendant Silverado, Defendant Sarah Pacheco, Defendant Kathleen Beduze, Defendant

Crain, Caton & James, P.C., Defendant Ms. Young, Defendant MacIntyre, McCulloch,

Stanfield & Young, L.L.P., Defendant Mr. Jones, Defendant Underwood, Jones, & Scherrer,

P.L.L.C, Defendant Mr. Davis, Defendant Lewis, Brisbois, Bisgaard & Smith, L.L.P., as well

as, Defendant Judge Loyd Wright, Defendant Associate Judge Ruth Ann Stiles, Defendant

Ms. Hightower, Defendant C Club PAC and Defendant J. Cary Gray’s civil and criminal

conspiracies, as well as, their racketeering schemes.

        344. Defendant Carol Ann Manley, Defendant David Peterson, Defendant Dr.



124Exhibit “32”, Motion to Dismiss and Order Denying Motion to Dismiss, dated 12 May 2015, which Plaintiffs
do hereby incorporate herein their entireties for all purposes.

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Cowan, Defendant Dr. Merkl. Defendant Silverado, Defendant Sarah Pacheco, Defendant

Kathleen Beduze, Defendant Crain, Caton & James, P.C., Defendant Ms. Young, Defendant

MacIntyre, McCulloch, Stanfield & Young, L.L, P., Defendant Mr. Jones, Defendant

Underwood, Jones, & Scherrer, P.L.L.C,, Defendant Mr. Davis and Defendant Lewis,

Brisbois, Bisgaard & Smith, L.L.P., as well as, Defendant Judge Loyd Wright, Defendant

Associate Judge Ruth Ann Stiles, Defendant Ms. Hightower, Defendant C Club PAC and

Defendant J. Cary Gray concocted and carried out (1) schemes or artifice to defraud the

Decedent Ruby S. Peterson and the Peterson Plaintiffs over more than a four-year period,

(2) actively participated in those scheme, (3) with specific intent on the part of the named

Defendants to defraud the Peterson Plaintiffs, and (4) the deception of the Peterson Plaintiffs,

involved (5) the use of the United States mails or private or commercial interstate carriers, as

well as, wire and the internet including email and e-filing with the Court and clerks involved in

furtherance of the schemes or artifices to defraud, as herein above pled.125

         FACTS AS TO EDWARD G. RIZK, THE ESTATE OF FRED E. RIZK AND THE
                      INDISPENSABLE PARTY PLAINTIFFS RIZK
          345.     Plaintiffs herein reallege, replead and incorporate herein their entireties

through this reference the allegations in the averments in ¶¶ 1 through 344, as well as, those

hereinafter pled as though herein originally pled.

          346. Decedent, Fred E. Rizk died on 4 November 2011, in Houston, Harris County,



125   18 U.S.C. § 1341.

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Texas County, Texas, at the age of eighty-six (86) years.

       347. On or about 11 November 2011 Defendant J. Cary Gray commenced an

Independent Administration of the Fred E. Rizk Estate in Probate Court 1 for Harris County

Texas, Case No. 408941. In following that Court admitted Fred E. Rizk's will to probate.

       348. Probate Court 1 admitted the Decedent's Last Will and Testament, as well as,

the First Codicil to Probate and Defendant Loyd Wright authorized letters testamentary by his

Order in Case 408941 on 22 November 2011, naming Defendant J. Cary Gray as

Independent Executor of the Fred E. Rizk estate.

       349. Defendant Mr. Gray as the President of Rizk Interests, Ltd. on behalf of Rizk

Interests, Ltd. has acted since shortly after the issuance of his Letters of Administration, as

the President of Rizk Interests, Ltd.

       350. Plaintiff Edward G. Rizk is the natural biological son of his father, Decedent the

late Fred E. Rizk.

       351. Probate Court 1 had previously found in the Fred E. Rizk probate estate case

that Decedent Fred E. Rizk left a valid written Will and Testament, as well as, First Codicil

bearing the Decedent's signature. The referenced Will and Testament is dated 26 March 2009

and a valid First Codicil thereto is dated 19 April 2010, which together are the Last Will and

Testament and his First Codicil of Decedent, Fred E. Rizk. Such instruments have never been

revoked. The First Codicil dated 19 April 2010 revises and amends the Decedent's Last Will

and Testament dated 26 March 2009. J. Cary Gray filed both instruments with the original


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Application opening the Fred E. Rizk probate case before Probate Court 1. Plaintiff Edward

Rizk hereby incorporates the original of the Fred E. Rizk Last Will and Testament, as well as,

the First Codicil, attached to the original herein their entireties for all purposes.

       352. Defendant Mr. Gray is and has been for some time a licensed Texas lawyer

and has also for some time been the managing partner of Gray, Reed & McGraw, P.C.

(Formerly Looper, Reed & McGraw, P.C.), which firm has represented both the Estate of Fred

E. Rizk and Defendant Mr. Gray, as The Independent Executor.

       353. As the Independent Executor of the Fred E. Rizk Estate and as a licensed

attorney, who is the managing partner of the law firm, Gray, Reed & McGraw, P.C., which has

represented the referenced estate, Defendant Mr. Gary has acted as and is a fiduciary, as a

matter of law.

       354. Defendant Mr. Gray as a fiduciary owed and owes fiduciary duties to the

referenced Estate of Fred E. Rizk, the legatees and beneficiaries of the Fred E. Rizk estate,

the trust beneficiaries, for which trusts Defendant Mr. Gray is and has been, as well as, has

acted as the Trustee, as well as, to the referenced Testamentary Trust beneficiaries, where

he is named and has acted as Trustee since Mr. Fred E. Rizk's death, as a matter of law.

       355. On or about 18 December 2013 Plaintiff Edward Rizk petitioned Probate Court

1 to remove Defendant Mr. Gray as Executor of the Estate of Fred E. Rizk, for the following

reasons:

                 a.    Defendant J. Cary Gray failed timely to return an accurate inventory of


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the property of the estate, appraisement and list of claims or an affidavit in lieu of the

inventory, appraisement, and list of claims that have come to his knowledge within 90 days

after qualification and has since failed to file an accurate inventory, appraisement and list of

claims for the referenced Fred E. Rizk estate, since Plaintiff Edward Rizk first called upon him

to do so, as an interested party's Applications and Motions filed in the hereinabove referenced

estate case no 708941, i.e. the Inventory, Appraisement and List of Claims Mr. Gray, as

Independent Executor of the Fred E. Rizk estate filed under oath states that the Fred E. Rizk

estate has no claims and yet the Fred E. Rizk estate by and through Defendant Mr. Gray,

acting as Independent Executor of the Fred E. Rizk estate, filed a Proof of Claim, stating there

that there was a claim of the Estate of Fred E. Rizk against Plaintiff Edward George Rizk in

his Chapter 11 Bankruptcy case for $1,760,000USD, which case was before the United States

Bankruptcy Court for the Southern District of Texas, Houston Division, Case No. 13-bk-32811;

aforesaid Executor, Defendant Mr. Gray, as Independent Executor of the Fred E. Rizk estate

also filed a separate lawsuit in this probate case against Abdul and Malk Fustok for some

$1,000,000USD, stating there that that was a claim of the Estate of Fred E. Rizk; and,

aforesaid Executor, as Independent Executor of the Fred E. Rizk estate also made a separate

claim before the United States Bankruptcy Court for the Southern District of Texas, Houston

Division in aforesaid Edward George Rizk Chapter 11 case for some $2,500,000US, stating

that it was a claim of the Fred E. Rizk estate;

              b.      Defendant Mr. Gray has serially breached his fiduciary duties and


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committed fiduciary fraud, including but not limited to the following;

                       (i).   Defendant Mr. Gray settled a case brought by Mr. Artie Tripoli,

which case was against the Villas at Hyde Park, L.L.C., an asset of the estate of Fred E. Rizk.

Defendant Mr. Gray acting as Independent Executor of the Estate of Fred E. Rizk settled the

case with Mr. Artie Tripoli for over $600,000USD126 on an alleged oral agreement between a

dead man, the decedent Fred E. Rizk and Mr. Artie Tripoli, when there was actually,

absolutely no writing, regarding a supposed real estate deal, which alleged oral contract by

its own alleged terms was for more than one (1) year, after filing an answer and general denial

in that case, where Defendant Mr. Gray as the Independent Executor of the Estate of Fred R.

Rizk, where therein Defendant Mr. MacIntyre and Defendant MacIntyre, McCulloch, Stanfield

& Young, P.C. representing Defendant Mr. Gray as Executor of the Estate of Fred E. Rizk,

even pled the Texas statute of frauds;127 which is Texas Business & Commerce Code § 26.01

(2013);128




126 Exhibit “33” Mediated Settlement Agreement dated 31 July 2013.
127 Harris County District Court No. 2013-03291, in the 333 Texas Judicial District.
128 Which reads in pertinent part, as follows:"§ 26.01. Promise or Agreement Must Be in Writing

(a) A promise or agreement described in Subsection (b) of this section is not enforceable unless the
promise or agreement, or a memorandum of it, is
         (1) in writing; and
         (2) signed by the person to be charged with the promise or agreement or by someone lawfully
authorized to sign for him.
(b) Subsection (a) of this section applies to: … (4) a contract for the sale of real estate; …(6) an
agreement which is not to be performed within one year from the date of making the agreement..."
         (Our Emphasis Added.)

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                          (ii)     Defendant Mr. Gray on 29 June 2012 entered into a written

Agreement with himself where acting as Independent Executor of the Estate of Fred E. Rizk

on behalf of that Estate where he waived the statute of limitations on accounts receivables

that the Estate supposedly owed to Defendant then Looper, Reed & McGraw, P.C. (Now Gray

Reed & McGraw, P.C.), which he accepted as Chief Executive Officer of Looper, Reed &

McGraw, P.C. (Now Gray, Reed & McGraw, P.C.), in favor of Looper, Reed & McGraw, P.C.

(Now Gray, Reed & McGraw, P.C.), which was an outrageously fragrant breach of fiduciary

duties owed to the Estate of Fred E. Rizk, the beneficiaries of Fred E. Rizk’s Estate, as well

as, inter vivos and testamentary Trust;129 That transaction represented an absolute conflict of

interest and only benefited Looper, Reed & McGraw, P.C. (Now Gray, Reed & McGraw, P.C.)

of which Defendant Mr. Gray is the Chief Executive Officer and a shareholder;

                          (iii).   Defendant Mr. Gray has failed to formally disclose in any papers

relating to the Estate of Fred E. Rizk the nature and extent of his personal, separate interest

in a project known as Semi Valley, which he, as independent Executor of the Fred E. Rizk

estate has listed as an asset of this estate in his Inventory, Appraisement and List of Claims;

                          (iv).    Mr. Gray, as the independent Executor of the Fred E. Rizk estate

has repeatedly hired and used his own law firm to do legal work for this estate, when members

of that firm now claim and have claimed in writing that Looper, Reed & McGraw, P.C. (Now

Gray, Reed & McGraw, P.C.) has not and does not represent the Fred E. Rizk estate;


129   Exhibit “34” 29 June 2012 Agreement by Defendant Mr. Gray as Executor to Defendant as CEO.

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                      (v).     Mr. Gray has failed to timely file the affidavit or certificate

required under Probate Code § 128A(g);

                      (vi).    Defendant Mr. Gray was always and has become incapable of

properly performing his fiduciary duties, due to a multitude of actual material conflicts of

interest;

                      (vii).   Sufficient grounds appear to support the belief that Defendant

Mr. Gray has misapplied and that he is about to further misapply all or part of the property of

the Estate of Fred E. Rizk committed to his care;

                      (viii). Defendant Mr. Gray, as Independent Executor of the Fred E.

Rizk estate has failed to make any significant distribution of the assets of the estate, as

mandated by the Fred E. Rizk will, during which period of time he, however, has paid from

the Fred E. Rizk estate's funds hundreds of thousands of dollars to his law firm for purported

legitimate legal fees, while never disclosing in any itemized statement to the Fred E. Rizk

estate's legatees or beneficiaries the bases for those legal fees, ; and,

                      (ix).    Mr. Gray has wasted the assets of the Fred E. Rizk estate.

These acts are also RICO predicate acts. These acts were consummated in furtherance of

the Rizk Defendants’ civil and criminal conspiracies, as well as, their racketeering schemes.

These acts of omission and commission reflect serial breaches of fiduciary duties, as well as,

violations of the Texas Penal Code in regard to fiduciary fraud and in tampering with

government documents.

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       356. Defendant Judge Loyd Wright, made well aware of the hereinabove described

fiduciary defalcations on the part of Defendant Mr. Gray, in the proper exercise his judicial

equitable powers summarily should have removed Defendant Mr. Gray from acting as Trustee

of the Testamentary Trusts and other Trusts Fred E. Rizk created, as well as, as Executor of

the Estate of Fred E. Rizk for the reasons hereinabove enunciated and delineated. Defendant

Judge Loyd Wright’s refusal to exercise his broad equitable powers to protect the property of

the Estate of Fred E. Rizk and the trusts, as well as, the beneficiaries was occasioned

because of his close relationship and favoring over all others of Defendant Mr. Macintyre and

Defendant MacIntyre, McCulloch, Stanfield & Young, L.L.P. This constitutes the commissions

of the crime of official oppression because of Defendant Judge Loyd Wright’s obvious

conscious indifference. These acts were consummated in furtherance of the civil and criminal

conspiracies, as well as, their racketeering schemes. These acts of omission and commission

reflect serial breaches of fiduciary duties

       357. Although Plaintiff Edward G. Rizk demonstrated in the Probate Court 1

proceedings more than adequate grounds to Defendant Judge Loyd Wright for the removal

of Defendant Mr. Gray from acting as Executor of the Estate of the late Fred E. Rizk and as

Trustee of that Decedent’s trusts, Defendant Judge Loyd Wright has consistently ruled

against Plaintiff Edward G. Rizk in the Probate Court 1 proceedings referenced. These acts

were consummated in furtherance of the civil and criminal conspiracies, as well as, their

racketeering schemes. These acts represent acts of official oppression. These acts of


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omission and commission reflect serial breaches of fiduciary duties, as well as, violations of

the Texas Penal Code in regard to fiduciary fraud and in tampering with government

documents.

        358. Defendant Mr. Gray, although Defendant Judge Loyd Wright ordered him to do

so, has failed to fully and adequately account consistent with the Texas Estate Code’s

mandates to do so.130 Although this Estate has been open now since 11 November 2011,

Defendant Mr. Gray has failed to provide any subsequent accountings for his administration

of the Estate of Fred E. Rizk, violative of the Texas Estates Code.131 These acts were

consummated in furtherance of the civil and criminal conspiracies, as well as, their

racketeering schemes. These acts represent acts of official oppression. These acts of

omission and commission reflect serial breaches of fiduciary duties, as well as, violations of

the Texas Penal Code in regard to fiduciary fraud and theft.

        359. The late Fred E. Rizk as settlor created several trusts, to which Plaintiff Edward

George Rizk is and was to be a beneficiary, as is, Plaintiff Maxwell Rizk, Indispensable Party


130 Texas Property Code § 113,151; Texas Estate Code § 359.01.
131 Texas Estate Code § 359.02:
“(a) Each personal representative of the estate of a decedent shall continue to file an annual account
conforming to the essential requirements of Section 359.001 regarding changes in the estate assets
occurring since the date the most recent previous account was filed.
(b) The annual account must be filed in a manner that allows the court or an interested person to ascertain
the true condition of the estate, with respect to money, securities, and other property, by adding to the
balances forwarded from the most recent previous account the amounts received during the period covered
by the account and subtracting the disbursements made during that period.
(c) The description of property sufficiently described in an inventory or previous account may be made in the
annual account by reference to that description.”


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Plaintiff Edward Elias Rizk, Indispensable Party Plaintiff Rex Robinson Rizk and

Indispensable Party Plaintiff Randell R. Rizk.132

        360. As a Trustee of several inter vivios and testamentary trusts created by the late

Fred E. Rizk, Defendant Mr. Gray has failed to fully and adequately account consistent with

the Texas Trust Code’s mandates to do so,133 even after Plaintiff Edward G. Rizk has made

repeated demands. Although this Estate has been open now since 11 November 2011,

Defendant Mr. Gray has failed to provide any subsequent accountings for his administration

of the Estate of Fred E. Rizk, violative of the Texas Estates Code. These acts were

consummated in furtherance of the civil and criminal conspiracies, as well as, their

racketeering schemes. These acts represent acts of official oppression. These acts of

omission and commission reflect serial breaches of fiduciary duties, as well as, violations of

the Texas Penal Code in regard to fiduciary fraud.

        361. At all times relevant hereto Defendant Robert S. MacIntyre, Junior and

Defendant MacIntyre, McCulloch, Stanfield & Young have represented the Estate of the late

Fred E. Rizk and Defendant J. Cary Gray as Executor of that Estate, as well as, Trustee of

the Rizk trusts.




132 Plaintiff Edward G. Rizk does hereby incorporate herein the Last Will and Testament, as well, First Codicil
of the late Fred E. Rizk together with Fred E. Rizk’s inter vivos and testamentary trusts herein their entireties
for all purpose.
133 Texas Estates Code § 404,001.


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       362. As hereinabove stated at various times and in various places, Defendant Mr.

Gray has claimed that Plaintiff Edward G. Rizk owes or owed the Estate in excess of

$2,500,000USD for undocumented “loans” and that certain property which belonged to

Plaintiff Edward G. Rizk, actually belongs to the Estate of Fred E. Rizk, to wit sewage access

rights Defendant Mr. Gray valued at in excess of $800,00USD attached to Plaintiff Edward G.

Rizk’s homesteaded residence in Briargrove, Houston, Texas, which sewage rights were in

Plaintiff Edward G. Rizk’s name. Plaintiff recently sold the sewage rights for $421,697.97USD

which sale was closed and culminated through a Texas title company. Defendant Mr. Gray

has sought since the death of Fred E. Rizk to offset these specious and unprovable claims

against Plaintiff Edward G. Rizk’s interest in his father’s Estate. These acts were

consummated in furtherance of the civil and criminal conspiracies, as well as, their

racketeering schemes. These acts of omission and commission reflect serial breaches of

fiduciary duties and fiduciary fraud.

       363. Plaintiff Edward G. Rizk categorically denies that he owes any money to the

Estate of Fred E. Rizk, as hereinbefore described, as the Independent Executor J. Cary Gray

has asserted and is asserting against Plaintiff Edward George Rizk is owed by Plaintiff

Edward G. Rizk.

       364. Plaintiff Edward G. Rizk brought a Petition for declaratory relief in Probate Court

1 on or about 20 September 2014 concerning the purported undocumented loans and the

ownership of the sewage access rights. Defendant Mr. MacIntyre and Defendant MacIntyre,

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McCulloch, Stanfield & Young, P.C. has filed an answer and general denial.

       365. Although the Estate on the date of death of Fred E. Rizk was extremely solvent,

as were the inter vivos and testamentary trusts, Defendant J. Cary Gray has only made

extremely small distributions to any of the beneficiaries including to the Plaintiff Edward G.

Rizk, since the Probate Court 1 issued the Defendant Mr. Gray letters testamentary on 22

November 2011, some fifty two (52) months ago, although in that period of time Defendant

Mr. Gray has had the cash money to do so, which distributions the late Fred E. Rizk mandated

from the assets of his Estate, as well as, inter vivos and testamentary Trusts,.

       366. The Estate of Fred E. Rizk owned several partnerships, corporations and

limited liability companies, which owned several valuable real estate interests, which entities

or the Fred E. Rizk interests in them could have been readily distributed to the beneficiaries

in the excess of four years Defendant Mr. Gray has been involved as Executor of the Estate

of Fred E. Rizk. The subject Estate according to the 706 IRS return Defendant Mr. Gray

signed and filed on behalf of the Estate values the Estate in excess of $30,000,000USD.

Instead of making distributions in the excess of four years, Defendant Mr. Gray has been

administering the assets of this Estate in a reckless and destructive manner and he has opted

instead on a plan to sell off all the assets and to reduce the value of the Estate purposefully,

while he charges and incurs large amounts of attorneys’ fees for his law firm through these

unconscionable illegal transactions, to the damage to the property of the Rizk Plaintiffs and

the Indispensable Party Plaintiffs Rizk. These acts of omission and commission constitute


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fraud, breaches of fiduciary duties and fiduciary fraud, as well as, theft. These acts were

consummated in furtherance of the civil and criminal conspiracies, as well as, their

racketeering schemes.

        367. The various entities in the Fred E. Rizk Estate have paid out separately and

cumulatively some $500,000USD in attorneys’ fees for the unauthorized transactions to

Defendant Gray, Reed & McGraw, P.C. that that Defendant Mr. Gray has culminated in those

entities belonging to the Estate of Fred E. Rizk. The transactions that Defendant Mr. Gray has

engaged in and completed are all destructive of the intent of the testator and his estate plan,

as well as, ultimately the value of the property of the beneficiaries, Plaintiff Edward G. Rizk,

Plaintiff Max Rizk and the Indispensable Plaintiffs Rizk. For an example, there were three

Walgreens’ stores belonging to the Estate of Fred E. Rizk, all of which were quite lucrative,

well-structured and well planned. There were no management fees associated with the

Walgreen’s stores. Allan owner needed to do was deposit the income checks from these.

Defendant Mr. Gray has traded them at a loss for one income property on Washington in

Houston, Texas, which makes any distribution equally to the two testamentary trusts

problematic, thus creating more administrative expenses in the form of attorney’s fees to

Defendant Gray, Reed & McGraw, P.C.134 and property management fees. Defendant Mr.


134In lieu of an Executor’s fee, where he would have to seek Court approval, Defendant Mr. Gray has opted
on charging the Estate of Fred E. Rizk for his services as a lawyer at his hourly rate, which he then has
made payable to his law firm, Defendant Gray, Reed & McGraw, P.C. This is also quite unlawful, as it is
contrary to the Texas Estates Code and in fact Decedent Fred E. Rizk’s will. The attorneys’ fees that could


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Gray should have distributed one equally valued Walgreens store for the benefit of each of

the Decedent Fred E. Rizk’s three sons in the testamentary trusts as so established in Fred

E. Rizk’s will. These acts of omission and commission constitute fraud, breaches of fiduciary

duties and fiduciary fraud, as well as, theft. These acts were consummated in furtherance of

the civil and criminal conspiracies, as well as, their racketeering schemes.

       368. Defendant Mr. Gray as Executor for the Estate of Fred E Rizk has made three

claims against Plaintiff Edward G. Rizk personally totally in error. He has wrongly claimed

ownership of excess sewer capacity, which is and has been for some time in Plaintiff's name

and attached to Plaintiff's Harris County, Texas homestead. He has wrongly claimed

ownership of land in Jonestown, Texas, recently sold, which was owned by Village at

Northlake II, a partnership between James Quinn and Plaintiff Edward G. Rizk. He has also

claimed that Plaintiff Edward G. Rizk owes the estate in excess of $2,500,000USD, although

no note or agreement for Plaintiff to repay exists, nor was there any attempt by Plaintiff's late

father, Fred E. Rizk ever made to collect any money from Plaintiff during Plaintiff's late father,

Fred E. Rizk’s lifetime. To Plaintiff's personal knowledge, as Plaintiff is attesting to under oath

and the penalties of perjury herein, Defendant Mr. Gray has no legally binding documentation

of any of these claims, all of which are subject to the Statute of Frauds as hereinabove cited.

These acts of omission and commission constitute fraud, breaches of fiduciary duties and



be generated with such practices should exceed any Executor Fee that could have been charged under
Decedent Fred E. Rizk’s will.

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fiduciary fraud, as well as, theft. These acts were consummated in furtherance of the civil and

criminal conspiracies, as well as, their racketeering schemes.

       369. Defendant Mr. Gray's assertion that the Estate of Fred E. Rizk owned the utility

capacity, which he refers to through his counsel (A Member of Gray, Reed & McGraw, P.C.)

in Plaintiff's bankruptcy case as "water rights" and/or sometimes elsewhere as simply

"utilities", is completely unfounded, totally without any documentation, and also subject to the

Texas Statute of Frauds, as hereinabove cited. The utility capacity, which were in Plaintiff

Edward Rizk’s name, were originally purchased for a future project at the Plantation

Apartments in Houston, Harris County Texas, located on Sage Road north of Westheimer

Road, which was never built. The property was later sold, as was the property it was originally

transferred to, leaving no property in the service area, which is required by the City of Houston

for ownership of such utility capacity. As Plaintiff Edward G. Rizk’s late father, Fred E. Rizk

was no longer able to use or hold the utility capacity, rather than loose such, Fred E. Rizk

transferred the utility capacity to Plaintiff Edward G. Rizk as a gift, as he owned his

homesteaded residence within the same area of the service area. The utility capacity is part

of Plaintiff Edward G. Rizk’s personally owned homesteaded real property, which he held for

more than one year, therefore according to the hereinabove cited statute of frauds, Defendant

Mr. Gray would have to produce written documentation to the contrary to perfect his false

claim on the utility capacity, which he simply will be and is totally unable to do. These acts of

omission and commission constitute fraud, breaches of fiduciary duties and fiduciary fraud,


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as well as, theft. These acts were consummated in furtherance of the civil and criminal

conspiracies, as well as, their racketeering schemes.

       370. Defendant Mr. Gray's claim to the land, sold in Jonestown, Travis County,

Texas, known as Village at Northlake II, is likewise erroneous, not legally documented, and

based solely on an e-mail, which was part and parcel of a larger negotiation between

Defendant Mr. Gray and Plaintiff, which broke down. This property was bought by the

referenced partnership with money originally intended to be a contribution to the partnership,

but the partnership was never agreed to by the principals. A subsequent proposal to convert

the investment to a loan, due to changing economic and business conditions was unworkable,

due to the fact that without the late Fred E. Rizk’s financial backing, the project could not be

finished and a sale of the land would not pay for the unused soft costs and carrying costs.

Lacking a workable solution, Plaintiff Edward G. Rizk's late father, Fred E. Rizk walked away

effectively and gave the land to the partnership. At no time was any document signed between

Plaintiff Edward G. Rizk's late father, Fred E. Rizk and Plaintiff Edward G. Rizk, as that deal

was constantly changing. The only document Defendant Mr. Gray has evidencing the any

ownership in the subject land is an e-mail sent from Plaintiff Edward G. Rizk's attorney after

a discussion about a settlement of the larger issues, which would have no effect in any case

as it was unsigned by anyone in control of the partnership, which owned the land, Village at

Northlake II. Certainly, according to Defendant Mr. Gary there was no consideration for the

ownership during Plaintiff Edward G. Rizk's late father, Fred E. Rizk’s life, as Defendant Mr.

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Gray continued and continues to refer to every dollar spent on the property as an

undocumented debt that Plaintiff Edward G. Rizk         somehow owes, again contrary to the

hereinabove cited Texas Statute of Frauds.

       371. Defendant Mr. Gray’s claim against Plaintiff Edward G. Rizk for a debt of over

$2,500,000USD, including every dollar ever transferred to Plaintiff Edward G. Rizk by

Plaintiff's late father, Fred E. Rizk or any entity controlled by him has no basis in law or fact.

These claims are in conflict with his claim to own as Executor for the Estate of Fred E. Rizk

half of the land known as Village at Northlake II, are not based on any facts surrounding the

circumstances of those transfers of funds, and without any form of documentation that would

meet the requirements of the hereinabove cited Texas Statute of Frauds or any legal

requirement creating any debt. The largest percentage of the money claimed by Defendant

Mr. Gray as a portion of Plaintiff Edward G. Rizk’s purported debt was used for the land he

claimed an equity interest in, so the same money transfers Defendant Mr. Gray has now

claimed against Plaintiff Edward G. Rizk personally twice in two completely undocumented

erroneous scenarios. Other money Plaintiff Edward G. Rizk's late father, Fred E. Rizk

transferred to Plaintiff Edward G. Rizk Plaintiff used to pay debt service and taxes on two

adjacent properties, which Plaintiff Edward G. Rizk's late father, Fred E. Rizk solely owned,

as well as, for due diligence and design work on several projects Plaintiff Edward G. Rizk's

late father, Fred E. Rizk and Plaintiff Edward G. Rizk considered, many of which were Plaintiff

Edward G. Rizk's late father, Fred E. Rizk's idea. Plaintiff Edward G. Rizk never signed any

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document, which would have created a debt, as required by the hereinabove cited Texas

Statute of Frauds, nor was any document ever presented to Plaintiff Edward G. Rizk to sign.

Simply put, Defendant Mr. Gray’s claim against Plaintiff Edward G. Rizk for any debt has no

basis in fact or law. These acts of omission and commission by Defendant Mr. Gray constitute

fraud, breaches of fiduciary duties and fiduciary fraud, as well as, theft. These acts were

consummated in furtherance of the civil and criminal conspiracies, as well as, their

racketeering schemes.

        372. Even after Defendant Judge Loyd Wright had granted three lengthy extensions

for Defendant Mr. Gray to file the Inventory, Appraisement and List of Claims in Probate Court

1 case No. 408941,135 Defendant Mr. Gray failed to do so. As a direct result of the failure to

file the Inventory, Appraisement and List of Claims, Defendant Judge Loyd Wright revoked

Defendant Mr. Grays Letters of Administration to act as Executor on 26 August 2013 and

entered an Order of Termination of Issuance of Letters & Drop Order, following the then Texas

Probate Code then in effect.

        373. In following, Plaintiff Edward G. Rizk on 11 September 2013 filed a Verified

Petition Against the Personal Representative of the Estate of Fred E. Rizk which contained a

motion prayer pursuant to TEXAS RULES OF CIVIL PROCEDURE 165A AND 306 to

reinstate the Decedent’s probate case. The same day, Plaintiff Edward G. Rizk filed an


135Plaintiff Edward G. Rizk hereby incorporates herein its entirety the Probate Court 1 case file for case No.
408941 for all purposes.

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Application to appoint him as a successor administrator, as he was in the line for such

pursuant to the Fred E. Rizk will. Plaintiff duly served both of these instruments on Defendant

Mr. Gray.

       374. The next day on 12 September 2013 Defendant Mr. Gray caused his law

partner Defendant Mr. Royce to file a verified Inventory, Appraisement and List of Claims in

Probate Case No. 408941, out of time.

       375. Without any Notice and without a hearing, as required by the then effective

Texas Probate Code, as well as, what due process and due course require and required at

that time, Defendant Judge Loyd Wright on 13 September 2013 entered an Order Reinstating

Probate Court 1 case No. 408941, reinstating Defendant Mr. Gray as Independent Executor

without bond and issued to Defendant Mr. Gray new letters of administration. The same day,

Defendant Judge Loyd Wright entered an order approving Defendant Mr. Gray’s Verified

Inventory, Appraisement and List of Claims. These acts were consummated in furtherance of

the civil and criminal conspiracies, as well as, their racketeering schemes. These acts

represent acts of official oppression. These acts of omission and commission reflect serial

breaches of fiduciary duties, as well as, violations of the Texas Penal Code in regard to

fiduciary fraud and in tampering with government documents.

       376. Defendant Mr. Gray’s filed executed and verified Inventory, Appraisement and

List of Claims, accepted so summarily by Defendant Judge Loyd Wright is incomplete,

contains false statements and prevarications, as well as, was not in keeping of the

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requirements of then effective Texas Probate Code in those regards. Since there was no

notice nor hearing in that regard Plaintiff Edward G. Rizk was foreclosed thereto from offering

any objection. These acts were consummated in furtherance of the civil and criminal

conspiracies, as well as, their racketeering schemes. These acts represent acts of official

oppression. These acts of omission and commission reflect serial breaches of fiduciary duties,

as well as, violations of the Texas Penal Code in regard to fiduciary fraud and in tampering

with government documents.

       377. Plaintiff Edward G. Rizk filed in Probate Court 1 case No. 408941 on 17

September 2013 a Verified Amended Application for Appointment of successor personal

administrator of Fred E. Rizk will and first codicil, as well as, for issuance of new letters

testamentary.

       378. Plaintiff Edward G. Rizk in Probate Court 1 case No. 408941 on 17 September

2013 a motion pursuant to Texas Probate Code § 149C for a rule to show cause as to why

Probate Court 1 should not remove Defendant Mr. Gray as Independent Executor of the

Estate of Fred E. Rizk. On the same day, Plaintiff Edward G. Rizk filed an Application Petition

for an accounting and for distribution of the Estate of Fred E. Rizk. On the same day, Plaintiff

Edward G. Rizk filed a motion for clarification as to why the Defendant Judge Loyd Wright

had conducted the proceedings contrary to Plaintiff Edward G. Rizk’s due process and due

course rights, as well as, for the Court’s vacation of the Court’s Order reinstating Defendant

Mr. Gray as Independent Executor of the Estate of Fred E. Rizk. Defendant Judge Loyd

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Wright entered an Order on 10 October 2013 for Defendant Mr. Gray to show cause as

requested returnable for hearing on 21 November 2013 at 2:00 p.m.

       379. Defendant Judge Loyd Wright held the hearing on the rule to show cause on

21 November 2013 at which time he deferred the issue of the removal of Defendant Mr. Gray

as Independent Executor of the Estate of Fred E. Rizk and ordered an accounting for the

Estate of Fred E. Rizk. These acts were consummated in furtherance of the civil and criminal

conspiracies, as well as, their racketeering schemes. The act of deferring the removal hearing

represent an act of official oppression and is a RICO predicate act. These acts of omission

and commission reflect serial breaches of fiduciary duties, as well as, violations of the Texas

Penal Code in regard to fiduciary fraud and in tampering with government documents.

       380. On 14 January 2014 Defendant Judge Wright entered a formal Order regarding

the deferral of the issue of removal of Defendant Mr. Gray and Ordered an accounting to be

due on 20 February 2014. These acts were consummated in furtherance of the civil and

criminal conspiracies, as well as, their racketeering schemes. The act of deferring the removal

hearing represent an act of official oppression and is a RICO predicate act. These acts of

omission and commission reflect serial breaches of fiduciary duties, as well as, violations of

the Texas Penal Code in regard to fiduciary fraud and in tampering with government

documents.

       381. On 16 October 2013 Plaintiff Edward G. Counsel served a Notice of Deposition

and subpoena duces tecum on Mr. Travis Griffin and a copy on Defendant Mr. MacIntyre,

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Defendant Mr. Gray’s counsel, Defendant Mr. Royce.

       382. On 18 2013 Defendant Mr. MacIntyre and Defendant MacIntyre, McCulloch,

Stanfield & Young, P.C. formally entered their appearance as legal counsel for Defendant Mr.

Gray as Executor of the Estate of Fred E. Rizk.

       383. The same day, 18 October 2013 Defendant Mr. MacIntyre filed a motion to

quash the Deposition of Travis Griffin. A Notice of Hearing for 21 November 2013 at 2:00 p.m.

issued on the Defendant Mr. MacIntyre’s motion to quash the Deposition of Travis Griffin and

was served on the parties. Plaintiff Edward G. Rizk filed and served a Response in opposition

to Defendant Mr. Gray’s Motion to Quash on 15 November 2013. The Court held the hearing

on 21 November 2013 at 2:00 p.m. and then later granted the Motion. There is no order of

Record. The Texas Rule of Civil Procedure 199.4 and case law preclude a party from

asserting rights to depose an individual so long as there is a Motion to Quash if there is “…an

objection to the time and place of a deposition [sic.which] stays the oral deposition until the

motion can be determined…”. As there was no Order there was no determination and the

deposition was stayed. Supposedly Mr. Griffin had some information regarding how

Defendant Mr. Gray had violated his fiduciary duties, as Mr. Griffin had sold some life

insurance to Decedent Fred E. Rizk, the proceeds on death of which all was paid to

Indispensable Party Plaintiff Sylvia Rizk, in the amount of some $4,000,000USD, which policy

had belonged to an insurance trust established by then living Decedent Fred E. Rizk. Mr.

Griffin was and is related to Indispensable Party Plaintiff Sylvia Rizk. In following when


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another date was being arranged for this Deposition, Mr. Griffin he was uncooperative

concerning furnishing dates and then became non-responsive to entreaties and telephone

calls. Mr. Griffin lived beyond the two-hundred-mile subpoena distance of the Harris County

Texas Courthouse. Defendant Mr. Gray must have influenced Mr. Griffin is some way to be

uncooperative. These acts were consummated in furtherance of the civil and criminal

conspiracies, as well as, their racketeering schemes. These acts represent acts of official

oppression. These acts of omission and commission reflect serial breaches of fiduciary duties,

as well as, violations of the Texas Penal Code in regard to fiduciary fraud and in tampering

with government documents. The Supreme Court of Texas has stressed that discovery is to

be liberally allowed, yet Defendant Judge Loyd Wright has allowed Defendant Mr. Gray and

Defendant Mr. MacIntyre to thwart Plaintiff Edward G. Rizk from conducting discovery.136

        384. On 13 December 2013 Don Looper, Esquire of the law firm then Looper, Reed

& McGraw, P.C. addressed an email to Defendant herein J. Cary Gray and at that firm its

CEO as of that time.137 On the second page of that email is contained the following statement:

        “… I have supported your long term vision as the Firm financed Ronnie and Mary Jo
        for years, followed by large write offs, then Fred Rizk for years, and I continue to
        do so because I support you as my partner, understanding that we will
        eventually get paid by the estate. But having an additional $1.6 or Sl.8 million
        to distribute this year might be the difference to calm any take-home
        concerns…”


136Texas Rule of Civil Procedure 166b(3)(e).
137Exhibit “35”, a copy of which hereto is attached, which Plaintiff Edward G. Rizk does hereby incorporate
herein its entireties for all purposes.

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Plaintiff Edward G. Rizk certainly had a right to inquire concerning this email and what Mr.

Looper knew about Defendant Mr. Gray’s handling of the Estate of Fred E. Rizk and the

various Rizk trusts.

        385. Plaintiff Noticed the deposition of Mr. Looper on 24 March 2015. Almost

immediately Defendant Mr. Gray through Defendant Mr. MacIntyre138 moved to quash this

deposition as well. Plaintiff Edward G. Rizk filed a Response in Opposition.139 Defendant Mr.

MacIntyre set the Motion to Quash for 9 April 2015. Defendant Judge Loyd Wright presided

over that hearing for which there is a transcript.140 Offering absolutely no explanation,

Defendant Judge Loyd Wright enters an Order on 15 April 2015 as usual with no explanation,

as submitted by Defendant Mr. MacIntyre.141

        386. In Jordan v. Court of Appeals for Fourth Supreme Judicial Dist.,142 the

Supreme Court of Texas adroitly and succinctly stated: “…Privileges contravene ‘the

fundamental principle that 'the public . . . has a right to every man's evidence.'’143 Although


138 Exhibit “36”, a copy of which hereto is attached, which Plaintiff Edward G. Rizk does hereby incorporate
herein its entireties for all purposes.
139 Exhibit “37”, a copy of which hereto is attached, which Plaintiff Edward G. Rizk does hereby incorporate

herein its entireties for all purposes.
140 A Transcript is available.
141 Exhibit “38”, a copy of which hereto is attached, which Plaintiff Edward G. Rizk does hereby incorporate

herein its entireties for all purposes.
142 701 S.W.2d 644, 1985 Tex. LEXIS 1500, 29 Tex. Sup. Ct. J. 67.

143Trammel v. United States, 445 U.S. 40, 50, 100 S. Ct. 906, 63 L. Ed. 2d 186 (1980) (quoting United
States v. Bryan, 339 U.S. 323, 331, 70 S. Ct. 724, 94 L. Ed. 884 (1950)).


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exempting from discovery ‘any matter protected from disclosure by privilege,144 our rules of

civil procedure encourage and permit liberal discovery practices, even including information

‘reasonably calculated to lead to the discovery of admissible evidence….”145 Once again

Defendant Judge Loyd Wright precluded without reason Plaintiff Edward G. Rizk to engage

liberally in discovery, where some $1,800,000USD in his father’s Estate was at stake. These

acts were consummated in furtherance of the civil and criminal conspiracies, as well as, their

racketeering schemes. These acts represent acts of official oppression. These acts of

omission and commission reflect serial breaches of fiduciary duties, as well as, violations of

the Texas Penal Code in regard to fiduciary fraud and in tampering with government

documents.

        387. On 17 July 2014 Plaintiff Edward G. Rizk filed an Amended Petition to inter

alios remove Defendant from acting further as Executor and Trustee.146

        388. Defendant Rizk Interests, Ltd. is listed on the Inventory, Appraisement and

Claims List for the Estate of Fred E. Rizk, as an asset of the Estate of Fred E. Rizk, in the

Estate's federal estate tax return, as well as, in the March 2014 so called Accounting that

Defendant Mr. Gray has served upon Plaintiff Edward G. Rizk.

        389. Defendant Mr. Gray as the President of Defendant Rizk Interests, Ltd. on behalf



144 Tex. R. Civ. P. 166b(3)(e).
145 Tex. R. Civ. P. 166b(2)(a).
146 Exhibit “39”, a copy of which hereto is attached, which Plaintiff Edward G. Rizk does hereby incorporate

herein its entireties for all purposes.

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of Rizk Interests, Ltd. has acted since shortly after the issuance of his Letters of

Administration, as the President of Rizk Interests, Ltd, as well as, as the CEO, Managing

Partner or President head of all of the Entities owned by the Estate of Fred E. Rizk.

       390. Defendant Mr. Gray has also assumed similar control as he assumed over Rizk

Interests, Ltd over all of the entities, in which the late Fred E. Rizk had an interest at the date

of his death.

       391. Plaintiff Edward G. Rizk is the natural son of his father, the late Fred E. Rizk,

the Decedent, and is the beneficiary of many of the referenced inter vivos trusts, as well as,

a co-trustee and beneficiary of one of the referenced Testamentary Trusts with its six

Amendments, which Fred E. Risk respectively created during his life time and through his

referenced will.

       392. Plaintiff Mr. Rizk is also named as co-trustee with Defendant J. Cary Gray of

the Testamentary Trust created in the will of the late Fred E. Rizk that Harris County Probate

Court 1 currently is probating in this case, which Testamentary Trust was solely for Plaintiff's

and his progenies, Plaintiff Max Rizk herein and Indispensable Party Plaintiff Edward Elias

Risk's benefit.

       393. Plaintiff was at all times relevant hereto and is the beneficiary of inter vivos trust

the late Fred E. Rizk created in his lifetime referenced herein, where Defendant Mr. Gray is

now acting as the sole Trustee.



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        394. Plaintiff Edward G. Rizk is an individual domiciled residing at or having his

principal place of business at Houston, Harris County, Texas. Plaintiff is a person interested

in the estate, because he is an heir and a devisee of Decedent, as well as, a beneficiary and

co-trustee of one of the referenced Testamentary Trusts with its six Amendments, as well as,

a beneficiary of at least one of the other inter vivos trusts created by Fred E. Rizk during his

lifetime.

        395.   Defendant Mr. Gray refused to pay the specific bequests enunciated in the Will

and First Codicil of the late Fred E. Rizk herein referenced, as so named Legatees and

Beneficiaries of the Estate of the Late Fred E. Rizk, until Plaintiff Edward G. Rizk added them

as Indispensable Party Plaintiffs pursuant to Texas Rule of Civil Procedure 39 to his amended

Petition hereinabove referenced. Even then it took Defendant Mr. Gray a protracted period of

time of some two years to pay them their specific bequests, when there had been abundant

funds available in the Estate of Fred E. Rizk to pay them much sooner.

        396.   Defendant J. Cary Gray filed both instruments herein referenced with his

original Application opening the Fred E. Rizk probate case before Harris County Probate

Court l, the subject of the hereinabove referenced Amended Petition. This reference hereby

incorporates the original of the Fred E. Rizk Last Will and Testament, as well as, the

Decedent's First Codicil, attached to the original application in the Probate Case No. 408941,

herein their entireties. Defendant Mr. Gray at no time, however, has filed the Testamentary

Trusts with their six Amendments with Harris county Probate Court 1. Plaintiff Edward G. Rizk

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has filed the trust instruments with Harris County Probate Court 1 in case No. 408941.

Defendant Mr. Gray has not funded the trust as called for in the Will. Defendant Mr. Gray also

transferred the assets from the Fred E. Rizk family trust into the Estate of Fred E. Rizk for

inexplicable reasons.

        397. Defendant Mr. Gray as a licensed Texas lawyer had represented the Decedent

Fred E. Rizk, the Estate of Fred E. Rizk, the Plaintiff Edward G. Rizk, most of the entities of

the Estate of Fred E. Rizk listed as assets in the Inventory, Appraisement and List of Claims

Defendant Mr. Gray also finally filed in the Harris County Probate 1 case, in the Estate of Fred

E. Rizk case No. 408941 the federal IRS Form 706 tax return for that Estate, together with a

March 2014 so called incomplete accounting, which he then served upon Plaintiff Edward G.

Rizk, acting then as the Independent Executor of the Estate of Fred E. Rizk.

        398.     As the independent Executor of the Estate of Fred E. Rizk and as a licensed

attorney, who was the managing partner previously of the law firm, Looper, Reed & McGraw,

P.C., as well as, is now of that hereto before referenced law firm successor, Gray, Reed &

McGraw, P.C., both of which law firms have represented the referenced Estate of Fred E.

Rizk as legal counsel or Defendant Mr. Gray as Independent Executor of the Estate of Fred

E. Rizk,147 Defendant Mr. Gary is and has been a fiduciary, as a matter of law.


147 It is not clear and there is some confusion of the role these law firms have each played in their
representation as legal counsel, as well as, the role as legal counsel Defendant J. Cary Gray individually has
played. Please see the attached letter from Defendant herein Joseph Royce, Esquire, a partner in the law


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        399. As co-trustee of the referenced Testamentary Trusts created by Fred E. Rizk's

Will and 1st Codicil, as well as, as a licensed attorney, who was the managing partner of the

previous law firm, Looper, Reed & McGraw, P.C., as well as, is now of that hereto before

referenced law firm successor, Gray , Reed & McGraw, P.C., both of which law firms have

represented the referenced Estate of Fred E. Rizk, as well as, Defendant Mr. Gray as

Independent Executor of the Estate of Fred E. Rizk as legal counsel, Defendant Mr. Gary is

and has been a fiduciary, as a matter of law.

        400. Mr. Gray as a fiduciary owed and owes fiduciary duties to the referenced Estate

of Fred E. Rizk, the legatees and beneficiaries of the estate of Fred E. Rizk, the beneficiaries

of the referenced inter vivos trusts, for which trusts Defendant Mr. Gray is and has been, as

well as, has acted as the Trustee, as well as, to the beneficiaries of the referenced

Testamentary Trusts, where he is named and has acted as co-trustee, since Mr. Fred E.

Rizk's death, as a matter of law.

        401. Defendant Mr. Gray has serially breached his fiduciary duties in the following

manner, inter also:

        a.      Defendant Mr. Gray has failed to submit accurate inventories of the property of




firms to Plaintiff Edward G. Rizk, which Plaintiff Edward G. Rizk attaches hereto marked as Exhibit "40",
which Plaintiff Edward G. Rizk does hereby incorporate herein its entireties, as well as, other correspondence
from this individual marked as Exhibit "41" hereto as attached, which Plaintiff Edward G. Rizk does hereby
also incorporate herein its entireties. Plaintiff requests that this Court compare, accord and scrutinize this
correspondence.

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the Estate of Fred E. Rizk, an accurate appraisement of the value of the property of the Estate

of Fred E. Rizk and an accurate list of claims owed by the Estate of Fred E. Rizk in this probate

case, since his qualification for the referenced Estate of Fred E. Rizk and since Plaintiff

Edward G. Rizk first called upon him to do so, in that interested party's Applications, Motions

and Original Petition filed in the hereinabove referenced Estate of Fred E. Rizk case.

Aforesaid actions by Defendant Mr. Gray conclusively show that he has prevaricated under

oath to Probate Court 1 in his 13 September 2013 Inventory, Appraisement and List of Claims

filed in Harris County Probate Court l in case No. 408941.

       b.     Defendant Mr. Gray settled the case brought by Mr. Artie Tripoli, which case

was against the Villas at Hyde Park, L.L.C., an asset of the estate of Fred E. Rizk, as

hereinabove referenced, when he had the valid and unbeatable defense of the Statute of

Frauds, which defense he even pled as such in that case in his Answer and General Denial.

There are witnesses to whom Defendant Mr. Gray has and has had access, as well as,

evidence in Defendant Mr. Gray's possession, custody and/or control that would prove that

the late Fred E. Rizk before his death had already paid Mr. Tripoli for the claims he asserted

in his referenced lawsuit against the Estate of Fred E. Rizk and Hyde Park, Ltd. Defendant

Mr. Gray has known about both the referenced witnesses and evidence for some time.

       402. Defendant Mr. Gray failed to investigate adequately whether or not the late

Fred E. Rizk had already paid Mr. Tripoli for the claims Mr. Tripoli sued upon in his referenced

lawsuit against the Estate of Fred E. Rizk or Defendant Mr. Gray would have been able to

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readily ascertain that the late Fred E. Rizk probably had already paid Mr. Tripoli's referenced

claims, before Defendant Mr. Gray again paid those same claims a second time to the tune

of over $1,000,000USD, including attorneys’ fees.

       403. These referenced and obvious breaches of Defendant Mr. Gray's fiduciary

duties he owed and owes to the Estate of Fred Estate, as well as, to that Estate's

beneficiaries, Indispensable Party Plaintiffs Mr. Rex Robinson Rizk, Mr. Randall Reed Rizk,

Edward Elias Rizk and Mrs. Sylvia Rizk, and to Plaintiffs Edward G. Rizk and Mr. Max Rizk is

made absolutely even more egregious because of Defendant Mr. Gray's continued refusal

after more than four and one half years after qualifying as Independent Executor of the Estate

of Fred E. Rizk to distribute any significant assets to the beneficiaries now herein above

named as herein indispensable Party Plaintiffs and Plaintiffs.

       c.       Defendant Mr. Gray has failed to formally disclose in any papers relating to the

Fred E. Rizk estate the nature and extent of his personal, separate interest in a project known

as Semi Valley, which he, as Independent Executor of the Fred E. Rizk estate has listed as

an asset of this estate in his Inventory, Appraisement and List of Claims, as well as, in the

federal IRS form 706 estate tax return he signed as Independent Executor of the Estate of

Fred E. Rizk and in which entity the Estate of Fred E. Rizk owns a significant interest.

Defendant Mr. Gray has exercised total sole dominion over that entity and the interest in it

owned by the Estate of Fred E. Rizk, since becoming Independent Executor of the Estate of

Fred E. Rizk.

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        404. Mr. Gray, as the independent Executor of the Estate of Fred E. Rizk has

repeatedly hired and used his own law firm(s) to do legal work for this Estate of Fred E. Rizk,

or for the entities listed in which the Estate of Fred E. Rizk owns an interest, or for him as

Independent Executor of the Estate of Fred E. Rizk, including in the Harris County Probate 1

proceedings, when members of that firm now claim and have claimed in writing that Looper,

Reed & McGraw, P.C., now Defendant Gray, Reed & McGraw, P.C. has not and at the point

of one letter did not represent the Fred E. Rizk estate.148

        d.      Harris County Probate Court 1 on 12 December 2013 Ordered that Defendant

Mr. Gray was to serve an accurate and full accounting of his independent administration of

the Estate of Fred E. Rizk upon Plaintiff Edward G. Rizk, an interested party within ninety (90)

days of that Order.149 On or about 3 March 2014 the Independent Executor of the Estate of

Fred E. Rizk served a supposed, purported complete accounting as he purported then and

now continues to purport was and is in keeping and in compliance with this Court's 12

December 2014 Order150 and Texas law, when it does not.

        405. After a review of aforesaid 3 March 2014 so called accounting, Plaintiff Edward

G. Rizk retained the services of Mr. William B. Stewart, Junior, C.P.A., A.B.V., C.F.F., C.V.A.,



148 Please accord hereto Exhibit “42”.
149 Plaintiff Edward G. Rizk does hereby incorporate in its entireties aforesaid and referenced 12 December
2013 Court Order herein Exhibit “43”.
150 Plaintiff Edward G. Rizk does hereby incorporate in its entireties aforesaid and referenced 3 March 2013

so called Accounting.


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C.F.E. and Mr. Ralph Burda C.P.A. of the forensic accounting firm of Stewart McLean

Consultants, L.L.C.151 to examine carefully the Inventory, Appraisement and List of Claims,

the referenced 3 March 2014 so called accounting, as well as, the IRS form 706 estate tax

return, as well as, then to act as expert witnesses to Harris County Probate Court 1 in those

regards, as well as, to prepare and publish to Plaintiff Edward G. Rizk, indispensable parties

Plaintiff, Defendant Mr. Gray and Probate Court 1 a preliminary report and then a final report

to be filed with this Court.152 In summary, according to the Stewart Preliminary Report it

appears that:


              "... On February 27, 2014, Mr. Gray, as Independent Executor of the Estate of
        Fred E. Rizk, Deceased, in a sworn statement did state that he had read the Estate
        Accounting and that the information provided in such Accounting was within his
        personal knowledge, and true and correct.

        The INDEPENDENT EXECUTOR’S ACCOUNTING FOR THE ESTATE OF FRED E.
        RIZK was delivered to Mr. Donald Cheatham, Attorney for Edward G. Rizk. Mr. Edward
        G. Rizk is the son of the late Fred E. Rizk and is an heir of the estate of Fred E. Rizk
        as well as a beneficiary of the Decedent’s Testamentary Trust, as well as other trusts
        created by Fred E. Rizk during his lifetime.

        Mr. Gray, Independent Executor, Trustee and President




151Hereinafter     referenced as "Stewart". Contact information for Stewart is as follows:
7887 San Felipe Road, Suite 122, Houston, Texas 77063, 713-974-2928 Telephone, 713-598-5441
Telecopier Facsimile, as well as, email for Mr. Stewart: bstewart@stewart-mcclean.com and for Mr. Burda:
rburda@wbsrewartjr.com.
152 Plaintiff has filed with Harris County Probate Court 1 in case No. 408941 contemporaneously with the

Amended Petition a formal Designation of Experts pursuant to applicable law and Texas Rule of Civil
Procedure 190.4, where inter alia he attached a copy of the 1 July 2014 Stewart Preliminary Report, which
designation and its attachments Plaintiff Edward G. Rizk hereby incorporates herein its entireties.

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  Mr. Gray, as Independent Executor of the Estate of Fred E. Rizk, as Trustee of various
  Trusts created by Mr. Fred E. Rizk, and as President of Rizk Interests Ltd. and Other
  Rizk operating entities is responsible for the accounting and record keeping for:

     1. The Estate of Fred E. Rizk.
     2. Fred E. Rizk Testamentary Trust and other Trusts created by Fred E. Rizk prior
        to death.
     3. Rizk Interests, Ltd. and other Rizk operating entities and related investments.

  Accounting for the Estate of Fred E. Rizk

  Based on what has been provided and our review thereof, it is difficult to determine
  the financial nature and status of the entities listed above. More specifically:

  The accounting submitted by Mr. Gray lacks basic financial statements, most
  importantly a cash receipts and disbursements statement and a balance sheet. The
  accounting provides copies of a Northern Bank Trust account for the Estate, but does
  not include copies of the items making up the deposits or copies of the checks written
  or debits charged against the bank account.

  The accounting provides monthly copies of the general ledger for the Estate of Fred
  E. Rizk; however, the support for the general ledger entries is lacking and no balance
  sheet, income statement or source and use of funds statements for a month end or a
  quarterly period or an annual period is provided.

  The accounting provides exhibits reflecting Total Receipts and Total Distributions by
  month for November, 2011 through December, 2013; however, many of these receipts
  and distributions are not supported by copies of checks received and distributed nor
  are the transactions reflected in the copies of the bank statements provided in the
  accounting. As an example in June, 2013 the accounting reported total receipts of
  $60,438.03 and total distributions in June, 2013 of $204,330.75; however, the bank
  statements and other financial institution statements provided in the accounting do not
  reflect any activity of this magnitude.

  Accounting for the Rizk Entities and Trusts

  No financial statements and supporting documents have been provided to Mr.
  Edward G. Rizk or his representatives for all Rizk entities and Rizk Trusts by Mr.



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  Gray, who serves as President of Rizk Interests, Ltd. and as Trustee of the various
  trusts created by Mr. Fred E. Rizk prior to his death.

  Other Items and Requests for Production

     1. Request to be provided with the contract between Mr. J. Cary Gray as
        Independent Executor of the Estate of Fred E. Rizk and the law firm of Gray,
        Reed & McGraw or Looper, Reed and McGraw.
     2. Request to be provided with all of Mr. Gray’s billings as Executor of the Estate
        of Fred E. Rizk.
     3. Request to be provided with all detailed billing statements from Gray, Reed &
        McGraw and Looper, Reed & McGraw for services provided to the Estate of
        Fred E. Rizk; to J. Cary Gray as Independent Executor of the Estate of Fred E.
        Rizk; and, all detailed billings from J. Cary Gray, Looper, Reed & McGraw and
        Gray, Reed & McGraw related to all Rizk Trusts and Rizk entities.
     4. Request all discovery, workpapers and correspondence filed in the $600,000
        Settlement involving the Estate and Hyde Park LLC.
     5. Request all discovery, workpapers and correspondence pursuant to the proof
        of claim against Edward G. Rizk for $1,760,000 by the Estate of Fred E. Rizk.
     6. Request all discovery, workpapers and correspondence pursuant to the proof
        of claim against Edward E. Rizk for $2,500,000 by the Estate of Fred E. Rizk.
     7. Request all discovery and correspondence pursuant to the $1,000,000 Estate
        of Fred E. Rizk claim against Abdul & Malk Fustol.
     8. Request all Tax Returns and Financial Statements (balance sheets, income
        statements and source and uses of funds statements) and detail thereof for all
        Rizk Entities in the Estate of Fred E. Rizk and/or Trusts in which Edward G.
        Rizk is a beneficiary for the period November, 2011 to present.
     9. Request a detail accounting of all proceeds received from all Life Insurance
        Policies insuring the life of Mr. Fred E. Rizk and a detailed accounting of the
        distribution of the proceeds.
     10. Request a reconciliation of all assets and liabilities as reported or listed in:




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          a. The United States Estate (and Generation-Skipping Transfer) Tax Return
             (Form 706) of the Estate of Fred E. Rizk filed on or about February 1, 2013,
             with
          b. The Inventory, Appraisement, and List of Claims for the Estate of Fred E. Rizk
             as filed in Probate Court No. 1 of Harris County, Texas on or about September
             12, 2013, and with
          c. The Independent Executor’s Accounting for the Estate of Fred E. Rizk as filed
             in Probate Court No. 1 of Harris County, Texas on or about March 3, 2014.

          Fiduciary Provisions of the Last Will and Testament of Fred E. Rizk

          Article 6.2 of the Last Will and Testament of Fred E. Rizk states:

          All assets, books of account and records my estate and of each trust shall be
          subject to the exclusive custody and control of my Executor. All such books of
          account and records shall be available for inspection at all times during business
          hours by any fiduciary under my Will, by any beneficiary, or by any person or
          persons designated by any one of them."

              e.     Sufficient grounds appear to support the belief that Defendant Mr. Gray

has misapplied and that he is about to further misapply all or part of the property committed

to his care as Independent Executor or as trustee or as co-trustee.

              f.     Mr. Gray, as Independent Executor of the Estate of Fred E. Rizk has

failed to make any significant distribution of the assets of the estate, as mandated by the

referenced Fred E. Rizk Will, during which period of time he, however, has paid from the Fred

E. Rizk Estate's funds (or from entities owned by the Estate of Fred E. Rizk's funds) millions

of dollars to his law firm for purported legitimate legal fees, while never disclosing in any

itemized statement to the Fred E. Rizk estate's legatees or beneficiaries the bases for those

legal fees. And,


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                  g.       Mr. Gray has wasted the assets of the Estate of Fred E. Rizk.153

         406. These acts were consummated in furtherance of the civil and criminal

conspiracies, as well as, their racketeering schemes. These acts represent acts of official

oppression. These acts of omission and commission reflect serial breaches of fiduciary duties,

as well as, violations of the Texas Penal Code in regard to fiduciary fraud and in tampering

with government documents.

         407. Plaintiff Edward G. Rizk on 28 August 2014 filed a Petition in Probate Court 1

for Declaratory relief, which was designated as case No. 408941-3.154




153 "Tex. Prop. Code § 116.004. Fiduciary Duties; General Principles
(a) In allocating receipts and disbursements to or between principal and income, and with respect to any
matter within the scope of Subchapters B and C, a fiduciary:
          (1) shall administer a trust or estate in accordance with the terms of the trust or the will, even if there
is a different provision in this chapter;
          (2) may administer a trust or estate by the exercise of a discretionary power of administration given
to the fiduciary by the terms of the trust or the will, even if the exercise of the power produces a result different
from a result required or permitted by this chapter;
          (3) shall administer a trust or estate in accordance with this chapter if the terms of the trust or the will
do not contain a different provision or do not give the fiduciary a discretionary power of administration; and
          (4) shall add a receipt or charge a disbursement to principal to the extent that the terms of the trust
and this chapter do not provide a rule for allocating the receipt or disbursement to or between principal and
income.
(b) In exercising the power to adjust under Section 116.005(a) or a discretionary power of administration
regarding a matter within the scope of this chapter, whether granted by the terms of a trust, a will, or this
chapter, a fiduciary shall administer a trust or estate impartially, based on what is fair and reasonable to all
of the beneficiaries, except to the extent that the terms of the trust or the will clearly manifest an intention that
the fiduciary shall or may favor one or more of the beneficiaries. A determination in accordance with this
chapter is presumed to be fair and reasonable to all of the beneficiaries."
154 Plaintiff Edward G. Rizk does hereby incorporate herein its entireties the case file for Probate Court 1

case No. 408941-3.


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        408. Plaintiff Edward G. Rizk sought in the Declaratory action to have Probate Court

1 determine whether or not he owed his late father’s Estate any of the sums of money that

Defendant Mr. Gray claimed he owed and whether or not he owned the sewage access rights.

To those ends he filed No-Evidence and Traditional Motions for Summary Judgment on 9

December 2014.

        409. The legal base for the Motions for Summary Judgment were as follows:

                         a. Loan as a Contract

        a.       The elements of a breach of contract claim are:
        (1) a valid contract existed;
        (2) the plaintiff performed or tendered performance;
        (3) the defendant breached the contract; and,
        (4) the plaintiff was damaged as a result of the breach.155

Whether a particular agreement constitutes a valid contract is generally a question of law.156

        A valid contract is formed by an offer, an acceptance, a meeting of the minds, each
party's consent to the terms, and, in the case of a written contract, execution and delivery of
the contract with the intent that it be mutual and binding.157 However, if an alleged agreement
is so indefinite such it is impossible for a court to fix the legal obligations and liabilities of the
parties, the agreement cannot constitute an enforceable contract.158

155 Hussong v. Schwan's Sales Enters., Inc., 896 S.W.2d 320, 326 (Tex. App. Dist. 1 --Houston 1995, no
writ).
156 Farah v. Mafrige & Kormanik, P.C., 927 S.W.2d 663, 678 (Tex. App. Dist. 1 -- Houston 1996, no writ).
157 Baroid Equip., Inc. v. Odeco Drilling, Inc., 184 S.W.3d 1, 17 (Tex. App. Dist. 1 -- Houston 2005, pet.

denied).
158 Shaw v. Palmer, 197 S.W.3d 854, 856 (Tex. App. Dist. 5 -- Dallas 2006, pet. denied); and, please accord

T.O. Stanley Boot Co. v. Bank of El Paso, 847 S.W.2d 218, 221 (Tex. 1992) ("In order to be legally binding,
a contract must be sufficiently definite in its terms so that a court can understand the promisor undertook.").

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          b.      In a contract to loan money or for loaned money, the material terms         are
generally:

         (1) the amount to be loaned or of the loan;

         (2) the maturity date of the loan;

         (3) the interest rate; and

         (4) the terms of repayment.159

                                 Applicable Statutes of Limitations

          c. Texas Civil Practice & Remedies Code § 16.003 (2014) states in pertinent part:
                  "Two-Year Limitations Period

                    (a) Except as provided by Sections 16.010, 16.0031, and 16.0045, a person
                  must bring suit for trespass for injury to the estate or to the property of another,
                  conversion of personal property, taking or detaining the personal property of
                  another, personal injury, forcible entry and detainer, and forcible detainer not
                  later than two years after the day the cause of action accrues..."



Texas Civil Practice & Remedies Code § 16.004 (2014) states in pertinent part:

                  "Four-Year Limitations Period
                    (a) A person must bring suit on the following actions not later than four
                    years after the day the cause of action accrues: ... (3) debt..."




159   Farah, supra, 927 S.W.2d at 678.


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          A party to litigation moving for summary judgment on the affirmative assertion or

defense of limitations has the burden to conclusively establish that limitations control.160

                                        Statutes of Fraud

          d.    The statute of frauds exists to prevent fraud and perjury in certain kinds of

transactions by requiring agreements to be set out in a writing and signed by the party to be

charged with the agreement.161 Whether a contract is barred by the statute of frauds is a

question of law for the court to decide.162 By its express terms, the statute of frauds applies

to a contract for the sale of real property or to be performed in more than one year.163 The

general statute of frauds provides that an agreement that is not to be performed within one

year is not enforceable unless the agreement is in writing and signed by the person to be

charged with the agreement.

          The Texas Statute of Frauds, Texas Business & Commerce Code § 26.01 (2014)
states:

                "§ 26.01. Promise or Agreement Must Be in Writing
                (a) A promise or agreement described in Subsection (b) of this section is not
                enforceable unless the promise or agreement, or a memorandum of it, is
                       (1) in writing; and



160 Velsicol Chem. Corp. v. Winograd, 956 S.W.2d 529, 530 (Tex. 1997).
161 Haase v. Glazner, 62 S.W.3d 795, 799 (Tex. 2001); and, please see also Texas Business & Commerce
Code § 26.01 (2014).
162 Fuqua v. Oncor Elec. Delivery Co., 315 S.W.3d 552, 555 (Tex. App. Dist. 11 — Eastland 2010, pet.

denied).
163 Bank of Tex., N.A. v. Gaubert, 286 S.W.3d 546, 555 (Tex. App. Dist. 5 — Dallas 2009, pet. dism'd).



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                   (2) signed by the person to be charged with the promise or agreement or
             by someone lawfully authorized to sign for him.
             (b) Subsection (a) of this section applies to:
                    (1) a promise by an executor or administrator to answer out of his own
                    estate for any debt or damage due from his testator or intestate;
                    (2) a promise by one person to answer for the debt,       default,          or
             miscarriage of another person;
                    (3) an agreement made on consideration of marriage or on consideration of
                    nonmarital conjugal cohabitation;
                    (4) a contract for the sale of real estate;
                    (5) a lease of real estate for a term longer than one     year;
                    (6) an agreement which is not to be performed within one year from
                    the date of making the agreement;
                    (7) a promise or agreement to pay a commission for the sale or purchase
                    of:
                            (A) an oil or gas mining lease;
                            (B) an oil or gas royalty;
                            (C) minerals; or
                            (D) a mineral interest; and

                    (8) an agreement, promise, contract, or warranty of cure relating    to
             medical care or results thereof made by physician or health care provider as
             defined in Section 74.001, Civil Practice and Remedies Code. This section shall
             not apply to pharmacists."
                    (Our Own Emphasis Added.)

The Uniform Commercial Code Statute of Frauds provides:

             "Except as otherwise provided in this section a contract for the sale of goods
             for the price of $ 500 or more is not enforceable by way of action or defense
             unless there is some writing sufficient to indicate that a contract for sale has



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                 been made between the parties and signed by the party against whom
                 enforcement is sought or by his authorized agent or broker."164


                                            ARGUMENT

No Evidence

          e.     Defendant Mr. Gray has adduced and can adduce no evidence, summary

judgment or otherwise that Plaintiff Edward G. Rizk owes any money to the Estate of Fred E.

Rizk. There is absolutely no evidence that Plaintiff Edward G. Rizk owes any money to the

Estate of Fred E. Rizk. There is absolutely no evidence written or otherwise that reflects that

the late Fred E. Rizk loaned Plaintiff Edward G. Rizk any money

          f.     Defendant Mr. Gray has adduced and can adduce no evidence, summary

judgment or otherwise that Plaintiff Edward G. Rizk does not own the sewer capacity rights

currently in his sole name. Defendant Mr. Gray has adduced and can adduce no evidence,

summary judgment or otherwise that anyone other than Plaintiff Edward G. Rizk actually owns

the subject sewer capacity rights now in Plaintiff Edward G. Rizk's sole name and now

attached to Plaintiff Edward G. Rizk's homesteaded domicile.




164   Texas Business & Commerce Code § 2.201(a).

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Statute of Frauds

       g.     There is no writing that shows that Plaintiff Edward G. Rizk owes the Estate of

Fred E. Rizk any money whatsoever. If Plaintiff Edward G. Rizk owed the estate of Fred E.

Rizk any money there would need to be a writing as the obligation of debt if it existed at all

would have had to have been for more than one year, as the Estate of Fred E. Rizk was

opened in this case on or about 11 November 2014 and the Harris County Probate Court 1

appointed Defendant Mr. Gray on 22 November 2011 Independent Executor of the Estate of

the late Fred E. Rizk on, which now was over four years ago.

       h.     There is no writing that shows that the Estate of Fred E. Rizk is the actual owner

of the subject sewer capacity rights now in Plaintiff Edward G. Rizk's sole name and now

attached to Plaintiff Edward G. Rizk's homesteaded domicile.

Statutes of Limitations

       i.     The operative statute of limitations for any debt that Plaintiff Edward G. Rizk

would or could have owed the Estate of Fred E. Rizk any money is four years from the due

date of any obligation for any loan. No action is currently pending save the Counter-Petition

in the Probate 1 Declaratory action case that alone asserts a claim that Plaintiff Edward G.

Rizk owes the Estate of Fred E. Rizk money, which Defendant Mr. Gray filed on 6 October

2014, a period of two years, 10 months, and twenty-five days after the Defendant Mr. Gray

opened and initiated this probate case. Any loan that would reflect that Plaintiff Edward G.


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Rizk owes the Estate of Fred E. Rizk any money would have had to be due after 5 October

2010. There is no evidence, however, of any loan.

       j.      The operative statute of limitations for the Estate to claim any interest in the

subject sewer capacity rights now in Plaintiff Edward G. Rizk's sole name and now attached

to Plaintiff Edward G. Rizk's homesteaded domicile would be for two years. The Defendant

Mr. Gray did not initiate any claim for the subject sewer rights until 6 October 2014, a period

of two years, 10 months, and twenty-five days after the Defendant Mr. Gray opened and

initiated the probate case. If the Estate owned any interest in the subject sewer rights at any

time, any such claim would now be barred by the applicable, operative statute of limitations.

Plaintiff Edward G. Rizk raised all of these points and bases in his Motion for Summary

Judgment.

       410. Defendant Mr. MacIntyre and Defendant MacIntyre, McCulloch, Stanfield &

Young, L.L.P. countered in their Response in Opposition with several Affidavits, some of

which were not based upon personal knowledge, but rather “belief” which made them

defective under law and subject to summary striking. Defendant Mr. MacIntyre and Defendant

MacIntyre, McCulloch, Stanfield & Young, L.L.P. offered no bases as to the inapplicability of

the operative statute of limitations or the applicability of the Statute of Frauds.

       411. Plaintiff Edward G. Rizk objected to the Affidavits offered by Defendant Mr.

Gray on the bases of the Deadman’s Evidentiary Rule, which applied in this case. Plaintiff

Edward G. Rizk filed a Reply to Defendant Mr. Gray's Response in Opposition to Plaintiff

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Edward G. Rizk's Objection to Defendant Mr. Gray's Summary Judgment Evidence on 23

April 2015.165

        412. There was a hearing on the Motion for Summary Judgment hereinabove

referenced on or about 7 May 2015 and on 12 May 2015 Defendant Judge Loyd Wright denied

Plaintiff Edward Rizk’s Motion for summary Judgment and No-Evidence Summary Judgment,

refusing to follow any known reasonable legal basis. These acts were consummated in

furtherance of the civil and criminal conspiracies, as well as, their racketeering schemes.

These acts represent acts of official oppression. These acts are predicate acts, as were all of

Defendant Judge Loyd Wrights rulings adverse Plaintiff Edward G. Rizk. These acts of

omission and commission reflect serial breaches of fiduciary duties, as well as, violations of

the Texas Penal Code in regard to fiduciary fraud and in tampering with government

documents.

        413. Defendant Mr. Gray, Defendant Gray, Reed & McGraw, P.C., Defendant Mr.

MacIntyre, Defendant Mr. Burt, Defendant MacIntyre, McCulloch, Stanfield & Young, L.L, P.,

as well as, Defendant Judge Loyd Wright, Defendant Associate Judge Ruth Ann Stiles,

Defendant Ms. Hightower, and Defendant C Club PAC all used the United States Postal

Service or an interstate mail carrier in their furtherance of the civil and criminal conspiracies,

as well as, racketeering schemes.



165Exhibit “44”. A copy of aforesaid Reply, which Plaintiff Edward G. Rizk does hereby incorporate herein its
entireties for all purposes.

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          414. Defendant Mr. Gray, Defendant Gray, Reed & McGraw, P.C., Defendant Mr.

MacIntyre, Defendant Mr. Burt, Defendant MacIntyre, McCulloch, Stanfield & Young, L.L, P.,

as well as, Defendant Judge Loyd Wright, Defendant Associate Judge Ruth Ann Stiles,

Defendant Ms. Hightower, and Defendant C Club PAC concocted and carried out a (1)

schemes or artifice to defraud Plaintiff Edward G. Rizk, Plaintiff Max Rizk and the

Indispensable Party Plaintiff’s Rizk for over more than a four year period, (2) actively

participated in those schemes, (3) with specific intent on the part of the named Defendants to

defraud all of the Rizk Plaintiffs, and (4) the Deception of all of the Rizk Plaintiffs, involved (5)

the use of the United States mails or private or commercial interstate carriers, as well as, wire

and the internet including email and e-filing with the Court and clerks involved in furtherance

of the schemes or artifices to defraud, as herein above pled.166 Plaintiff Edward G. Rizk

possess a stack of envelopes with USPS canceled stamps from Defendant Mr. Gray,

Defendant Mr. Royce, Defendant Looper, Reed & McGraw, P.C., now Defendant Gray, Reed

& McGraw, Defendant Mr. MacIntyre and Defendant MacIntyre, McCulloch, Stanfield &

Young, L.L, P.

                          Count I: Violations of 18 U.S.C. § 1961, Et Sequitur

          415. Plaintiffs herein reallege, replead and incorporate herein their entireties through

this reference the allegations in the averments in ¶¶ 1 through 414, as well as, those

166   18 U.S.C. § 1341.

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hereinafter pled as though herein originally pled.

       416. In violation of 18 U.S.C. § 1962(b), Defendants, except Defendant C Club PAC,

all persons within the meaning of RICO, acquired or maintained, directly or indirectly, interest

in or control over Defendant C Club PAC and through that Defendant Harris County Probate

Court l. The Defendants agreed and conspired amongst themselves to obtain direct and

indirect control over Defendant C Club PAC and its assets, as well as, Harris County Probate

Court 1. The Defendants acted to accomplish this by applying relentless financial schemes,

as hereinabove described and delineated. Most of the Defendants as delineated hereinabove

used the USPS or equivalent private interstate carrier, wire and the internet. The control was

acquired through a pattern of racketeering activity. As set forth above in ¶¶ 1 through 414, in

furtherance of Defendants’ scheme to acquire control over Defendant C Club PAC and Harris

County Probate Court 1, Defendants utilized the United States mails and the wires in violation

of 18 U.S.C. §§ 1341, 1343. In addition, as set forth in ¶¶ 1 through 414, Defendants serially

violated Texas Penal Code provisions as delineated hereinabove ¶¶ 1 through 414 These

mailings, use of the telephone, and criminal activity, constitute a “pattern of racketeering

activity” as defined in 18 U.S.C. § 1961(1), (5).

       417. The Sheshtawy Defendants through a pattern of racketeering, as well as,

through civil and criminal conspiracies serially committed fiduciary fraud, theft and tampered

with government documents, all violative of the Texas Penal Code in the takeover and control

of Adel Sheshtawy’s Estate.


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       418. The Peterson Defendants through a pattern of racketeering, as well as, through

civil and criminal conspiracies serially committed fiduciary fraud, theft and tampered with

government documents, all violative of the Texas Penal Code in the takeover and control of

Ruby S. Peterson’s Estate and Peterson Family Trust II.

       419. The Rizk Defendants through a pattern of racketeering, as well as, through civil

and criminal conspiracies serially committed fiduciary fraud, theft and tampered with

government documents, all violative of the Texas Penal Code in the takeover and control of

Fred E. Rizk’s Estate, inter vivos trusts and testamentary trusts.

       420. Property belonging to Plaintiffs suffered losses and was damaged, as were

Plaintiffs’ property and financial interests as delineated hereinabove ¶¶ 1 through 414.

                      Count II: Violations of 18 U.S.C. § 1962(a)

       421. Plaintiffs herein reallege, replead and incorporate herein their entireties through

this reference the allegations in the averments in ¶¶ 1 through 420, as well as, those

hereinafter pled as though herein originally pled.

       422. Sheshtawy Defendants, all persons within the meaning of RICO, commencing

in 2011 or before, formed an association in fact for the purpose of thieving from Plaintiffs and

the Estate of Adel Sheshtawy for Sheshtawy Defendants’ own gain, including avoiding loss

because of their control over Harris County Probate Court l with their accomplices and

accessories (now principals under the Texas Penal Code), Defendant Judge Loyd Wright,


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Defendant Associate Judge Ms. Stiles and Defendant Ms. Hightower. The Sheshtawy

Defendants and each of them received income and money from the pattern of racketeering

activity, as set forth herein above and herein below.

       423. Peterson Defendants, all persons within the meaning of RICO, commencing in

2011 or before, formed an association in fact for the purpose of thieving from Plaintiffs and

the Estate of Ruby S. Peterson and the Peterson Trust II for Peterson Defendants’ own gain,

including avoiding loss because of their control over Harris County Probate Court l with their

accomplices and accessories (now principals under the Texas Penal Code), Defendant Judge

Loyd Wright, Defendant Associate Judge Ms. Stiles and Defendant Ms. Hightower. The

Sheshtawy Defendants and each of them received income and money from the pattern of

racketeering activity, as set forth herein above and herein below.

       424. Rizk Defendants, all persons within the meaning of RICO, commencing in 2011

or before, formed an association in fact for the purpose of thieving from Plaintiffs and the

Estate of Fred E. Rizk for Rizk Defendants’ own gain, including avoiding loss because of their

control over Harris County Probate Court l with their accomplices and accessories (now

principals under the Texas Penal Code), Defendant Judge Loyd Wright, Defendant Associate

Judge Ms. Stiles and Defendant Ms. Hightower. The Rizk Defendants and each of them

received income and money from the pattern of racketeering activity, as set forth herein above

and herein below.




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         425. As set forth hereinabove in ¶¶ 1 through 420, in furtherance of Defendants’

scheme to defraud plaintiffs, Defendants utilized the United States mails and the wires in

violation of 18 U.S.C. §§ 1341, 1343. In addition, as set forth in ¶¶ 1 through 420, Defendants

committed serially fiduciary fraud and theft, as well as, tampering with government

documents, all violative of the Texas Penal Code. These mailings, use of the wires, and acts

of extortion constitute “a pattern of racketeering activity” as defined in 18 U.S.C. § 1961(1),

(5).

         426. The Defendants used or invested, directly or indirectly, part or all of such

income, or the proceeds of such income, in the establishment or operation of the association

in fact to further the association’s scheme to defraud Plaintiffs of all valuable assets and

property.

                          Count III: Violations of 18 U.S.C. § 1962(d)


         427. Plaintiffs herein reallege, replead and incorporate herein their entireties through

this reference the allegations in the averments in ¶¶ 1 through 426, as well as, those

hereinafter pled as though herein originally pled.

         428.   In violation of 18 U.S.C. 1962(d), Defendants, all persons as defined in RICO,

commencing in 2011 or before, conspired to violate 18 U.S.C. § 1962(b), to obtain or attempt

to obtain, directly or indirectly, control over Defendant C Club PAC and Harris County Probate

Court 1.


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       429. The conspiracy to obtain or attempt to obtain control was carried out through a

pattern of racketeering activity. As set forth hereinabove in ¶¶ 1 through 426, in furtherance

of Defendants’ scheme to acquire control over Defendant C Club PAC and Harris County

Probate Court 1, Defendants utilized the United States mails and the wires in violation of 18

U.S.C. §§ 1341 and 1343. In addition, as set forth in ¶¶ 1 through 426, Defendants committed

serially fiduciary fraud and theft, as well as, tampered with government documents violative

of the Texas Penal Code in violation of 18 U.S.C. § 1951 and 18 U.S.C. § 1961(1)(A).

               430. The respective Defendants conspired to control or to attempt to control

the Estate of Adel Sheshtawy, the Estate of Ruby S. Peterson, The Estate of Fred E. Rizk,

as well as, the Rizk inter vivos and testamentary trusts for personal financial gain and to strip

it and its owners of all valuable assets.


                               Count IV: Breach of Fiduciary Duties


       431. Plaintiffs herein reallege, replead and incorporate herein their entireties through

this reference the allegations in the averments in ¶¶ 1 through 430, as well as, those

hereinafter pled as though herein originally pled.

       432. Sheshtawy Defendants all breached their fiduciary duties owed to the

Sheshtawy Plaintiffs.

       433. Sheshtawy Plaintiffs suffered damages as a direct and proximate result of the

Sheshtawy Defendants’ breaches of their fiduciary duties, for which the herein sue.


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        434. Peterson Defendants all breached their fiduciary duties owed to the Peterson

Plaintiffs.

        435. Peterson Plaintiffs suffered damages as a direct and proximate result of the

Peterson Defendants’ breaches of their fiduciary duties, for which the herein sue.

        436. Rizk Defendants all breached their fiduciary duties owed to the Rizk Plaintiffs.

        437. Rizk Plaintiffs suffered damages as a direct and proximate result of the Rizk

Defendants’ breaches of their fiduciary duties, for which the herein sue.

                                     Count V: Fraud

        438. Plaintiffs herein reallege, replead and incorporate herein their entireties through

this reference the allegations in the averments in ¶¶ 1 through 437, as well as, those

hereinafter pled as though herein originally pled.

        439. The Sheshtawy Defendants defrauded the Sheshtawy Plaintiffs.

        440. As a direct and proximate result of the Sheshtawy Defendants’ fraud the

Sheshtawy Plaintiffs suffered damages for which they herein sue.

        441. The Peterson Defendants defrauded the Peterson Plaintiffs.

        442. As a direct and proximate result of the Peterson Defendants’ fraud the Peterson

Plaintiffs suffered damages for which they herein sue.

        443. The Rizk Defendants defrauded the Rizk Plaintiffs.




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          444. As a direct and proximate result of the Rizk Defendants’ fraud the Rizk Plaintiffs

suffered damages for which they herein sue.

                                                PRAYER

          WHEREFORE THE PREMISES CONSIDERED, Plaintiffs move and pray these

Honorable Courts grant Plaintiffs the following Relief:

          That Defendants be summoned and required to answer;

          That upon a jury verdict after a trial on the merits that these Court enter a judgment

favorable to Plaintiffs consistent with such verdict;

          That Plaintiffs be awarded nominal, actual, compensatory and punitive damages, as

allowable by law;

          That Plaintiffs be awarded pre-judgement and post judgement interest, as allowable

by law;

          That Plaintiffs be awarded attorneys’ fees and costs, as allowable by law;

          That these Honorable Courts grant to Plaintiffs whatever other relief at law or in equity

to which they might be entitled, or the nature of this Cause might require, as these Honorable

Courts deem meet, just and proper.

          Plaintiffs pray for general relief.

          Plaintiffs demand a trial by jury.




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                                                    Respectfully submitted,

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                                                    ATTORNEYS FOR PLAINTIFFS




Discovery will be propounded on the Defendants with service of the Verified
Complaint.




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